              Case 23-02997-JMC-7                   Doc 1        Filed 07/13/23           EOD 07/13/23 16:15:18                   Pg 1 of 261


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ener1, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3619 W 73rd St., Ste 2
                                  Anderson, IN 46011
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://enerdel.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-02997-JMC-7                       Doc 1      Filed 07/13/23              EOD 07/13/23 16:15:18                      Pg 2 of 261
Debtor    Ener1, Inc.                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3314

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Ener1, Inc.                                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 23-02997-JMC-7       Doc 1       Filed 07/13/23         EOD 07/13/23 16:15:18               Pg 4 of 261
Debtor   Ener1, Inc.                                                             Case number (if known)
         Name

                         $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                         $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                         $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
              Case 23-02997-JMC-7                   Doc 1        Filed 07/13/23             EOD 07/13/23 16:15:18                   Pg 5 of 261
Debtor    Ener1, Inc.                                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 13, 2023
                                                  MM / DD / YYYY


                             X   /s/ Paul Herbert                                                         Paul Herbert
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jeffrey A. Hokanson                                                   Date July 13, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey A. Hokanson 14579-49
                                 Printed name

                                 Ice Miller LLP
                                 Firm name

                                 One American Square
                                 Suite 2900
                                 Indianapolis, IN 46282-0200
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (317) 236-2236                Email address      Jeff.Hokanson@icemiller.com

                                 14579-49 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Ener1, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 13, 2023                   X /s/ Paul Herbert
                                                           Signature of individual signing on behalf of debtor

                                                            Paul Herbert
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 23-02997-JMC-7                                       Doc 1               Filed 07/13/23                        EOD 07/13/23 16:15:18                             Pg 7 of 261

 Fill in this information to identify the case:

 Debtor name            Ener1, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              1,690.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              1,690.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     147,122,386.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            53,373.62

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       77,115,543.29


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        224,291,302.91




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Ener1, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     First Financial Bank                              Checking                              0590                                       $130.00




          3.2.     First Merchants Bank                              Checking                              8847                                         $70.00




          3.3.     First Merchants Bank                              Checking                              9961                                     $1,490.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,690.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
          Case 23-02997-JMC-7                    Doc 1          Filed 07/13/23    EOD 07/13/23 16:15:18                Pg 9 of 261

Debtor       Ener1, Inc.                                                             Case number (If known)
             Name


      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                               Valuation method used    Current value of
                                                                                               for current value        debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership


          15.1.   EnerDel, Inc.                                            100       %         N/A                                      $0.00




          15.2.   EnerFuel, Inc. (defunct entity)                          100       %         N/A                                      $0.00



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                           $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 2
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Debtor        Ener1, Inc.                                                                  Case number (If known)
              Name

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           Possible income tax refund (return not yet filed;
           anticipated NOL)                                                                  Tax year 2022                       Unknown



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                        $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                 page 3
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Debtor          Ener1, Inc.                                                                                         Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,690.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                $1,690.00         + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $1,690.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
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Fill in this information to identify the case:

Debtor name         Ener1, Inc.

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bzinfin, S.A.                                Describe debtor's property that is subject to a lien            $115,820,364.00                   $1,690.00
      Creditor's Name                              All company assets
      c/o Nicholas Brunero,
      Holland & Knight
      Holland & Knight
      31 W 52nd St
      New York, NY 10019
      Creditor's mailing address                   Describe the lien


      nicholas.brunero@hklaw.c                     Is the creditor an insider or related party?
      om                                              No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      Several promissory notes                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      since March of 2012
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Bzinfin, S.A.                                Describe debtor's property that is subject to a lien             $31,302,022.00                   $1,690.00
      Creditor's Name                              All company assets
      c/o Nicholas Brunero,
      Holland & Knight
      Holland & Knight
      31 W 52nd St
      New York, NY 10019
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      Several promissory notes                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
          Case 23-02997-JMC-7                         Doc 1          Filed 07/13/23                EOD 07/13/23 16:15:18                Pg 13 of 261

Debtor       Ener1, Inc.                                                                            Case number (if known)
             Name

       back to 2012
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    Utica Leaseco, LLC                          Describe debtor's property that is subject to a lien                          $0.00                     $0.00
       Creditor's Name

       905 South Boulevard East
       Rochester, MI 48307
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                         $147,122,386
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   .00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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Fill in this information to identify the case:

Debtor name        Ener1, Inc.

United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $53,373.62         $0.00
          Marion County Treasurer                              Check all that apply.
          PO Box 6145                                             Contingent
          Indianapolis, IN 46206                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Taxes

          Last 4 digits of account number 6731                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    Unknown
          1st Class Painting LLC                                                 Contingent
          6468 Royal Oakland Dr                                                  Unliquidated
          Indianapolis, IN 46236                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    Unknown
          24M Technologies Inc                                                   Contingent
          130 Brookline St                                                       Unliquidated
          Cambridge, MA 02139                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Possible warranty claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         3D Maritime Inc                                              Contingent
         36285 Nico Wynd Dr                                           Unliquidated
         Surrey BC V4P 1J3                                            Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         A&M Door Inc                                                 Contingent
         5508 Elmwood Ave #303                                        Unliquidated
         Indianapolis, IN 46203                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         A&R Erectors Inc                                             Contingent
         1605 Country Club Rd                                         Unliquidated
         Indianapolis, IN 46234                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AAA Exterminating Inc                                        Contingent
         PO Box 2170                                                  Unliquidated
         Noblesville, IN 46061                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AAVID Thermalloy India Private Ltd
         Nexus Industrial Park Phase 2                                Contingent
         Kotambi Halol-Vadodara Rd                                    Unliquidated
         Vadodara Gujarat 391510                                      Disputed
         INDIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ABC Transmission Ltd                                         Contingent
         9300 192nd St                                                Unliquidated
         Surrey BC V4N3R8                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ABC Transmissions Ltd                                        Contingent
         9357 193rd St                                                Unliquidated
         Surrey BC V4N4E7                                             Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AC Transit                                                   Contingent
         1100 Seminary Ave                                            Unliquidated
         Oakland, CA 94621                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Accounting Principles                                        Contingent
         Dept CH 140341                                               Unliquidated
         Palatine, IL 60055-4031                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ACME Plumbing Service                                        Contingent
         3702 N Shadeland Ave                                         Unliquidated
         Indianapolis, IN 46226                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Actacell Energy Systems Inc                                  Contingent
         2105 Donley Dr #200                                          Unliquidated
         Austin, TX 78758-4510                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ADP Inc                                                      Contingent
         PO Box 78415                                                 Unliquidated
         Phoenix, AZ 85062-8415                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Advisa USA                                                   Contingent
         PO Box 3039                                                  Unliquidated
         Carmel, IN 46082                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AES Indiana #2699                                            Contingent
         PO Box 110                                                   Unliquidated
         Indianapolis, IN 46206-0110                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AES LLC
         7-812-500-85-36                                              Contingent
         Poligrafmashevskii PR D3 C A KV.1                            Unliquidated
         St Petersburg Russia                                         Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AFC Industries Inc                                           Contingent
         3795 Port Union Rd                                           Unliquidated
         Fairfield, OH 45014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AFCO Credit Corporation                                      Contingent
         PO Box 360572                                                Unliquidated
         Pittsburgh, PA 15250-6572                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $314,648.00
         AFCO Finance                                                 Contingent
         4501 College Blvd #320                                       Unliquidated
         Leawood, KS 66211                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Commercial Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AIG North America Inc                                        Contingent
         PO Box 11590                                                 Unliquidated
         Newark, NJ 07193                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AION Technology                                              Contingent
         Lightning Motor Company                                      Unliquidated
         933 American St                                              Disputed
         San Carlos, CA 94070
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Airgas USA LLC                                               Contingent
         PO Box 734672                                                Unliquidated
         Dallas, TX 75373-4672                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Alan Knuckles                                                Contingent
         1101 W 4th St                                                Unliquidated
         Alexandria, IN 46601                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $26,785.42
         Albert Petichenskiy                                          Contingent
         7154 Fisher Island Dr                                        Unliquidated
         Miami Beach, FL 32139                                        Disputed
         Date(s) debt was incurred 4/11/2023
                                                                   Basis for the claim:    Promissory Note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Aldering Castor LLP                                          Contingent
         47 S Pennsylvania St #700                                    Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Alexey Pikalov                                               Contingent
         152 E New York St                                            Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Alexis Kalugyer                                              Contingent
         1230 S State Ave                                             Unliquidated
         Indianapolis, IN 46203                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $383,059.44
         ALF Consulting SA                                            Contingent
         Rue du Marche 13                                             Unliquidated
         1204 Geneva                                                  Disputed
         SWITZERLAND
                                                                   Basis for the claim:    Promissory Note
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Allied Automation Inc                                        Contingent
         5220 E 64th St                                               Unliquidated
         Indianapolis, IN 46220                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Allied Wire & Cable                                          Contingent
         PO Box 26157                                                 Unliquidated
         Collegeville, PA 19426                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Allison Transmission                                         Contingent
         Indianapolis Plant Operations                                Unliquidated
         PO Box 7120                                                  Disputed
         Indianapolis, IN 46206
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Allison Transmission Inc                                     Contingent
         Attn Accounts Receivable MS L-28                             Unliquidated
         PO Box 7120                                                  Disputed
         Indianapolis, IN 46206-7120
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Amazon.com                                                   Contingent
         PO Box 035184                                                Unliquidated
         Seattle, WA 98124-5184                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         American Association of Notaries                             Contingent
         7438 Park Place Blvd                                         Unliquidated
         Houston, TX 77087                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         American Health and Wellness Group                           Contingent
         11555 N Meridan St #530                                      Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         American Heart Saver                                         Contingent
         PO Box 173272                                                Unliquidated
         Tampa, FL 33672                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         American Plastic Molding Corp                                Contingent
         965 S Elm St                                                 Unliquidated
         Scottsburg, IN 47170                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         American Public Trans Assoc                                  Contingent
         313 S Patrick St                                             Unliquidated
         Alexandria, VA 22314                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AMP HPC                                                      Contingent
         12 Ronan Cres                                                Unliquidated
         Woodbridge ON L4H2J7                                         Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Amphenol Industrial Operations                               Contingent
         40-60 Delaware Ave                                           Unliquidated
         Sidney, NY 13838                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Amphenol Sincere Flex Co Ltd
         No A Wanan Industrial Park                                   Contingent
         Lanhe Town Panyu District                                    Unliquidated
         Guangzhou 511480                                             Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Amphenol Tech Products Int'l Co                              Contingent
         2110 Notre Dame Ave                                          Unliquidated
         Winnipeg R3H 0K1                                             Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AMPM Inc                                                     Contingent
         PO Box 1887                                                  Unliquidated
         Midland, MI 48641-1887                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Angela M Nuttle                                              Contingent
         dba Corporate Talent Institute                               Unliquidated
         704 S State Rd 135 Ste D395                                  Disputed
         Greenwood, IN 46143
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Antenna Digital                                              Contingent
         LOCKBOX #2                                                   Unliquidated
         PO Box 95000                                                 Disputed
         Philadelphia, PA 19195-0001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Anthem Blue Cross Blue Shield                                Contingent
         PO Box 645438                                                Unliquidated
         Cincinnati, OH 45264-5438                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AOS Thermal Compound                                         Contingent
         22 Meridian Rd #6                                            Unliquidated
         Eatontown, NJ 07724                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Aramark Refreshment Services                                 Contingent
         PO Box 21971                                                 Unliquidated
         New York, NY 10087-1971                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $39,766,810.77
         Arase Financial PTC Inc                                      Contingent
         Akara Bld 24 De Castro Street                                Unliquidated
         Wickhams Cay 1 Road Town                                     Disputed
         TORTOLA BRITISH ISLANDS
                                                                   Basis for the claim:    Promissory Note
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Arbin Instruments                                            Contingent
         762 Peach Tree Cut Off Rd                                    Unliquidated
         College Station, TX 77845                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Art Craft Display                                            Contingent
         47220 Cartier Dr Ste B                                       Unliquidated
         Wixom, MI 48393                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Asahi Kasei Corporation
         Hibiya Mitsui Tower                                          Contingent
         1-1-2 Yurakucho Chiyoda-Ku                                   Unliquidated
         Tokyo 100-006                                                Disputed
         JAPAN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ASAP Aquatics                                                Contingent
         3310 N Shadeland Ave                                         Unliquidated
         Indianapolis, IN 46226                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ASQ                                                          Contingent
         Accounts Receivable                                          Unliquidated
         PO Box 555                                                   Disputed
         Milwaukee, WI 53203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Aston Carter Inc                                             Contingent
         7301 Parkway Dr                                              Unliquidated
         Hanover, MD 21076                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Astro Chemicals Inc                                          Contingent
         126 Memorial Dr                                              Unliquidated
         PO Box 2248                                                  Disputed
         Springfield, MA 01102-2248
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AT&T                                                         Contingent
         PO Box 5014                                                  Unliquidated
         Carol Stream, IL 60197-5014                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   8003
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AT&T                                                         Contingent
         PO Box 5080                                                  Unliquidated
         Carol Stream, IL 60197-5080                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   9771
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AT&T                                                         Contingent
         PO Box 5080                                                  Unliquidated
         Carol Stream, IL 60197-5080                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   9683
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         AT&T Mobility                                                Contingent
         PO Box 6463                                                  Unliquidated
         Carol Stream, IL 60197-6463                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ATC Drivetrain                                               Contingent
         10001 NW 2nd                                                 Unliquidated
         Oklahoma City, OK 73127                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Atlassian (US) LLC                                           Contingent
         350 Bush St 13th Fl                                          Unliquidated
         San Francisco, CA 94104                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Aurora Technologies Inc                                      Contingent
         19 Industrial Dr                                             Unliquidated
         Pacific, MO 63069                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Auto Technology Company                                      Contingent
         20026 Progress Dr                                            Unliquidated
         Strongsville, OH 44149                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Automation & Modular Components                              Contingent
         10301 Enterprise Dr                                          Unliquidated
         Davisburg, MI 48350                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         B3CG                                                         Contingent
         CNTA Door 18 1249 Montee Mason                               Unliquidated
         Laval Quebec H7E4P2                                          Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         BAE Systems                                                  Contingent
         8 Hayes Ave                                                  Unliquidated
         Endicott, NY 13760                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         BAE Systems Controls                                         Contingent
         11215 Rushmore Dr                                            Unliquidated
         Charlotte, NC 28277                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Balboa Technologies Inc                                      Contingent
         3857 Birch St Unit 166                                       Unliquidated
         Newport Beach, CA 92660                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Barcodes Inc                                                 Contingent
         200 W Monroe St                                              Unliquidated
         Chicago, IL 60606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Barracuda Networks Inc                                       Contingent
         Dept LA 22762                                                Unliquidated
         Pasadena, CA 91185-2762                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         BASF Corporation                                             Contingent
         BASF Battery Materials Section                               Unliquidated
         8001 E Pleasant Valley Rd                                    Disputed
         Cleveland, OH 44131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Battery Innovation Center                                    Contingent
         7970 S Energy Dr                                             Unliquidated
         Newberry, IN 47449                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Battery Innovation Center Institute Inc                      Contingent
         7970 S Energy Dr                                             Unliquidated
         Newberry, IN 47449                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Battery Systems Inc                                          Contingent
         11899 Exit 5 Pkwy #200                                       Unliquidated
         Fishers, IN 46037-8017                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bauer Controls                                               Contingent
         44190 Plymouth Oaks Blvd                                     Unliquidated
         Plymouth, MI 48170                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         BD3 Platform                                                 Contingent
         1249 Montee Masson                                           Unliquidated
         Laval Quebec H7E 4P2                                         Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Belflex Staffing Network                                     Contingent
         PO Box 950175                                                Unliquidated
         Louisville, KY 40295-0175                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bernd Group                                                  Contingent
         United Tech Research Center                                  Unliquidated
         411 Silver Ln                                                Disputed
         East Hartford, CT 06108
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         BGBC Partners LLP                                            Contingent
         135 N Pennsylvania St                                        Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bitrode Corporation                                          Contingent
         9787 Green Park Industrial Dr                                Unliquidated
         Saint Louis, MO 63123                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         BL Downey Company LLC                                        Contingent
         2125 Gardner Rd                                              Unliquidated
         Broadview, IL 60155                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Black & Veatch                                               Contingent
         11401 Lamar Ave                                              Unliquidated
         Overland, KS 66211                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bluefin Robotics                                             Contingent
         553 South St                                                 Unliquidated
         Quincy, MA 02169                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bluehost                                                     Contingent
         1500 N Prist Dr                                              Unliquidated
         Suite 200 2nd Fl                                             Disputed
         Tempe, AZ 85281
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bob's Master Safe and Lock                                   Contingent
         11650 Olio Rd #1000-279                                      Unliquidated
         Fishers, IN 46037                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Boland Technology Solutions Inc                              Contingent
         1355 S 10th St                                               Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Borg Warner                                                  Contingent
         3800 Automation Ave                                          Unliquidated
         Auburn Hills, MI 48326                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bose McKinney & Evans LLP                                    Contingent
         111 Monument Cir #2700                                       Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bowling Green State University                               Contingent
         Central Srvs Bldg Room 108B                                  Unliquidated
         Administration Bldg Room 319                                 Disputed
         Bowling Green, OH 43403-0112
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Boyd Thermal Systems Hong Kong Ltd
         5/F Manulife Pl                                              Contingent
         348 Kwun Tong Rd                                             Unliquidated
         KL Hong Kong                                                 Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Braden Business Systems                                      Contingent
         8700 North St #400                                           Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bradley Technologies of Illinois                             Contingent
         3635 Swenson Ave                                             Unliquidated
         Saint Charles, IL 60174                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Branson Ultrasonics Corp                                     Contingent
         PO Box 13739                                                 Unliquidated
         Newark, NJ 07188-0739                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Brent Watts                                                  Contingent
         1313 Greenhills Rd                                           Unliquidated
         Greenfield, IN 46140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Brinkmann Instruments Srvs Inc                               Contingent
         PO Box 405562                                                Unliquidated
         Atlanta, GA 30384-5562                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Brookville Equipment Corp                                    Contingent
         Attn: Haley Blazosky                                         Unliquidated
         175 Evans St                                                 Disputed
         Brookville, PA 15825
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Bruce J Silk                                                 Contingent
         90 Elm Tree Ln                                               Unliquidated
         Boca Raton, FL 33486                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Buca DiBeppo Indianapolis                                    Contingent
         35 N Illinois St                                             Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Burgess Mechanical Corp                                      Contingent
         12220 Southeastern Ave                                       Unliquidated
         Indianapolis, IN 46259                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Calendly                                                     Contingent
         88 N Avondale Rd #603                                        Unliquidated
         Avondale Estates, GA 30002                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Calgon Carbon Corporation                                    Contingent
         3000 GSK Dr                                                  Unliquidated
         Moon Township, PA 15108                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         California Center for Sustainable Energy                     Contingent
         8690 Balboa Ave #100                                         Unliquidated
         San Diego, CA 92123-1502                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         California Employment Development Dept                       Contingent
         PO Box 826276                                                Unliquidated
         Sacramento, CA 94230-6276                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Capital Machinery Systems Inc                                Contingent
         PO Box 330                                                   Unliquidated
         Pendleton, IN 46064                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Caplugs                                                      Contingent
         3012 Momentum Pl                                             Unliquidated
         Chicago, IL 60689-5330                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Capture Me Photography                                       Contingent
         2741 Grand Fir Dr                                            Unliquidated
         Greenwood, IN 46143                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cardinal Integrated Systems LLC                              Contingent
         1005 Grade Ln                                                Unliquidated
         Louisville, KY 40213                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Career Builder LLC                                           Contingent
         13047 Collection Center Dr                                   Unliquidated
         Chicago, IL 60693-0130                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Carl Atzinger                                                Contingent
         14626 Bach Dr Apt 618                                        Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Carlos Foianini                                              Contingent
         10904 Troxel Dr Apt 204                                      Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Carlton Fields PA                                            Contingent
         700 NW 1st Ave #1200                                         Unliquidated
         Miami, FL 33136-9101                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Carolina Initiatives                                         Contingent
         1896 Gap Creek Rd                                            Unliquidated
         Lyman, SC 29365                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Carolyn Cosgriff                                             Contingent
         dba Confidential Recruiting                                  Unliquidated
         825 Grant St                                                 Disputed
         Jackson, MI 49203
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Carrier Tranicold                                            Contingent
         Attn: Tevor Padgett                                          Unliquidated
         700 Olympic Dr                                               Disputed
         Athens, GA 30601
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Castleton Lawn Care Services Inc                             Contingent
         Dan Ciesniewski                                              Unliquidated
         11650 Olio Rd #1000-246                                      Disputed
         Fishers, IN 46037
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CEGEP De Sain Jerome                                         Contingent
         CDCQ/ITAQ 475 Rue Fournier                                   Unliquidated
         Saint Jerome Quebec J7Z 4V2                                  Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Central Power Systems & Services                             Contingent
         9200 Liberty Dr                                              Unliquidated
         Liberty, MO 64068                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Century Fasteners Corp                                       Contingent
         50-20 Ireland St                                             Unliquidated
         Elmhurst, NY 11373                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CH Robinson International                                    Contingent
         2498 Perry Crossing Way #220                                 Unliquidated
         Plainfield, IN 46168                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Champlain Cable Corp                                         Contingent
         175 Hercules Dr                                              Unliquidated
         Colchester, VT 05446                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Chicago Transit Authority                                    Contingent
         7801 S Vicnennes Ave                                         Unliquidated
         Chicago, IL 60620                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Chris Bauer                                                  Contingent
         3045 Oakmont Dr                                              Unliquidated
         Lapel, IN 46051                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Christine Bardsley                                           Contingent
         23970 Logans Ct.                                             Unliquidated
         Cicero, IN 46034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    VP of Finance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Christy Paddock Advisors LLC                                 Contingent
         525 S Meridian St                                            Unliquidated
         Indianapolis, IN 46225                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CIL Electronics                                              Contingent
         dba CSI Electronics                                          Unliquidated
         1942 S Elizabeth St                                          Disputed
         Kokomo, IN 46902
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $28,008.00
         Cincinnati Insurance Companies                               Contingent
         6200 S Gilmore Rd                                            Unliquidated
         Fairfield, OH 45014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Property Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cintas Corporation #108                                      Contingent
         PO Box 630803                                                Unliquidated
         Cincinnati, OH 45263-0803                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Circle City Industrial LLC                                   Contingent
         PO Box 1129                                                  Unliquidated
         Carmel, IN 46082                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CIS Navigation                                               Contingent
         478 McGill St                                                Unliquidated
         Montreal QC H2Y 2H2                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cision US Inc                                                Contingent
         PO Box 417215                                                Unliquidated
         Boston, MA 02241-7215                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Citizens Energy Group #2960000                               Contingent
         PO Box 7056                                                  Unliquidated
         Indianapolis, IN 46207-7056                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Citizens Energy Group - Sadlier Circle                       Contingent
         2020 N Meridian St                                           Unliquidated
         Indianapolis, IN 46202-1306                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         City and County of Honolulu                                  Contingent
         Oahu Transit Services                                        Unliquidated
         811 Middle St                                                Disputed
         Honolulu, HI 96819
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         City of Durham                                               Contingent
         1907 Fay St                                                  Unliquidated
         Durham, NC 27704                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         City of North Augusta                                        Contingent
         PO Box 6400                                                  Unliquidated
         North Augusta, SC 29841                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Clarke Power Services                                        Contingent
         8510 Farrington Rd                                           Unliquidated
         Colfax, NC 27235                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Clarke Power Services Inc                                    Contingent
         PO Box 710157                                                Unliquidated
         Cincinnati, OH 45271                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Clifton Larson Allen LLP                                     Contingent
         PO Box 775447                                                Unliquidated
         Chicago, IL 60677-5447                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CNTA                                                         Contingent
         1249 Montee Masson                                           Unliquidated
         Laval Quebec H7E4P2                                          Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Coast Mountain Bus Company                                   Contingent
         3750 Kitchener St                                            Unliquidated
         Burnaby BC V5C 3L6                                           Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Comcast #4682                                                Contingent
         PO Box 7500                                                  Unliquidated
         Southeastern, PA 19398-7500                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Comcast #6837                                                Contingent
         PO Box 70219                                                 Unliquidated
         Philadelphia, PA 19176-0219                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Comcast Business #1996                                       Contingent
         PO Box 8587                                                  Unliquidated
         Philadelphia, PA 19107-8587                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Comcast Business #8638                                       Contingent
         PO Box 37601                                                 Unliquidated
         Philadelphia, PA 19101-0601                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Comemso Electronics GMBH                                     Contingent
         Karlsbader Str 13                                            Unliquidated
         Ostfildern 73760                                             Disputed
         GERMANY
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CommercePoint Inc                                            Contingent
         1406 Lower Campus Rd #41                                     Unliquidated
         Honolulu, HI 96822                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Commercial                                                   Contingent
         1249, Montee Masson                                          Unliquidated
         Laval Quebec H7E 4P2                                         Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Commercial Finishing Corp                                    Contingent
         7199 English Ave                                             Unliquidated
         Indianapolis, IN 46219                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Community Occup Health Services                              Contingent
         7169 Solution Center                                         Unliquidated
         Chicago, IL 60677-7001                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,754,460.00
         Compal USA (Indiana) Inc                                     Contingent
         521 5th Ave 11th Fl                                          Unliquidated
         New York, NY 10175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Computer Aided Technology Inc                                Contingent
         165 Arlington Heights Rd #101                                Unliquidated
         Buffalo Grove, IL 60089                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Concord Battery Corp                                         Contingent
         2009 San Bernadino Rd W                                      Unliquidated
         West Covina, CA 91790                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Concote Corporation dba Insul-FAB                            Contingent
         PO Box 679038                                                Unliquidated
         Dallas, TX 75267                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Conserv Inc                                                  Contingent
         814 N Delaware St                                            Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Continental Teves Ag & Co                                    Contingent
         Temic Berlin Automotice Elect MotorsGMBH                     Unliquidated
         NEUS UFER 29                                                 Disputed
         Berlin, NY 10553
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Core Business Solutions Inc                                  Contingent
         PO Box 631                                                   Unliquidated
         Lewisburg, PA 17837                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cornerstone Environment H&S Inc                              Contingent
         880 Lennox Ct                                                Unliquidated
         Zionsville, IN 46077                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cort Events                                                  Contingent
         4904 Century Plaza Rd                                        Unliquidated
         Indianapolis, IN 46254                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cracker Barrel Old Country Store                             Contingent
         3840 Eagle View Dr                                           Unliquidated
         Indianapolis, IN 46254                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Crane 1 Services Inc                                         Contingent
         PO Box 88989                                                 Unliquidated
         Milwaukee, WI 53288-8989                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Crates & Pallets                                             Contingent
         PO Box 49                                                    Unliquidated
         386 E Brookville Rd                                          Disputed
         Fountaintown, IN 46130
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Crescent Electric Supply Co                                  Contingent
         PO Box 550                                                   Unliquidated
         7750 Dunleith Dr                                             Disputed
         East Dubuque, IL 61025-4420
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Crossroads of America Council                                Contingent
         7125 Fall Creek Rd N                                         Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Crown Equipment Corporation                                  Contingent
         44 S Washington St                                           Unliquidated
         New Bremen, OH 45869                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Crown Lift Trucks                                            Contingent
         PO Box 641173                                                Unliquidated
         Cincinnati, OH 45264-1173                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CSC/Corporation Service Company                              Contingent
         PO Box 13397                                                 Unliquidated
         Philadelphia, PA 19101-3397                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         CSI Electronics                                              Contingent
         1942 S Elizabeth St                                          Unliquidated
         Kokomo, IN 46902                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cubicles.com                                                 Contingent
         34 S Ridge Rd                                                Unliquidated
         Pomona, NY 10970                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cullen Diesel                                                Contingent
         193rd St                                                     Unliquidated
         Surrey BC V4N 4E7                                            Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Cummins Inc                                                  Contingent
         500 Jackson St                                               Unliquidated
         Columbus, IN 47403                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Daehyun St Co Ltd
         178-4 Deogeun-RI                                             Contingent
         Paltan-Myeon                                                 Unliquidated
         Hwasung-si Kyunggi-do                                        Disputed
         REPUBLIC OF KOREA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dalhousie University                                         Contingent
         1360 Barrington St PO Box 15000                              Unliquidated
         Halifax NS B3H 4R2                                           Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dana Canada Corporation                                      Contingent
         PO Box 77501                                                 Unliquidated
         Detroit, MI 48277                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Danger Labs LLC                                              Contingent
         7251 Steinmeier Dr                                           Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dannar                                                       Contingent
         3 Research Way                                               Unliquidated
         Greenville, SC 29607                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Davtyan David Mikhailovich                                   Contingent
         35/2 Akademika Millionshikova Street 105                     Unliquidated
         Moscow Russia 115446                                         Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Daytronic Corporation                                        Contingent
         2566 Kohnie Dr                                               Unliquidated
         Miamisburg, OH 45342                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         DCS Line New York                                            Contingent
         2075 91st St Unit C                                          Unliquidated
         North Bergen, NJ 07047                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Deem LLC                                                     Contingent
         11201 USA Parkway #200                                       Unliquidated
         Fishers, IN 46037                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dell Business Credit #793                                    Contingent
         PO Box 5275                                                  Unliquidated
         Carol Stream, IL 60197-5275                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dell Computer Corporation                                    Contingent
         Dell Marketing LP                                            Unliquidated
         3555 Timmons Ln                                              Disputed
         Houston, TX 77027
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dell Financial Services #516                                 Contingent
         Payment Processing Center                                    Unliquidated
         PO Box 6410                                                  Disputed
         Carol Stream, IL 60197-6410
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dell Financial Services 517.518                              Contingent
         Payment Processing Center                                    Unliquidated
         PO Box 6547                                                  Disputed
         Carol Stream, IL 60197-6549
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dell Marketing LP                                            Contingent
         c/o Dell USA LP                                              Unliquidated
         PO Box 802816                                                Disputed
         Chicago, IL 60680-2816
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Delta Motorsport Ltd                                         Contingent
         Unit 2250 Silverstone Technology Park                        Unliquidated
         Silverstone Northhamptonshire NN12 8GX                       Disputed
         ENGLAND
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Denzel E Drive GMBH                                          Contingent
         Erdbergstrasse 189-193                                       Unliquidated
         Wien 1030                                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Department of Energy                                         Contingent
         City & County of Honolulu                                    Unliquidated
         811 Middle St                                                Disputed
         Honolulu, HI 96819
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Department of Homeland Security                              Contingent
         302 W Washington St Rm 246                                   Unliquidated
         Indianapolis, IN 46204-2739                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Derek Chandler                                               Contingent
         102 S Morrson Rd                                             Unliquidated
         Muncie, IN 47304                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         DGS Diesel - UND Getriebeservice GMBH                        Contingent
         Wernher-von-Stabe 11                                         Unliquidated
         Mainz Hechstsheim D-55129                                    Disputed
         GERMANY
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dhairyasheel Pawar                                           Contingent
         8470 Whipporwill Dr Apt C                                    Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Digi Key Corp                                                Contingent
         701 Brooks Ave S                                             Unliquidated
         Thief River Falls, MN 56701                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         DIVSYS International-ICAPE LLC                               Contingent
         8102 Zionsville Rd                                           Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         DIVSYS International-ICape LLC                               Contingent
         8102 Zionsville Rd                                           Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Docusign                                                     Contingent
         14800 Frye Rd 2nd Fl                                         Unliquidated
         Fort Worth, TX 76155                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Doe National Energy Technology Lab                           Contingent
         Morgantown Campus                                            Unliquidated
         3610 Collins Ferry Rd                                        Disputed
         Morgantown, WV 26507
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         DS Tech                                                      Contingent
         1275 Rue Newton Local 15                                     Unliquidated
         Boucherville QC J4B 5H2                                      Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dunham Rubber & Belting Corp                                 Contingent
         PO Box 47249                                                 Unliquidated
         Indianapolis, IN 46247-0249                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Dynapower Co                                                 Contingent
         85 Meadowland Dr                                             Unliquidated
         South Burlington, VT 05403                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         E Car Service                                                Contingent
         UID ATU65905069                                              Unliquidated
         Eigenheim 7 6850 Dornbirn                                    Disputed
         AUSTRIA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         E on Technologies GMBH                                       Contingent
         Alexander Von Huboldt Str 1                                  Unliquidated
         45896 Gelsenkirchen                                          Disputed
         GERMANY
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         e-AAM Driveline Systems AB                                   Contingent
         Nohabgatan 18E                                               Unliquidated
         SE-461 53 Trollhatten                                        Disputed
         SWEDEN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Eagle Rock Specialties                                       Contingent
         Idaho National Labs                                          Unliquidated
         2299 W Omni Dr                                               Disputed
         Idaho Falls, ID 83402
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Eastern Engineering Supply Inc                               Contingent
         2810 N Wheeling Ave                                          Unliquidated
         Muncie, IN 47303                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Eaton Corporation                                            Contingent
         7250 Flint Dr                                                Unliquidated
         Menomonee Falls, WI 53051                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EBM-PAPST Automotive & Drive                                 Contingent
         PO Box 416381                                                Unliquidated
         Boston, MA 02241-6381                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Eclipse Energy                                               Contingent
         1752 Fields Blvd                                             Unliquidated
         Greenfield, IN 46140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EDA Inc
         Engineering Design & Automation                              Contingent
         5600 N US Highway 41                                         Unliquidated
         PO Box 5173                                                  Disputed
         Terre Haute, IN 47805
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EDLO Sales & Engineering Inc                                 Contingent
         407 Yorktown Rd                                              Unliquidated
         Logansport, IN 46947                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Efficient Drivetrains Inc                                    Contingent
         1000 Business Park Dr Ste B                                  Unliquidated
         Dixon, CA 95620                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Efile4Biz                                                    Contingent
         3300 Gateway Dr                                              Unliquidated
         Pompano Beach, FL 33069                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Egenolf Industrial Group Inc                                 Contingent
         PO Box 1991                                                  Unliquidated
         Indianapolis, IN 46206-1991                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Elbilmek AS                                                  Contingent
         Snaroyveien 73                                               Unliquidated
         Fornebu 1367 MOB 968 017 16                                  Disputed
         NORWAY
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Electrans Technologies Ltd                                   Contingent
         Canadian Bron LTD 2021 Spears Rd                             Unliquidated
         Oakville ON L6L 2X8                                          Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Electric Vehicle Club of Purdue                              Contingent
         451 N Grant St Apt 7                                         Unliquidated
         West Lafayette, IN 47906                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Electro Enterprises Inc                                      Contingent
         3601 North I-35 Service Rd                                   Unliquidated
         Oklahoma City, OK 73111                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Electronic Mobility Automotive AG                            Contingent
         Praternisel 3-4                                              Unliquidated
         Munich D-80538                                               Disputed
         BAVARIA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Element Materials Technology Chicago                         Contingent
         194 International Blvd                                       Unliquidated
         Glendale Heights, IL 60139                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Elevated Logistics Group LLC                                 Contingent
         PO Box 6065                                                  Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Elgin Fastener Group                                         Contingent
         26063 Network Pl                                             Unliquidated
         Chicago, IL 60673-1247                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Elroy Air                                                    Contingent
         1500 Michigan St                                             Unliquidated
         San Francisco, CA 94124                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Elwod Staffing Services Inc                                  Contingent
         PO Box 1024                                                  Unliquidated
         Columbus, IN 47202                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EMA Design Automation                                        Contingent
         225 Tech Park Dr                                             Unliquidated
         Rochester, NY 14692                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Emera Technologies                                           Contingent
         702 N Franklin St #100                                       Unliquidated
         Tampa, FL 33602                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Emerging Power Inc                                           Contingent
         244 Wood St                                                  Unliquidated
         PO Box 9184                                                  Disputed
         Lexington, MA 02420-9108
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EMP Technical Group                                          Contingent
         17450 Tiller Ct                                              Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $27,746,864.88
         Endros Group Ltd                                             Contingent
         Akara Bldg 24 De Castro Street                               Unliquidated
         Wickhams Cay 1                                               Disputed
         TORTOLA BRITISH ISLANDS
                                                                   Basis for the claim:    Promissory Note
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Enerboost DOO                                                Contingent
         Barjanska cesta 70                                           Unliquidated
         Ljubljana Slovenia 1000                                      Disputed
         SLOVENIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Enerdel Inc                                                  Contingent
         2 Avtomotornaya St Moscow                                    Unliquidated
         Moscow 125438                                                Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EnerDel Warranty                                             Contingent
         3619 W 73rd St #2                                            Unliquidated
         Anderson, IN 46011                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EnerDel-IEGO                                                 Contingent
         3619 W 73rd St #2                                            Unliquidated
         Anderson, IN 46011                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Energetech Co                                                Contingent
         dba Electric Car Company                                     Unliquidated
         7427 S Main St                                               Disputed
         Midvale, UT 84047
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Energy Systems Network                                       Contingent
         111 Monument Cir #1800                                       Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,462,574.81
         Enertech International Inc
         296 Chungjuhosu Ro                                           Contingent
         Chungju-City                                                 Unliquidated
         Chungbuk 27432                                               Disputed
         REPUBLIC OF KOREA
                                                                   Basis for the claim:    Services 175,206.40 plus 1,287,368.41
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Enerz
         19 Lyalin Lane                                               Contingent
         Building 1                                                   Unliquidated
         Moscow 105062                                                Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Enerz Ltd                                                    Contingent
         20A Aptekarskala EMB                                         Unliquidated
         Saint Petersburg 197022                                      Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EnPower                                                      Contingent
         2155 W Pinnacle Peak Rd #120                                 Unliquidated
         Phoenix, AZ 85027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Epignosis LLC                                                Contingent
         315 Montgomery St 9th Fl                                     Unliquidated
         San Francisco, CA 94104                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ergo-Office Furniture LLC                                    Contingent
         2525 N Shadeland Ave Bldg 60                                 Unliquidated
         Indianapolis, IN 46219                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Espec North America Inc                                      Contingent
         4141 Central Pkwy                                            Unliquidated
         Hudsonville, MI 49429                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Essentra Components                                          Contingent
         2 Westbrook Corporate Center                                 Unliquidated
         Westchester, IL 60154                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Estes Design and Manufacturing Inc                           Contingent
         470 S Mitthoeffer Rd                                         Unliquidated
         Indianapolis, IN 46229                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EVC Group SRO                                                Contingent
         Nadrazni 804                                                 Unliquidated
         Hulin 768 24                                                 Disputed
         CZECH REPUBLIC
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EVC Racing                                                   Contingent
         11339 Valley Meadow Dr                                       Unliquidated
         Zionsville, IN 46077                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         EVOA LLC                                                     Contingent
         805 Marina Rd                                                Unliquidated
         Titusville, FL 32796                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Evolve Electrics                                             Contingent
         5735 Arapahoe Ave Unit C                                     Unliquidated
         Boulder, CO 80303                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Experbuy France                                              Contingent
         Labinal Power Systems-Reau                                   Unliquidated
         Rond Point Rene Ravaud                                       Disputed
         FRANCE
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fabryka Samochodow Osobowych Syrena                          Contingent
         Jozefow Street 9                                             Unliquidated
         Kutno 99-300                                                 Disputed
         POLAND
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Facturation Parc - Society De Transport                      Contingent
         800 DeLa Gauchetiere Oest 8440                               Unliquidated
         Montreal QC H5A 1J6                                          Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Faegre Drinker Biddle & Reatch LLP                           Contingent
         PO Box 856522                                                Unliquidated
         Minneapolis, MN 55485-6522                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fahrenheit IT                                                Contingent
         115 W Washington St #1220                                    Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Farasis
         West Side of Caidie Road                                     Contingent
         North Side of Jinling West Road                              Unliquidated
         Ganzhour City, Jiangxi Province                              Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fast Lane Recuitment Group LLC                               Contingent
         1175 Paper Chase Ct                                          Unliquidated
         Lawrenceville, GA 30043                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fastenal Company                                             Contingent
         PO Box 978                                                   Unliquidated
         Winona, MN 55987-0978                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx                                                        Contingent
         6648 S Permiter Rd                                           Unliquidated
         Indianapolis, IN 46241                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx 2715-5                                                 Contingent
         PO Box 94515                                                 Unliquidated
         Palatine, IL 60094-4515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx 2793-2                                                 Contingent
         Dept CH PO Box 10306                                         Unliquidated
         Palatine, IL 60055-0306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx 7952-6                                                 Contingent
         PO Box 94515                                                 Unliquidated
         Palatine, IL 60094-4515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx 8145-4                                                 Contingent
         PO Box 94515                                                 Unliquidated
         Palatine, IL 60094-4515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx Freight #9526                                          Contingent
         Dept Ch PO Box 10306                                         Unliquidated
         Palatine, IL 60055-0306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx Freight 1179                                           Contingent
         Dept CH PO Box 10306                                         Unliquidated
         Palatine, IL 60055-0306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx Freight 1874-3                                         Contingent
         PO Box 94515                                                 Unliquidated
         Palatine, IL 60055-0306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx Trade Networks                                         Contingent
         PO Box 842206                                                Unliquidated
         Boston, MA 02284-2206                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FedEx Wholesale Collections                                  Contingent
         3965 Airways Blvd Module G 3rd Fl                            Unliquidated
         Memphis, TN 38116                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         First Advantage Background Serv                              Contingent
         PO Box 403532                                                Unliquidated
         Atlanta, GA 30384-3532                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         First Call Temporary Services Inc                            Contingent
         PO Box 7096                                                  Unliquidated
         Dept 252                                                     Disputed
         Indianapolis, IN 46207
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         First Financial Bank                                         Contingent
         300 Meridian St #300                                         Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         First Financial Bank - VISA                                  Contingent
         PO Box 42070                                                 Unliquidated
         Middletown, OH 45042-0070                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fisker Automotive Inc                                        Contingent
         19 Corporate Park                                            Unliquidated
         Irvine, CA 92606                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Flagship Enterprise Center Inc                               Contingent
         2705 Enterprise Dr                                           Unliquidated
         Anderson, IN 46013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Flame Enterprises                                            Contingent
         21500 Gledhill St                                            Unliquidated
         Chatsworth, CA 91311                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Flex-Cable                                                   Contingent
         5822 Henkel Rd                                               Unliquidated
         Howard City, MI 49329                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Flexware Innovation Inc                                      Contingent
         9128 Technology Ln                                           Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Florida Department of State                                  Contingent
         Division of Corporation                                      Unliquidated
         2415 N Monroe St #810                                        Disputed
         Tallahassee, FL 32303
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Florida Detroit Diesel                                       Contingent
         6750 Presidents Drive                                        Unliquidated
         Orlando, FL 32809                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fluid Air Engineering Inc                                    Contingent
         5775 W 74th St                                               Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Flying Colors Group LP                                       Contingent
         1506 Wheelbarrow Creek Rd                                    Unliquidated
         Stevensville, MT 59870                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FNS Inc                                                      Contingent
         1545 Francisco St                                            Unliquidated
         Torrance, CA 90501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FORI Automation                                              Contingent
         13231 23 Mile Rd                                             Unliquidated
         Shelby Township, MI 48315                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fotronic Corporation                                         Contingent
         dba Test Equipment Depot                                     Unliquidated
         99 Washington St                                             Disputed
         Melrose, MA 02176-6024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fred Pryor Learning Solutions                                Contingent
         PO Box 219468                                                Unliquidated
         Kansas City, MO 64121-9468                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Front Panel Express                                          Contingent
         1015 Central Ave N                                           Unliquidated
         Kent, WA 98032                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Fujipoly American Corp                                       Contingent
         PO Box 119                                                   Unliquidated
         Carteret, NJ 07008-0119                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         FUNDACAO CPQD - Rue Doutor Recardo                           Contingent
         Benetton Martins SN Parque II Do Polo De                     Unliquidated
         Alta Technolgia Campinas AP                                  Disputed
         BRAZIL
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GAFFOGLIO FAMILY METALCRAFTERS,                              Contingent
         INC.                                                         Unliquidated
         11161 SLATER AVENUE                                          Disputed
         Fountain Valley, CA 92708
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Galbraith Laboratories Inc                                   Contingent
         2323 Sycamore Dr                                             Unliquidated
         Knoxville, TN 37921                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         General Devices Co Inc                                       Contingent
         1410 S Post Rd                                               Unliquidated
         Indianapolis, IN 46239                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GENERAL DYNAMICS LAND SYSTEMS                                Contingent
         1161 BUCKEYE ROAD                                            Unliquidated
         Lima, OH 45804-1815                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         George E Missbach & Company                                  Contingent
         3715 Norhtside Pkwy NW Ste 3-675                             Unliquidated
         Atlanta, GA 30327                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Gerweiss Motors Corporation                                  Contingent
         36 Armstrong Villas Armstrong Ave                            Unliquidated
         Moonwalk Paranaque City Metro Manilla                        Disputed
         PHILLIPPINES
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GFE MacArthur Investments LLC                                Contingent
         757 N Broadway #700                                          Unliquidated
         Milwaukee, WI 53202                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GH Packaging                                                 Contingent
         Product Testing & Consulting Inc                             Unliquidated
         4090 Thunderbird Ln                                          Disputed
         Fairfield, OH 45014
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Gibson Teldata Inc                                           Contingent
         PO Box 3000                                                  Unliquidated
         Terre Haute, IN 47803-0115                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GIMS Inc
         RM506, 5F, Miwon Bldg                                        Contingent
         70, Gukjegeumyung-Ro                                         Unliquidated
         Yeondgeungpo-Gu Seoul 07333                                  Disputed
         REPUBLIC OF KOREA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Global Industrial Equipment                                  Contingent
         29833 Network Pl                                             Unliquidated
         Chicago, IL 60673-1298                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Global Plastics Inc                                          Contingent
         6739 Guion Rd                                                Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Golden Lakes Investment Ltd
         Rm 1201 Building A11 No 2 District                           Contingent
         San Li He Xl Cheng District                                  Unliquidated
         Beijing China                                                Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Goodwolfe Energy Limited - Units 27/28                       Contingent
         Laurance Industrial Estate Eastwoodbury                      Unliquidated
         Southend-on-Sea Essex SS2 6RH                                Disputed
         ENGLAND
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Gordon Food Service Store                                    Contingent
         9540 Masters Rd                                              Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Gordon Fournaris & Mammarella PA                             Contingent
         1925 Lovering Ave                                            Unliquidated
         Wilmington, DE 19806                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Grainger                                                     Contingent
         1657 Shermer Rd                                              Unliquidated
         Northbrook, IL 60062-5362                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Grant Thornton                                               Contingent
         33562 Treasury Center                                        Unliquidated
         Chicago, IL 60694-3500                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Great Lakes Tape Corp                                        Contingent
         dba GLT International                                        Unliquidated
         2961 Bond St                                                 Disputed
         Rochester Hills, MI 48309
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GREATER CLEVELAND RTA                                        Contingent
         1240 WEST 6TH STREET                                         Unliquidated
         Cleveland, OH 44113-1331                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GREATER LYNCHBURG TRANSIT
         COMPANY                                                      Contingent
         ACCOUNTS PAYABLE                                             Unliquidated
         P.O. BOX 11286                                               Disputed
         Lynchburg, VA 24506
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         GreatLink USA                                                Contingent
         44168 S Grimmer Blvd                                         Unliquidated
         Fremont, CA 94538                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Greenfield Global USA Inc                                    Contingent
         PO Box 67000                                                 Unliquidated
         Detroit, MI 48267-2675                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Greentree Electronics Ltd                                    Contingent
         53 Metudela St                                               Unliquidated
         Tel Aviv                                                     Disputed
         ISRAEL
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Greenway Operator AS                                         Contingent
         Bajkalska 5/B                                                Unliquidated
         831 04 Bratislava                                            Disputed
         SLOVAKIA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Guardian                                                     Contingent
         PO Box 95101                                                 Unliquidated
         Chicago, IL 60694-5101                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Guardian Life Insurance Company                              Contingent
         PO Box 677458                                                Unliquidated
         Dallas, TX 75267-7458                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         H & Friends Freight Inc                                      Contingent
         145-43 226th St                                              Unliquidated
         Springfield Gardens, NY 11413                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         H2S Solutions                                                Contingent
         20409 Yorba Linda Blvd #228                                  Unliquidated
         Yorba Linda, CA 92886                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hagerman Security/Investigations                             Contingent
         8552 S 400 E                                                 Unliquidated
         Markleville, IN 46056                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hamilton County Treasurer                                    Contingent
         33 N 9th St #112                                             Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hancock County Treasurer                                     Contingent
         111 American Legion Pl #205                                  Unliquidated
         Greenfield, IN 46140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hankuk Fiber Co Ltd                                          Contingent
         181 1 Yongji-Ri Bubuk-Myun                                   Unliquidated
         Miryang-Si Kyungnam                                          Disputed
         SOUTH KOREA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Harbor Freight                                               Contingent
         5703 E 86th St                                               Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         HARDT ELECTRIC                                               Contingent
         4909 N ELSTON                                                Unliquidated
         Chicago, IL 60630                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Harendorfer Machine Inc                                      Contingent
         550 O'Byrne Ave                                              Unliquidated
         Louisville, KY 40233                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Harvest CROO, LLC. (4FX)                                     Contingent
         251 SOUTH 78TH STREET                                        Unliquidated
         Tampa, FL 33619                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hayes Young Law LLC                                          Contingent
         133 W Market St #332                                         Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hazmat Safety Consulting LLC                                 Contingent
         1765 Duke St                                                 Unliquidated
         Alexandria, VA 22314                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Heather Jaeger                                               Contingent
         701 W 72nd St                                                Unliquidated
         Indianapolis, IN 46260                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Heritage Interactive Services LLC                            Contingent
         PO Box 681490                                                Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         HG Engineers                                                 Contingent
         142 Eglin Pkwy SE                                            Unliquidated
         Fort Walton Beach, FL 32548                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         High Impact Solutions                                        Contingent
         20793 Farmington Rd #13                                      Unliquidated
         Farmington, MI 48336                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hilary Goodnight                                             Contingent
         3303 Wild Ivy Cir                                            Unliquidated
         Indianapolis, IN 46227                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hioki USA Corporation                                        Contingent
         6600 Chase Oaks Blvd #150                                    Unliquidated
         Plano, TX 75023                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Holland & Knight                                             Contingent
         PO Box 864084                                                Unliquidated
         Orlando, FL 32886-4084                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Honda R&D Europe Germany GMBH                                Contingent
         Carl-Legien-Strasse 30                                       Unliquidated
         63073 Offenbach                                              Disputed
         GERMANY
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hoosier Gasket Corp                                          Contingent
         2400 Enterprise Park Pl                                      Unliquidated
         Indianapolis, IN 46218                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Horizon House Inc                                            Contingent
         1033 E Washington St                                         Unliquidated
         Indianapolis, IN 46202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Horner Industrial Services Inc                               Contingent
         1521 E Washington St                                         Unliquidated
         Indianapolis, IN 46201                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         HR Pro/Bancorpsv                                             Contingent
         1423 E 11 Mile Rd                                            Unliquidated
         Royal Oak, MI 48067                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hunter Lift TLD                                              Contingent
         11233 South Ave                                              Unliquidated
         North Lima, OH 44452-9731                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         HVR Advanced Power Components Inc                            Contingent
         2090 Old Union Rd                                            Unliquidated
         Cheektowaga, NY 14227                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hyatt House                                                  Contingent
         11455 Ikea Way                                               Unliquidated
         Fishers, IN 46037                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Hyundai Heavy Industries Co Ltd                              Contingent
         1 Cheon Ha Dong                                              Unliquidated
         Dong-Gu Ulsan                                                Disputed
         SOUTH KOREA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         I-Gear Inc                                                   Contingent
         8016 Vinecrest Ave                                           Unliquidated
         Louisville, KY 40222                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ICC Business Products                                        Contingent
         PO Box 26058                                                 Unliquidated
         Indianapolis, IN 46226                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ICS Chillers                                                 Contingent
         3335 Minnesota Ln N                                          Unliquidated
         Minneapolis, MN 55447                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ID TechEx.com                                                Contingent
         One Boston Pl #2600                                          Unliquidated
         Boston, MA 02108                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         IDEAL POWER CONVERTERS                                       Contingent
         4210 FREIDRICH LANE                                          Unliquidated
         Suite 100                                                    Disputed
         Austin, TX 78744
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Idesco Corp                                                  Contingent
         37 W 26th St 10th Fl                                         Unliquidated
         New York, NY 10010                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         IEWC Holdings Corp                                           Contingent
         5001 S Towne Dr                                              Unliquidated
         New Berlin, WI 53151                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         IHS Global Inc                                               Contingent
         dba Global Engineering Documents                             Unliquidated
         PO Box 911501                                                Disputed
         Denver, CO 80291-1501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ikonix USA                                                   Contingent
         28105 N Keith Dr                                             Unliquidated
         Lake Forest, IL 60045                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Incodema Inc                                                 Contingent
         407 Cliff St                                                 Unliquidated
         Ithaca, NY 14850                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Chamber of Commerce                                  Contingent
         115 W Washington St Ste 850 S                                Unliquidated
         Indianapolis, IN 46204-3497                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Department of Revenue                                Contingent
         100 N Senate Ave                                             Unliquidated
         IGCN Rm N105                                                 Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Dept of Environmental Mgmt                           Contingent
         PO Box 3295                                                  Unliquidated
         Indianapolis, IN 46206-3295                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Dept of Homeland Security                            Contingent
         Fiscal Dept Rm E221                                          Unliquidated
         302 W Washington St                                          Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Dept of Revenue                                      Contingent
         PO Box 6032                                                  Unliquidated
         Indianapolis, IN 46206-6032                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Filter Supply Inc                                    Contingent
         5850 Kopetsky Dr Ste F                                       Unliquidated
         Indianapolis, IN 46217                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         INDIANA OFFICE OF ENERGY                                     Contingent
         DEVELOPMENT                                                  Unliquidated
         1 NORTH CAPITOL SUITE 600                                    Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Professional Licensing Agency                        Contingent
         402 W Washington St Rm W072                                  Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Secretary of State                                   Contingent
         200 W Washington St Rm 201                                   Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana Stamp Companies                                      Contingent
         1319 Production Rd                                           Unliquidated
         Fort Wayne, IN 46808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indiana State Police                                         Contingent
         PO Box 6188                                                  Unliquidated
         Indianapolis, IN 46206                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indianapolis Power & Light - Sadler Cir                      Contingent
         PO Box 110                                                   Unliquidated
         Indianapolis, IN 46206-0110                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         INDPLS COMM DEV BLOCK GRANT                                  Contingent
         BEUMER CONSULTING                                            Unliquidated
         PO Box 219                                                   Disputed
         Farmland, IN 47340
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Indy Chamber                                                 Contingent
         111 Monument Cir #1950                                       Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         INDY POWER SYSTEMS                                           Contingent
         7702 MOLLER ROAD                                             Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Infinity Printing and Promotions                             Contingent
         14563 Sowers Dr                                              Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Informa Markets Manufacturing LLC                            Contingent
         25589 Network Pl                                             Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         InfoTrac                                                     Contingent
         200 N Palmetto St                                            Unliquidated
         Leesburg, FL 34748                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         INSCCU ASFE                                                  Contingent
         PO Box 6271                                                  Unliquidated
         Indianapolis, IN 46206-6271                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Insight Direct USA Inc                                       Contingent
         PO Box 731069                                                Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Interstate Power Systems                                     Contingent
         NW 7244                                                      Unliquidated
         PO Box 1450                                                  Disputed
         Minneapolis, MN 55485-7244
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Interstate Power Systems                                     Contingent
         21568 Highview Ave                                           Unliquidated
         Lakeville, MN 55044                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Intertek Testing Services NA Inc                             Contingent
         PO Box 405176                                                Unliquidated
         Atlanta, GA 30384-5176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         INTERTEK TESTING SERVICES NA INC                             Contingent
         45000 Helm St, Suite 150                                     Unliquidated
         Plymouth, MI 48170                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Irish Mechanical Services Inc                                Contingent
         7008 E 43rd St                                               Unliquidated
         Indianapolis, IN 46226                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Iron Mountain                                                Contingent
         PO Box 27128                                                 Unliquidated
         New York, NY 10087-7128                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         iSolutions Services                                          Contingent
         2700 Still Creek Dr                                          Unliquidated
         Zionsville, IN 46077                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Itochu Corporation
         Itochu Corporation5-1 Kita-Aoyama                            Contingent
         2-Chometokyo 5-1-Kita-Aoyama 2-Chome                         Unliquidated
         Tokyo 107-8077                                               Disputed
         JAPAN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Itochu Corporation
         Tokvu Section                                                Contingent
         5-1 Kita-Aoyama 2-Chome                                      Unliquidated
         Minato-Ku Tokyo 107-8077                                     Disputed
         JAPAN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Itochu Europe                                                Contingent
         The Broadgate Tower - 20 Primrose Street                     Unliquidated
         London EC2A 2EW                                              Disputed
         ENGLAND
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ja'Len Edwards                                               Contingent
         6565 Bergeson Way                                            Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Jama Software Inc                                            Contingent
         135 SW Taylor St #200                                        Unliquidated
         Portland, OR 97204                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.384    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Jamac Inc                                                    Contingent
         422 Buchanan St                                              Unliquidated
         Sandusky, OH 44870                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.385    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         James Babcock Inc                                            Contingent
         2925 N Mitthoeffer Pl                                        Unliquidated
         Indianapolis, IN 46229                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.386    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         James Bowman                                                 Contingent
         8221 Sargent Rd                                              Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.387    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Jani-King of Indianapolis                                    Contingent
         6960 Corporate Dr                                            Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.388    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Jay-Crew Landscaping Inc                                     Contingent
         2901 S Gharkey St                                            Unliquidated
         Muncie, IN 47302                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.389    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         JBS Services                                                 Contingent
         346 Creekstone Dr                                            Unliquidated
         Indianapolis, IN 46239                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Jeff Dick                                                    Contingent
         325 N 14th St                                                Unliquidated
         Middletown, IN 47356                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         JEM Electronics                                              Contingent
         23 National Dr                                               Unliquidated
         Franklin, MA 02038                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Jofemar SA Hidrownew XXII SL                                 Contingent
         Ctra Marcilla KM 2                                           Unliquidated
         31350 Peralta Navarra                                        Disputed
         SPAIN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Johnson & Towers Inc                                         Contingent
         PO Box 7788                                                  Unliquidated
         Portsmouth, VA 23707                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Johnson & Towers Inc                                         Contingent
         Attn: Brent Corman                                           Unliquidated
         500 Wilson Point Rd                                          Disputed
         Middle River, MD 21220
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Joshua Davis                                                 Contingent
         2811 N 125 W                                                 Unliquidated
         Greenfield, IN 46140-8619                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Jules and Associates Inc                                     Contingent
         515 S Figueroa St #1900                                      Unliquidated
         Los Angeles, CA 90071                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         JX Nippon Mining & Metals
         6-3 Otemachi 2-Chome                                         Contingent
         Chiyoda-Ku                                                   Unliquidated
         Tokyo 100-8164                                               Disputed
         JAPAN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         K&K MANUFACTURING INC                                        Contingent
         951 9 MILE ROAD N W                                          Unliquidated
         Sparta, MI 49345                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kaman Fluid Power                                            Contingent
         3802 N 600 W                                                 Unliquidated
         Greenfield, IN 46140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kardex Handling Solutions                                    Contingent
         10340 Pleasant St #600                                       Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Katz Sapper & Miller                                         Contingent
         Dept 235                                                     Unliquidated
         PO Box 7096                                                  Disputed
         Indianapolis, IN 46206-7096
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         KBS Engineering Services LLC                                 Contingent
         30746 Brush St                                               Unliquidated
         Madison Heights, MI 48071                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kearston West                                                Contingent
         7001 S CR 475 E                                              Unliquidated
         Selma, IN 47383                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.404    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kele Inc                                                     Contingent
         3300 Brother Blvd                                            Unliquidated
         Memphis, TN 38133                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.405    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         KEME INC                                                     Contingent
         550 MORELAND WAY 4610                                        Unliquidated
         Santa Clara, CA 95054                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.406    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kent Machine                                                 Contingent
         8677 S State Rd 9                                            Unliquidated
         Pendleton, IN 46064                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.407    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kenworth Truck Co                                            Contingent
         Attn Bob Gurney                                              Unliquidated
         485 Houser Way N                                             Disputed
         Renton, WA 98057
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.408    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kenworth Truck Co                                            Contingent
         Attn Bob Gurney                                              Unliquidated
         485 Houser Way N                                             Disputed
         Renton, WA 98057
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.409    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kev Adjemian                                                 Contingent
         1072 Santa Ana St.                                           Unliquidated
         Laguna Beach, CA 92651
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.410    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kevin Rothada Technologies                                   Contingent
         11149 Bradford Rd                                            Unliquidated
         Littleton, CO 80127                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kevin Scotese                                                Contingent
         739 Grandin Rd                                               Unliquidated
         Charlotte, NC 28208                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Keyence Corp of America                                      Contingent
         Dept CH 17128                                                Unliquidated
         Palatine, IL 60055-7128                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Keytronic EMS                                                Contingent
         1801 S Fulton Dr                                             Unliquidated
         Corinth, MS 38834                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kimberly Springer                                            Contingent
         7222 Sandalwood Dr                                           Unliquidated
         Indianapolis, IN 46217                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         King County DOT Transit Vehicle Maint                        Contingent
         2160 N 163rd St                                              Unliquidated
         NBM-TR-0100                                                  Disputed
         Shoreline, WA 98133
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kirby Risk Corporation                                       Contingent
         27561 Network Pl                                             Unliquidated
         Chicago, IL 60673-1275                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.417    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Komatsu Mining Corp                                          Contingent
         120 Liberty St                                               Unliquidated
         Franklin, PA 16323                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.418    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Kore Power Inc                                               Contingent
         1875 N Lakewood Dr #200                                      Unliquidated
         Coeur D Alene, ID 83814                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.419    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         KRONUS ENGINEERING                                           Contingent
         5735 ARAPAHOE                                                Unliquidated
         Boulder, CO 80303                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.420    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Krukemeier Machine & Tool Co Inc                             Contingent
         4949 Subway St                                               Unliquidated
         Beech Grove, IN 46107                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.421    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Landstar Ranger Inc                                          Contingent
         PO Box 8500 54293                                            Unliquidated
         Philadelphia, PA 19178-4283                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.422    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Lane Transit District                                        Contingent
         3500 E 17th Ave                                              Unliquidated
         Eugene, OR 97403                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.423    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Leapfile Inc                                                 Contingent
         Dept LA 22799                                                Unliquidated
         Pasadena, CA 91185-2799                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.424    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         LEM USA Inc                                                  Contingent
         BIN 88054                                                    Unliquidated
         Milwaukee, WI 53288-0054                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Level 3 Communications LLC                                   Contingent
         PO Box 910182                                                Unliquidated
         Denver, CO 80291-0182                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         LHD Benefit Advisors                                         Contingent
         250 W 96th St #350                                           Unliquidated
         Indianapolis, IN 46260-1317                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.427    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Li Guogun-RiseSun MGL New Energy
         Science                                                      Contingent
         18# Baifuquan Rd Changping Sector of                         Unliquidated
         Zhongguancun Science Park Beijing                            Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.428    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         LIGHTNING MOTORS CORP                                        Contingent
         931 AMERICAN STREET                                          Unliquidated
         40 S 35TH ST                                                 Disputed
         Boulder, CO 80305
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.429    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Lincoln Business Park Holdings LLC                           Contingent
         241 N Pennsylvania St #300                                   Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.430    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Linde Gas & Equipment Inc                                    Contingent
         Praxair Distribution Inc                                     Unliquidated
         Dept CH 10660                                                Disputed
         Palatine, IL 60055-0660
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.431    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         LinkedIn Corp                                                Contingent
         1000 W Maude Ave                                             Unliquidated
         Sunnyvale, CA 94085                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Lion Buses                                                   Contingent
         921 Chermin De La Riveire Du Nord                            Unliquidated
         St. Jerome P. Qc J7Y 5G2                                     Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.433    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Lithium Storage Ltd                                          Contingent
         No 9 East Mozhou Road                                        Unliquidated
         Jiangning District 211111                                    Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.434    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         LMC Service Solutions                                        Contingent
         1023 W 38th St                                               Unliquidated
         Anderson, IN 46013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.435    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Lolita McCormick                                             Contingent
         1948 N Tibbs Ave                                             Unliquidated
         Indianapolis, IN 46222                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.436    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Lowes Home Improvement                                       Contingent
         PO Box 530954                                                Unliquidated
         Atlanta, GA 30353                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.437    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         LTS Marine Inc                                               Contingent
         1602 Jean Lachaine                                           Unliquidated
         Saint-Catherine Quebec J5C1C2                                Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.438    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MAB Collision Customs                                        Contingent
         7601 E 88th Pl Bldg 3                                        Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.439    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MacAllister Machinery Company Inc                            Contingent
         6300 Southeastern Ave                                        Unliquidated
         Indianapolis, IN 46203                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Macrium Software - Cleverbridge                              Contingent
         350 N Clark #700                                             Unliquidated
         Chicago, IL 60654                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $55,000.00
         Madison County Treasurer                                     Contingent
         16 E 9th St Rm 109                                           Unliquidated
         Anderson, IN 46016                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Property taxes
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Magna Closures                                               Contingent
         A Div of Magna Closures Inc                                  Unliquidated
         Newmarket ON L3Y 4X7                                         Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Magna Steyr Fahrzeugtechnik Ag & Co                          Contingent
         Liebenauer Hauptstr 317                                      Unliquidated
         Graz Austria 8041                                            Disputed
         AUSTRIA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Magnatag                                                     Contingent
         2031 O'Neil Rd                                               Unliquidated
         Macedon, NY 14502                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MAJOR JEFFREY                                                Contingent
         6348 CLOVERDALE ROAD                                         Unliquidated
         Cygnet, OH 43413                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Malone's Catering                                            Contingent
         5005 W Raymond St                                            Unliquidated
         Indianapolis, IN 46241                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.447    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $227,233.00
         Manar Inc DBA ECA Enterprises Inc                            Contingent
         KEY Manufacturing LLC                                        Unliquidated
         PO Box 248
                                                                      Disputed
         Edinburgh, IN 46124
         Date(s) debt was incurred
                                                                   Basis for the claim:    Only $73,300 is due
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.448    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Marian Inc                                                   Contingent
         1011 E Saint Clair St                                        Unliquidated
         Indianapolis, IN 46202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.449    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mark Childs                                                  Contingent
         4800 N 300 E                                                 Unliquidated
         Anderson, IN 46012                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.450    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Marlin Business Bank                                         Contingent
         PO Box 13604                                                 Unliquidated
         Philadelphia, PA 19101-3604                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.451    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Marriott Indianapolis North                                  Contingent
         3645 River Crossing                                          Unliquidated
         Indianapolis, IN 46240                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.452    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Marsh USA Inc                                                Contingent
         PO Box 846015                                                Unliquidated
         Dallas, TX 75284-6015                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mason & Mefford Holdings LLC                                 Contingent
         3705 N Shun Pike Rd                                          Unliquidated
         Madison, IN 47250                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.454    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MASSACHUSETTS INSTITUTE OF
         TECHNOLOGY                                                   Contingent
         244 WOOD STREET                                              Unliquidated
         P.O. BOX 9184                                                Disputed
         Lexington, MA 02420-9108
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Masson Inc                                                   Contingent
         dba Hossier Badge                                            Unliquidated
         567 N Highland Ave                                           Disputed
         Indianapolis, IN 46202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.456    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Master International                                         Contingent
         DBA Master Electronics                                       Unliquidated
         1301 Olympic Blvd                                            Disputed
         Santa Monica, CA 90401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.457    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Matric Ltd                                                   Contingent
         2099 Hill City Rd                                            Unliquidated
         Seneca, PA 16346                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.458    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Matterhackers Inc                                            Contingent
         27156 Burbank                                                Unliquidated
         Foothill Ranch, CA 92610                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.459    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Matthew Hartle                                               Contingent
         7220 W State Rd 38                                           Unliquidated
         New Castle, IN 47362                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.460    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Max Dorflinger                                               Contingent
         LEX TM3 LLC                                                  Unliquidated
         7416 Delemere Blvd                                           Disputed
         Royal Oak, MI 48073
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Maxcess Americas Inc                                         Contingent
         222 W Memorial Rd                                            Unliquidated
         Oklahoma City, OK 73114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MBI / BPC                                                    Contingent
         PO Box 56019                                                 Unliquidated
         Boston, MA 02205                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MBR Consulting LLC                                           Contingent
         2596 Rippling Creek Ct                                       Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         McCurdy Mechanical Contractors                               Contingent
         9096 Technology Ln                                           Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         McMaster Carr Supply Co                                      Contingent
         PO Box 7690                                                  Unliquidated
         Chicago, IL 60680-7690                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         McNamara Florist                                             Contingent
         1853 Ludlow Ave                                              Unliquidated
         Indianapolis, IN 46201                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mediabrains                                                  Contingent
         9015 Strada Stell Ct #203                                    Unliquidated
         Naples, FL 34109                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Metropolitan Council                                         Contingent
         390 Robert St N                                              Unliquidated
         Saint Paul, MN 55101                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Metropolitan Council                                         Contingent
         390 Robert St N                                              Unliquidated
         Saint Paul, MN 55101                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MGA Research Corp                                            Contingent
         12790 Main Rd                                                Unliquidated
         Akron, NY 14001                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MH Equipment Company                                         Contingent
         5859 W Raymond St                                            Unliquidated
         Indianapolis, IN 46241                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Michael A Canada                                             Contingent
         6565 Bergeson Way                                            Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Michael Greene                                               Contingent
         5867 San Miguel Ct Apt C                                     Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.474    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Micromeritics Instrument Corp                                Contingent
         4356 Communications Dr                                       Unliquidated
         Norcross, GA 30093                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Microsoft Corp                                               Contingent
         PO Box 842103                                                Unliquidated
         Dallas, TX 75284-2103                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mid-America Elevator Co Inc                                  Contingent
         1116 E Market St                                             Unliquidated
         Indianapolis, IN 46202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.477    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Miller Instrument Laboratory                                 Contingent
         1763 E 400 North                                             Unliquidated
         Portland, IN 47371                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.478    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Minco Products Inc                                           Contingent
         7300 Commerce Ln NE                                          Unliquidated
         Minneapolis, MN 55432                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.479    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Minitab LLC                                                  Contingent
         1829 Pine Hall Rd                                            Unliquidated
         State College, PA 16801                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.480    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MINNEAPOLIS METRO TRANSIT                                    Contingent
         515 Cleveland Ave N                                          Unliquidated
         Saint Paul, MN 55114                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.481    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mitchell Instrument Co                                       Contingent
         1570 Cherokee St                                             Unliquidated
         San Marcos, CA 92078                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.482    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mobile Track Solutions                                       Contingent
         203 Johnson St.                                              Unliquidated
         Elkader, IA 52043                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.483    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Modutram Mexico Sapi De Cv                                   Contingent
         Av Del Bosque 1145 Cole El Bajio                             Unliquidated
         Zapopan JAL 45019                                            Disputed
         MEXICO
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.484    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Morales Group / Calidad Solutions                            Contingent
         c/o Morales Group                                            Unliquidated
         5628 W 74th St                                               Disputed
         Indianapolis, IN 46278
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.485    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Moser Consulting Inc                                         Contingent
         6220 Castle Way W Dr                                         Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.486    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         MOTIV POWER SYSTEMS INC.                                     Contingent
         1165 CHESS DRIVE                                             Unliquidated
         SUITE E                                                      Disputed
         Foster City, CA 94404
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.487    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Motivo Engineering                                           Contingent
         17700 South Figueroa Street                                  Unliquidated
         Gardena, CA 90248                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mountz Inc                                                   Contingent
         1080 N 11th St                                               Unliquidated
         San Jose, CA 95112                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mouser Electronics Inc                                       Contingent
         PO Box 99319                                                 Unliquidated
         Fort Worth, TX 76199-0319                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   9809
                                                                   Is the claim subject to offset?     No       Yes

3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Munters Corporation                                          Contingent
         Dept CH 19943                                                Unliquidated
         Palatine, IL 60055-9943                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mutual of Omaha #522k                                        Contingent
         Payment Processing Center                                    Unliquidated
         PO Box 2147                                                  Disputed
         Omaha, NE 68103-2147
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Mutual of Omaha Companies                                    Contingent
         PO Box 2533                                                  Unliquidated
         Omaha, NE 68103-2533                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Naat Batt International                                      Contingent
         PO Box 772929                                                Unliquidated
         Detroit, MI 48277-2929                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nami UMP HV Battery                                          Contingent
         Nami Ru St Scientific Research                               Unliquidated
         Mosco RU                                                     Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Natalia Astakhova Enertech International                     Contingent
         10/1 A Barochnaia St Office 412                              Unliquidated
         St Petersburg Russia                                         Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NCS Engineering                                              Contingent
         24 5th St                                                    Unliquidated
         Vorsterkroon Nigel 1490                                      Disputed
         SOUTH AFRICA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Neff Group Distributors Inc                                  Contingent
         PO Box 8604                                                  Unliquidated
         711 Innovation Dr                                            Disputed
         Fort Wayne, IN 46898
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Netfidelis Inc                                               Contingent
         11807 Allisonville Rd #516                                   Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Network Solutions LLC                                        Contingent
         5335 Gate Pkwy                                               Unliquidated
         Jacksonville, FL 32256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Netzsch Instruments North America                            Contingent
         129 Middlesex Turnpike                                       Unliquidated
         Burlington, MA 01803                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NEW FLYER INDUSTRIES CANADA ULC                              Contingent
         630 KERNAGHAN AVE DOOR 76                                    Unliquidated
         WINNIPEG MB R2C 5G1                                          Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.502    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nex Gen/Remarkable Foods                                     Contingent
         715 N Main St                                                Unliquidated
         Lawton, MI 49065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Customer Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.503    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Next Generation Recruitment                                  Contingent
         675 Ponce de Leon Ave NE #8500                               Unliquidated
         Atlanta, GA 30308                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.504    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Next Steps Consulting                                        Contingent
         1805 S Hoyt Ave                                              Unliquidated
         Muncie, IN 47302                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.505    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NFP                                                          Contingent
         11 Tracy Dr                                                  Unliquidated
         Avon, MA 02322                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.506    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nicholas Miller                                              Contingent
         7167 Jessman Rd E Dr Apt H                                   Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.507    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nichols Paper & Supply Co                                    Contingent
         2647 Momentum Pl                                             Unliquidated
         Chicago, IL 60689-5326                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.508    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nidec Minster Corporation                                    Contingent
         PO Box 28516                                                 Unliquidated
         Chicago, IL 60673-8516                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.509    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NIKKEI Business Publications Inc                             Contingent
         1 17 3 Shirokane Minato Ku                                   Unliquidated
         Tokyo 108-8646                                               Disputed
         JAPAN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.510    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NIOSH Pittsburgh Mining Research Divisio                     Contingent
         626 Cochran Mill Road                                        Unliquidated
         Bldg 143                                                     Disputed
         Pittsburgh, PA 15236
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.511    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nissan                                                       Contingent
         2 Takara-Cho                                                 Unliquidated
         Kanagawa-Ku Kanagawa 220-8623                                Disputed
         JAPAN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.512    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nissin Customs Services Inc                                  Contingent
         Attn A/R Dept                                                Unliquidated
         PO Box 512391                                                Disputed
         Los Angeles, CA 90051-0391
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.513    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nissin International Transport USA Inc                       Contingent
         Attn A/R Dept                                                Unliquidated
         PO Box 512391                                                Disputed
         Los Angeles, CA 90051
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.514    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nivalis Energy Systems                                       Contingent
         230 Schilling Circle                                         Unliquidated
         Suite 120                                                    Disputed
         Hunt Valley, MD 21031
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.515    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Norauto France                                               Contingent
         Rue Du Fort Center De Gros Lesquin                           Unliquidated
         Sainghin En Melantois North Dept                             Disputed
         FRANCE
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.516    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nordson EFD LLC                                              Contingent
         PO Box 777959                                                Unliquidated
         Chicago, IL 60677-7009                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.517    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         North Mill Capital LLC                                       Contingent
         821 Alexander Rd #130                                        Unliquidated
         Princeton, NJ 08540                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.518    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Novabus                                                      Contingent
         1000 Boul Indusriel                                          Unliquidated
         St Eustache QC J7R 5A5                                       Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.519    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NUCLEUS SCIENTIFIC                                           Contingent
         148 SIDNEY STREET                                            Unliquidated
         Cambridge, MA 02139                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.520    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nuvation Energy                                              Contingent
         332 Marsland Dr #200                                         Unliquidated
         Waterloo Ontario N2J 3Z1                                     Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.521    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Nuvation Engineering                                         Contingent
         151 Gibraltar Ct                                             Unliquidated
         Sunnyvale, CA 94089                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.522    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         NY-Best                                                      Contingent
         230 Washington Ave Extension                                 Unliquidated
         Albany, NY 12203                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.523    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Occupational Health Centers                                  Contingent
         PO Box 488                                                   Unliquidated
         Lombard, IL 60148-0488                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.524    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ocsial LLC                                                   Contingent
         500 S Front St #860                                          Unliquidated
         Columbus, OH 43215                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.525    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Odyne Systems LLC                                            Contingent
         W237 N2878 Woodgate Rd                                       Unliquidated
         Pewaukee, WI 53072                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.526    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         OEC Fright (Korea) Co Ltd
         Rm 1509, Byucksan Digital Valley                             Contingent
         219, Gasas-Digital 1RO                                       Unliquidated
         Keumcheon-Gu Seoul 08501                                     Disputed
         REPUBLIC OF KOREA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.527    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Office Depot                                                 Contingent
         3721 W 86th St                                               Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.528    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Office H2O LLC                                               Contingent
         7402 E 90th St                                               Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.529    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         OFFICE OF NAVAL RESEARCH                                     Contingent
         CODE 331                                                     Unliquidated
         875 N RANDOLPH STREET                                        Disputed
         Arlington, VA 22203-1995
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.530    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Omega Engineering                                            Contingent
         800 Connecticut Ave #5N01                                    Unliquidated
         Norwalk, CT 06854                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.531    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Omnisource Electronics Recycling LLC                         Contingent
         219 Murray St                                                Unliquidated
         Fort Wayne, IN 46803                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.532    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Onlinecomponents.com                                         Contingent
         2425 S 21st St                                               Unliquidated
         Phoenix, AZ 85034                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.533    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Oracle America Inc                                           Contingent
         500 Oracle Pkwy                                              Unliquidated
         Redwood City, CA 94065                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Orange Coast Pneumatics Inc                                  Contingent
         3810 Prospect Ave Unit A                                     Unliquidated
         Yorba Linda, CA 92886                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.535    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ovation Ultimate Audio LLC                                   Contingent
         6609 E 82nd St                                               Unliquidated
         Indianapolis, IN 46250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.536    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PACCAR                                                       Contingent
         485 Houser Way N,                                            Unliquidated
         Renton, WA 98057                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.537    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pacers Sports and Entertainment                              Contingent
         dba Pacers Basketball LLC                                    Unliquidated
         125 S Pennsylvania St                                        Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.538    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Panera Bread                                                 Contingent
         8510 E 96th St                                               Unliquidated
         Fishers, IN 46038                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.539    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Paul Gloye                                                   Contingent
         Go Electric Inc                                              Unliquidated
         1920 Purdue Pkwy                                             Disputed
         Anderson, IN 46016
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.540    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $300,000.00
         Paul Herbert                                                 Contingent
         1662 Padington Park Ln                                       Unliquidated
         Germantown, TN 38138                                         Disputed
         Date(s) debt was incurred 2014 - 6/2022
                                                                   Basis for the claim:    Director Fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.541    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $38,571.00
         Paul Herbert                                                 Contingent
         1662 Padington Park Ln                                       Unliquidated
         Germantown, TN 38138                                         Disputed
         Date(s) debt was incurred 4/11/2023
                                                                   Basis for the claim:    Promissory Note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.542    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Paylocity - Fees                                             Contingent
         1400 American Ln                                             Unliquidated
         Schaumburg, IL 60173                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.543    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PCB Design Pro LLC                                           Contingent
         2005 Rio Vista Dr                                            Unliquidated
         Fort Pierce, FL 34949                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.544    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PEC Gate 3 Dept 038                                          Contingent
         John Deere                                                   Unliquidated
         3800 W Ridgeway Ave Dept 038                                 Disputed
         Waterloo, IA 50701
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.545    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pei-Genisis Inc                                              Contingent
         2180 Hornig Rd                                               Unliquidated
         Philadelphia, PA 19116-4289                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.546    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Perfecto Tool & Engineering                                  Contingent
         1124 W 53rd St                                               Unliquidated
         PO Box 2039                                                  Disputed
         Anderson, IN 46018-2039
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.547    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Perforce Software Inc                                        Contingent
         PO Box 724463                                                Unliquidated
         Los Angeles, CA 90074-2263                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.548    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Performance Mechanical Contracting Inc                       Contingent
         3409 Sutherland Ave                                          Unliquidated
         Indianapolis, IN 46218                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.549    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Peter Stubenvoll                                             Contingent
         3105 Equestrian Dr                                           Unliquidated
         Boca Raton, FL 33434                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.550    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PGC Precision Gaskett Company                                Contingent
         5732 Lincoln Dr                                              Unliquidated
         Edina, MN 55436                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.551    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PGL Premier Global Logistics LLG                             Contingent
         5300 Farrow Rd                                               Unliquidated
         Columbia, SC 29203                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.552    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Phytools LLC                                                 Contingent
         900 Winslow Way E #120                                       Unliquidated
         Bainbridge Island, WA 98110                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.553    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pioneer Plastics                                             Contingent
         3660 Dodd Rd                                                 Unliquidated
         Eagan, MN 55123                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.554    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PIP Indiana                                                  Contingent
         11711 N Pennsylvania St #107                                 Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.555    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $25,720.70
         Piper Jaffray & Co                                           Contingent
         800 Nicollet Ave #100                                        Unliquidated
         Minneapolis, MN 55402                                        Disputed
         Date(s) debt was incurred 2/1/2020
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.556    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Piper Maddox                                                 Contingent
         123 William St 14th Fl                                       Unliquidated
         New York, NY 10038                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.557    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pitney Bowes #3620                                           Contingent
         PO Box 981039                                                Unliquidated
         Boston, MA 02298-1039                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.558    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pitney Bowes Bank Inc                                        Contingent
         DBA Pitney Bowes Purchase Power                              Unliquidated
         PO Box 981026                                                Disputed
         Boston, MA 02298-1026
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.559    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pitt Ohio LTL                                                Contingent
         PO Box 643271                                                Unliquidated
         Pittsburgh, PA 15264-3271                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.560    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Planes Moving & Storage of Indianapolis                      Contingent
         PO Box 636589                                                Unliquidated
         Cincinnati, OH 45263-6589                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.561    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Playmaker Media                                              Contingent
         dba Elevator Marketing                                       Unliquidated
         PO Box 5224                                                  Disputed
         Laguna Beach, CA 92652
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.562    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Polar Power Inc.                                             Contingent
         249. East Gardena Blvd,                                      Unliquidated
         Gardena, CA 92804                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.563    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Polar Power Inc.                                             Contingent
         249. East Gardena Blvd,                                      Unliquidated
         Gardena, CA 92804                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.564    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         POLARIS ALPHA ADVANCED SYSTEMS                               Contingent
         PO Box 1240                                                  Unliquidated
         Spotsylvania, VA 22408                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.565    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Polymershapes                                                Contingent
         1350 Brookville Way Ste D                                    Unliquidated
         Indianapolis, IN 46239                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.566    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         POROUS POWER TECHNOLOGIES LLC                                Contingent
         2765 DAGNY WAY                                               Unliquidated
         SUITE 200                                                    Disputed
         Lafayette, CO 80026
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.567    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PORTLAND GENERAL ELECTRIC                                    Contingent
         1615 22nd street SE                                          Unliquidated
         attn: Bart Wiles/Kevin Whitener                              Disputed
         Salem, OR 97302
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.568    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Power Electronics Development Center                         Contingent
         101 Elk Street                                               Unliquidated
         Door E                                                       Disputed
         Franklin, PA 16323
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.569    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Powerstudies Inc                                             Contingent
         22443 SE 240th St #207                                       Unliquidated
         Maple Valley, WA 98038                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.570    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Precision Tool Services                                      Contingent
         MQ Automation (Mosier Division)                              Unliquidated
         9851 E Park Davis Dr                                         Disputed
         Indianapolis, IN 46235
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.571    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Prestige Capital                                             Contingent
         400 Kelby St 10th Fl                                         Unliquidated
         Fort Lee, NJ 07024                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.572    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Principal Life Insurance Company                             Contingent
         PO Box 77202                                                 Unliquidated
         Minneapolis, MN 55480-7200                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.573    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pro-Form Plastics Inc                                        Contingent
         15200 S Jonesville Rd                                        Unliquidated
         Columbus, IN 47201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.574    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pro-Tech Machine Inc                                         Contingent
         3085 Joyce St                                                Unliquidated
         Burton, MI 48529                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Professional Garage Door Systems Inc                         Contingent
         6030 Gateway Dr                                              Unliquidated
         Plainfield, IN 46168                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.576    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Professional Services Ind                                    Contingent
         PO Box 74008418                                              Unliquidated
         Chicago, IL 60674-8418                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.577    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Protelo Inc                                                  Contingent
         PO Box 713                                                   Unliquidated
         Big Horn, WY 82833                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.578    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Proto Labs Inc                                               Contingent
         PO Box 856933                                                Unliquidated
         Minneapolis, MN 55485-6933                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.579    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Providence Consulting Group Ltd                              Contingent
         PO Box 933289                                                Unliquidated
         Cleveland, OH 44193                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.580    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PSA Peugeot Citroen DRIA/ICEM/EET/PSDE                       Contingent
         BAT 62 Case Courrier NVV 187                                 Unliquidated
         Route De Gisy Velizy Villcoublay 78943                       Disputed
         FRANCE
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.581    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Public Storage                                               Contingent
         8890 Fitness Ln                                              Unliquidated
         Fishers, IN 46037                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.582    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PUNDA MERCANTILE INC                                         Contingent
         8506 EAST 30TH STREET                                        Unliquidated
         SUITE C                                                      Disputed
         Indianapolis, IN 46219
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.583    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         PURDUE SCHOOL OF ENGINEERING &                               Contingent
         TECH                                                         Unliquidated
         1920 Purdue Parkway                                          Disputed
         Anderson, IN 46016
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.584    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Pure Water Partners LLC                                      Contingent
         PO Box 847237                                                Unliquidated
         Boston, MA 02284-7237                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Quality Roofing Services Inc                                 Contingent
         1445 Brookville Way Ste L                                    Unliquidated
         Indianapolis, IN 46239                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.586    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Quality Vision Services                                      Contingent
         1175 North St                                                Unliquidated
         Rochester, NY 14621-4942                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.587    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Qualtrics LLC                                                Contingent
         333 W River Park Dr                                          Unliquidated
         Provo, UT 84604                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.588    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         QUANTUM                                                      Contingent
         17872 CARTWRIGHT ROAD                                        Unliquidated
         Irvine, CA 92614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.589    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Quantum Fuel Systems                                         Contingent
         25242 Artic Ocean Drive                                      Unliquidated
         Lake Forest, CA 92630                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.590    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Radiant Industries                                           Contingent
         113 Sierra St                                                Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.591    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Randall Brantley                                             Contingent
         10183 Winward Pass                                           Unliquidated
         Fishers, IN 46037                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.592    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rapid Global Business Solutions Inc                          Contingent
         1200 Stephenson Hwy                                          Unliquidated
         Troy, MI 48083                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.593    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rashida Clarke                                               Contingent
         7115 Chamberwood Dr                                          Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.594    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ray's Trash Service #1364                                    Contingent
         PO Box 1                                                     Unliquidated
         Clayton, IN 46118                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.595    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ray's Trash Service Inc #1518                                Contingent
         Drawer I                                                     Unliquidated
         Clayton, IN 46118                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.596    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ray's Trash Services Inc #0188                               Contingent
         Drawer I                                                     Unliquidated
         Clayton, IN 46118                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.597    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         RAYTHEON                                                     Contingent
         528 BOSTON POST ROAD                                         Unliquidated
         ANDOVER, MA 78288                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.598    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Real Mechanical Inc                                          Contingent
         475 Gradle Dr                                                Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.599    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rebling Plastics                                             Contingent
         150 Franklin Dr                                              Unliquidated
         Warrington, PA 18976                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.600    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Reliant Engineering Inc                                      Contingent
         1329 Sadler Cir W Dr                                         Unliquidated
         Indianapolis, IN 46239                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.601    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Renault Research Department TCR Lab 1 14                     Contingent
         1 Avenue Du Golf                                             Unliquidated
         Guyancourt France 78288                                      Disputed
         FRANCE
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.602    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Repro Parts                                                  Contingent
         881 Industrial Dr                                            Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.603    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Repro Parts                                                  Contingent
         881 Industrial Dr                                            Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.604    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Residence Inn by Marriott Indpls/Fishers                     Contingent
         9765 Crosspoint Blvd                                         Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.605    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Restoring Hope                                               Contingent
         4016 River Oaks Dr Ste 6 #108                                Unliquidated
         Myrtle Beach, SC 29579                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.606    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Retriev Technologies Inc                                     Contingent
         125 E Commercial St Ste A                                    Unliquidated
         Anaheim, CA 92801-1214                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.607    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         RF Smart                                                     Contingent
         PO Box 638345                                                Unliquidated
         Cincinnati, OH 45263-8345                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.608    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Richard A Steiner                                            Contingent
         8118 Lawrence Woods Blvd                                     Unliquidated
         Indianapolis, IN 46236                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.609    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rincon Power LLC                                             Contingent
         6381-A Rose Ln                                               Unliquidated
         Carpinteria, CA 93013                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.610    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         RINEHART MOTION SYSTEMS LLC                                  Contingent
         7929 SW BURNS WAY SUITE B                                    Unliquidated
         Wilsonville, OR 97070                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.611    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ringcentral Inc                                              Contingent
         20 Davis Dr                                                  Unliquidated
         Belmont, CA 94002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.612    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Roadtex Transportation                                       Contingent
         3023 N. Distribution Way                                     Unliquidated
         Suite 120                                                    Disputed
         Greenfield, IN 46140
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.613    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Roberts Cleaning Service                                     Contingent
         9659 Greenthread Dr                                          Unliquidated
         Zionsville, IN 46077                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.614    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rocky Research                                               Contingent
         PO Box 61800                                                 Unliquidated
         Boulder City, NV 89006                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.615    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rocky Research                                               Contingent
         PO Box 61800                                                 Unliquidated
         Boulder City, NV 89006                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.616    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rohneselmer Sandvika AS                                      Contingent
         Jongsasveien 4                                               Unliquidated
         Sandvida 1338                                                Disputed
         NORWAY
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.617    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Rosedale Products Inc                                        Contingent
         3730 W Liberty Rd                                            Unliquidated
         Ann Arbor, MI 48103                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.618    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Roxtec Inc                                                   Contingent
         10127 E Admiral Pl                                           Unliquidated
         Tulsa, OK 74116                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.619    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Roy Fildes                                                   Contingent
         15402 Bloomfield Ct                                          Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.620    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Royal Flush Inc                                              Contingent
         5839 Dr Martin King Blvd                                     Unliquidated
         Anderson, IN 46013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.621    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         RS Americas Inc                                              Contingent
         Dallas Lockbox                                               Unliquidated
         PO Box 841811                                                Disputed
         Dallas, TX 75284-1811
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.622    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         RS Hughes Company Inc                                        Contingent
         5058 W 79th St                                               Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.623    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         RTM Consultants Inc                                          Contingent
         6640 Parkdale Pl Ste J                                       Unliquidated
         Indianapolis, IN 46254                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.624    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Russell's Tube Forming Inc                                   Contingent
         220 Gasoline Alley                                           Unliquidated
         Indianapolis, IN 46222                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.625    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Russell's Tube Forming Inc                                   Contingent
         220 Gasoline Alley                                           Unliquidated
         Indianapolis, IN 46222                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.626    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SAE International                                            Contingent
         PO Box 79572                                                 Unliquidated
         Baltimore, MD 21279-0572                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.627    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Safeguard                                                    Contingent
         1010 W Mockingbird Ln #100                                   Unliquidated
         Dallas, TX 75247                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.628    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Safeguard Business Systems                                   Contingent
         Lockbox 229                                                  Unliquidated
         PO Box 7247                                                  Disputed
         Philadelphia, PA 19170-0001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.629    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Safety Consulting Inc                                        Contingent
         8250 Calvine Rd Ste C 345                                    Unliquidated
         Sacramento, CA 95828                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.630    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Safety Tech Inc                                              Contingent
         PO Box 665                                                   Unliquidated
         Lapel, IN 46051                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.631    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Safetysign.com                                               Contingent
         64 Outwater Ln                                               Unliquidated
         Garfield, NJ 07026                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.632    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sahil Bhat                                                   Contingent
         14200 The Lakes Blvd #5210                                   Unliquidated
         Pflugerville, TX 78660                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.633    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Saks Fifth Avenue                                            Contingent
         8701 Keystone Crossing                                       Unliquidated
         Indianapolis, IN 46240                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.634    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sam-A Aluminum Co Ltd
         7 & 8th Floor Wonkyung Bldg 205                              Contingent
         Dogok-Ro, Gangnam-Gu                                         Unliquidated
         Seoul 135-515                                                Disputed
         RUPUBLIC OF KOREA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.635    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sangrita Saloon                                              Contingent
         834 E 64th St                                                Unliquidated
         Indianapolis, IN 46220                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.636    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SANTA BARBARA MTD                                            Contingent
         550 E. COTA ST.                                              Unliquidated
         Santa Barbara, CA 93103                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.637    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SANTA CLARA VALLEY TRANSPORTATION
         AUT                                                          Contingent
         3331 NORTH FIRST ST                                          Unliquidated
         BUILDING A                                                   Disputed
         San Jose, CA 95134-1906
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.638    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Schenker Inc                                                 Contingent
         PO Box 2307                                                  Unliquidated
         Carol Stream, IL 60132-2307                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.639    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SCIENCE APPLICATIONS INTERNATIONAL
         CORP.                                                        Contingent
         SAIC SSC-AP,LOC 447, MS 2113-03                              Unliquidated
         301 LABORATORY ROAD                                          Disputed
         Oak Ridge, TN 37830
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.640    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Scott P Smith                                                Contingent
         15435 Kilburn Ct                                             Unliquidated
         Westfield, IN 46074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.641    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Scott Tool Company LLC                                       Contingent
         820 E Willard St                                             Unliquidated
         Muncie, IN 47302                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.642    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sealing Devices Inc                                          Contingent
         4400 Waldon Ave                                              Unliquidated
         Lancaster, NY 14086                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.643    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sean Whiting                                                 Contingent
         392 County Rd 550 E                                          Unliquidated
         Chillicothe, IL 61523                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.644    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Select Lawn Services LLC                                     Contingent
         603 Marine Dr                                                Unliquidated
         Anderson, IN 46016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.645    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sensata Technologies Inc                                     Contingent
         PO Box 100139                                                Unliquidated
         Atlanta, GA 30384-0139                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.646    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SEPTA                                                        Contingent
         4675 NORTH 3RD STREET                                        Unliquidated
         Philadelphia, PA 19140                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.647    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sheldahl Flexible Technologies Inc                           Contingent
         1150 Sheldahl Rd                                             Unliquidated
         Northfield, MN 55057                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.648    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Shenzhen Ace Battery Co Ltd                                  Contingent
         26th Floor BAK Bldg Keyan Rd 9 Nanshan                       Unliquidated
         Shenzhen Guangdong Province 518000                           Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.649    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Shenzhen Anyun International Logistics
         Room 508-510 5FL Strive Business Pl                          Contingent
         Zhanqian3 Rd Pingshan new District                           Unliquidated
         Shenzhen Guangdong Province                                  Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.650    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Shenzhen Milvent Technology
         R2011 Huiganmingyan Futian                                   Contingent
         Shen ZH Guangdong                                            Unliquidated
         Guangdong Province 518013                                    Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.651    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sherman Zeng                                                 Contingent
         General Motors LLC                                           Unliquidated
         30003 Van Dyke Ave                                           Disputed
         Warren, MI 48092
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.652    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Shield Geo Services Ltd
         2003 20F Tower 5                                             Contingent
         China Hong Kong City                                         Unliquidated
         33 Canton Road Tsim Sha Tsui Lowloon                         Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.653    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Shinhwha It Co Ltd                                           Contingent
         20-1 Songjeol-Ro, Heundgeok-Gu                               Unliquidated
         Cheongju-Si 28437                                            Disputed
         REPUBLIC OF KOREA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.654    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Siemens Industry Inc                                         Contingent
         c/o Citibank (Bldg Tech)                                     Unliquidated
         PO Box 2134                                                  Disputed
         Carol Stream, IL 60132-2134
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.655    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sigma-Aldrich Corp                                           Contingent
         3050 Spruce St                                               Unliquidated
         Saint Louis, MO 63103                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.656    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Signworks Inc                                                Contingent
         5349 W 86th St                                               Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.657    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Simco Electronics                                            Contingent
         PO Box 49132                                                 Unliquidated
         San Jose, CA 95161-9132                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.658    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Simply Unique Creations LLC                                  Contingent
         7355 Blair Dr                                                Unliquidated
         Orlando, FL 32818                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.659    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Simutech Group Inc                                           Contingent
         500 Parker Hill Dr                                           Unliquidated
         Rochester, NY 14625                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.660    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Skyline Club                                                 Contingent
         One American Square 36th Fl                                  Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.661    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Smartsheet Inc                                               Contingent
         Dept 3421                                                    Unliquidated
         PO Box 123421                                                Disputed
         Dallas, TX 75312-3421
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.662    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SMD Inc                                                      Contingent
         1 Oldfield                                                   Unliquidated
         Irvine, CA 92618                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.663    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Smithers Quality Assessments                                 Contingent
         425 W Market St                                              Unliquidated
         Akron, OH 44303                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.664    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Solaris Bus & Coach S A                                      Contingent
         Obornicka 46                                                 Unliquidated
         Belechowo Osiedle Owinska 62005                              Disputed
         POLAND
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.665    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Solorwinds                                                   Contingent
         PO Box 730720                                                Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.666    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Somerset CPAs and Advisors                                   Contingent
         PO Box 40368                                                 Unliquidated
         Indianapolis, IN 46240                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.667    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sondhi Solutions LLC                                         Contingent
         47 S Pennsylvania St #400                                    Unliquidated
         Indianapolis, IN 46204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.668    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sonicwall Inc                                                Contingent
         1225 W Washington St                                         Unliquidated
         Tempe, AZ 85281                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.669    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sorbothane Inc                                               Contingent
         2144 St Rt 59                                                Unliquidated
         Kent, OH 44240                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.670    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Soteria Battery Innovation Group Inc                         Contingent
         18-B Brozzini Ct                                             Unliquidated
         Greenville, SC 29615                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.671    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Soubrain MI                                                  Contingent
         47050 Five Mile Rd                                           Unliquidated
         Northville, MI 48168                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.672    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SoundON New Energy Technology Co Ltd                         Contingent
         No 78 Benchi West Road                                       Unliquidated
         Xiangtan City, Hunan Province                                Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.673    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Source Creative Office Interiors                             Contingent
         18600 MacArthur Blvd #400                                    Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.674    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SOUTH COAST BRITISH COLUMBIA
         TRANSPORTAT                                                  Contingent
         400-287 NELSON'S COURT                                       Unliquidated
         NEW WESTMINSTER BC V3L 0E7                                   Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.675    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Southern Property Consultants                                Contingent
         dba Industrial Automation                                    Unliquidated
         1600 Olive Chapel Rd #716                                    Disputed
         Apex, NC 27502
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.676    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Spaceage Tool and Manufacturing Inc                          Contingent
         611 N Park St                                                Unliquidated
         Saint Ansgar, IA 50472                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.677    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Specplus! Automation                                         Contingent
         PO Box 78155                                                 Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.678    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Spectrum Nichols Janitorial Supply                           Contingent
         2647 Momentum Pl                                             Unliquidated
         Chicago, IL 60689-5326                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.679    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Spirol                                                       Contingent
         3103 ST Etioenne Blvd                                        Unliquidated
         Windsor Ontario                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.680    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Spitznogle Properties Patterson St                           Contingent
         6739 Guion Rd                                                Unliquidated
         Indianapolis, IN 46268                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.681    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Srivardhan Chandrapati                                       Contingent
         25 Tarleton Ln                                               Unliquidated
         Ladera Ranch, CA 92694-1303                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.682    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SS Vending                                                   Contingent
         10403 Fairhaven Ct                                           Unliquidated
         Indianapolis, IN 46229                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.683    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Staci Corp                                                   Contingent
         dba Vexos                                                    Unliquidated
         7942 Solution Center                                         Disputed
         Chicago, IL 60677-7009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.684    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Stafl Systems LLC                                            Contingent
         428 N Canal St Unit A                                        Unliquidated
         South San Francisco, CA 94080                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.685    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Stafl Systems LLC                                            Contingent
         428 N Canal St Unit A                                        Unliquidated
         South San Francisco, CA 94080                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.686    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Staples                                                      Contingent
         500 Staples Dr                                               Unliquidated
         Framingham, MA 01702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.687    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         State of Delaware                                            Contingent
         Franchise Tax Section                                        Unliquidated
         401 Federal St #4                                            Disputed
         Dover, DE 19901
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.688    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         State of Michigan                                            Contingent
         Department of Treasury                                       Unliquidated
         PO Box 30149                                                 Disputed
         Lansing, MI 48909
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.689    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $950,288.90
         Stellar                                                      Contingent
         ADDRESS UNKNOWN                                              Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:    Promissory Note
                                                                   Is the claim subject to offset?     No       Yes

3.690    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Stericycle Inc                                               Contingent
         28883 Network Pl                                             Unliquidated
         Chicago, IL 60673-1288                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.691    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,275,000.00
         Steve Heir                                                   Contingent
         1368 Fritztown Rd.                                           Unliquidated
         Reinholds, PA 17572                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Severance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.692    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Steve Kang                                                   Contingent
         1124 Terra Ct                                                Unliquidated
         Rochester, MI 48306                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.693    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Stewart & Stevenson                                          Contingent
         MV89967                                                      Unliquidated
         PO Box 301063                                                Disputed
         Dallas, TX 75303-1063
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.694    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Stewart & Stevenson FDDA LLC                                 Contingent
         8411 E Adamo Dr                                              Unliquidated
         Tampa, FL 33619                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.695    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Storm Power Components                                       Contingent
         PO Box 740896                                                Unliquidated
         Atlanta, GA 30374-0896                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.696    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Stratasys Direct Inc                                         Contingent
         28309 Avenue Crocker                                         Unliquidated
         Valencia, CA 91355                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.697    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Strategic Equity Solutions Inc                               Contingent
         15 American Ave #301                                         Unliquidated
         Lakewood, NJ 08701                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.698    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Summit Racing Equipment                                      Contingent
         1200 Southeast Ave                                           Unliquidated
         Tallmadge, OH 44278                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.699    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Sunbelt Rentals                                              Contingent
         2341 Deerfield Dr                                            Unliquidated
         Fort Mill, SC 29715                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.700    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Superbreakers                                                Contingent
         280 Madison Ave #912                                         Unliquidated
         New York, NY 10016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.701    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         SYMBLU COR                                                   Contingent
         5192 BOLSA AVE, UNIT 5                                       Unliquidated
         Huntington Beach, CA 92649                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.702    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         T&B Master Logistics Inc                                     Contingent
         1490 Beachey Pl                                              Unliquidated
         Carson, CA 90746                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.703    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tack Electronics Inc                                         Contingent
         5030 Kraft Ave SE Ste A                                      Unliquidated
         Grand Rapids, MI 49515                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.704    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tack Electronics Inc                                         Contingent
         5030 Kraft Ave SE Ste A                                      Unliquidated
         Grand Rapids, MI 49515                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.705    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TASC Flex Claim                                              Contingent
         PO Box 88278                                                 Unliquidated
         Milwaukee, WI 53288-0001                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.706    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Team Cruiser Supply                                          Contingent
         PO Box 78634                                                 Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.707    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tec-Hackett Inc                                              Contingent
         3418 Cavalier Dr                                             Unliquidated
         Fort Wayne, IN 46808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.708    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Temsa Global Sanayi Ve Ticaret                               Contingent
         Yolgeqen Mah Turhan Cemal Beriker Bulv                       Unliquidated
         #561, 563 Seyhan 01355                                       Disputed
         TURKEY
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.709    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tetra Tech Inc                                               Contingent
         PO Box 91967                                                 Unliquidated
         Denver, CO 80291-1967                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.710    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Texmac Inc                                                   Contingent
         3001 Stafford Dr                                             Unliquidated
         Charlotte, NC 28208                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.711    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Texmac Ubc                                                   Contingent
         Tokyo R&D Astugi Facility                                    Unliquidated
         1516 Aiko Astugi Kanagawa 243-0035                           Disputed
         JAPAN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.712    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TForce Freight                                               Contingent
         28013 Network Pl                                             Unliquidated
         Chicago, IL 60673-1280                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.713    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TForce Worldwide Inc                                         Contingent
         PO Box 7410328                                               Unliquidated
         Chicago, IL 60674-0328                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.714    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Case-Center                                              Contingent
         4320 Gardensville Rd                                         Unliquidated
         Crittenden, KY 41030                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.715    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Comet SC Reg TA                                          Contingent
         3613 Lucius Rd                                               Unliquidated
         Columbia, SC 29201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.716    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Gallery Collection                                       Contingent
         PO Box 360                                                   Unliquidated
         Ridgefield Park, NJ 07660                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.717    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Grill                                                    Contingent
         6621 Broadway #100                                           Unliquidated
         Mc Cordsville, IN 46055                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.718    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Habegger Corporation                                     Contingent
         4995 Winton Rd                                               Unliquidated
         Cincinnati, OH 45232                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.719    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Home Depot                                               Contingent
         9320 Corporation Dr                                          Unliquidated
         Indianapolis, IN 46256                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.720    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Retrofit Source                                          Contingent
         2281 Defoor Hills Rd NW                                      Unliquidated
         Atlanta, GA 30318                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.721    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Tarpenning -LaFollette Co                                Contingent
         404 W Gimber St                                              Unliquidated
         Indianapolis, IN 46225                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.722    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         THE TORO COMPANY                                             Contingent
         1914 EAST CLIFTON STREET                                     Unliquidated
         Tomah, WI 54660                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.723    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Thermal Ceramics Inc                                         Contingent
         dba Morgan Advanced Materials                                Unliquidated
         PO Box 71200                                                 Disputed
         Charlotte, NC 28272
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.724    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Thermal Hazard Technology Inc                                Contingent
         49 Boone Village #30                                         Unliquidated
         Zionsville, IN 46077                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.725    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Thermotron Industries                                        Contingent
         a Venturedyne Ltd Company                                    Unliquidated
         PO Box 689590                                                Disputed
         Chicago, IL 60695-9590
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.726    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Think Global AS Volvo Car Corp                               Contingent
         Safety Center PV 12                                          Unliquidated
         Gothenburg                                                   Disputed
         SWEDEN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.727    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         THINK N A INC                                                Contingent
         33762 Schoolcraft Rd #2                                      Unliquidated
         Livonia, MI 48150-1625                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.728    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Thomas L Voreis                                              Contingent
         169 Wellington Pkwy                                          Unliquidated
         Noblesville, IN 46060                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.729    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tianjin RiseSun MGL
         New Energy Science & Tech Co                                 Contingent
         No 18 Baifuquan Road Chanping District                       Unliquidated
         Beijing 100022                                               Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.730    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tiara Hicks                                                  Contingent
         7001 S. County Road 475 E.                                   Unliquidated
         Selma, IN 47383
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.731    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TKT Sales                                                    Contingent
         724 Firetower Rd                                             Unliquidated
         Yanceyville, NC 27379                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.732    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TOKYO R&D CO LTD                                             Contingent
         1 25 12 AIKOHIGASHI                                          Unliquidated
         ATSUGI KANAGAWA 243-0027                                     Disputed
         JAPAN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.733    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TOM WOOD MANAGEMENT                                          Contingent
         3033 E 98TH STREET SUITE 201                                 Unliquidated
         Indianapolis, IN 46280                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.734    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tom Wood Nissan                                              Contingent
         4150 E 96th St                                               Unliquidated
         Indianapolis, IN 46240                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.735    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TOMPKINS CONSOLIDATED AREA TRANSIT                           Contingent
         737 WILLOW AVE                                               Unliquidated
         Ithaca, NY 14850                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.736    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TOSHIBA INTERNATIONAL CORP                                   Contingent
         13131 W LITTLE YORK RD                                       Unliquidated
         Houston, TX 77041                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.737    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Total Reward Solutions LLC                                   Contingent
         7962 Oaklandon Rd #112                                       Unliquidated
         Indianapolis, IN 46236                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.738    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Touchstone Measurement Service LLC                           Contingent
         2529 Commerce Dr Ste F                                       Unliquidated
         Kokomo, IN 46902                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.739    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TradeKon LLC                                                 Contingent
         Yu Bondarovskaya St Build 18 Lit A                           Unliquidated
         St Petersburg 198510                                         Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.740    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Transit Sales International                                  Contingent
         1863 Service Ct                                              Unliquidated
         Riverside, CA 92507                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.741    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Travel Company "Bolero Tour"
         7 495 2317333                                                Contingent
         125252 Moscow Chapaevsky Alley                               Unliquidated
         12/1-179 Moscow                                              Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.742    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Travel Company Bolero Tour
         7 495 2317333                                                Contingent
         Chapaevsky Alley, 12/1-179                                   Unliquidated
         Moscow Russia 125252                                         Disputed
         RUSSIAN FEDERATION
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.743    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Travis Bailey                                                Contingent
         3091 Chapel Rd                                               Unliquidated
         Anderson, IN 46012                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.744    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Trender Enterprises LLC                                      Contingent
         PO Box 36081                                                 Unliquidated
         Indianapolis, IN 46239-9203                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.745    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Tricor Trust (Labuan) Ltd
         Level 15(A2)                                                 Contingent
         Main Office Tower                                            Unliquidated
         Jalan Merdeka 87000                                          Disputed
         INDONESIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.746    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         True Capital Partners LLC                                    Contingent
         56 N Haddon Ave 1st Fl                                       Unliquidated
         Haddonfield, NJ 08033                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.747    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TTI Inc                                                      Contingent
         2441 Northeast Pkwy                                          Unliquidated
         Fort Worth, TX 76106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.748    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         TUVRheinland                                                 Contingent
         295 Foster St #100                                           Unliquidated
         Littleton, MA 01460                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.749    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,760,518.37
         TVG Saehan                                                   Contingent
         Level 15(A1) Main Office Tower Financial                     Unliquidated
         Park Labuan, Jalan Merdeka 87000                             Disputed
         MALAYSIA
                                                                   Basis for the claim:    Promissory Note
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.750    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ubiquiti (store.ui.com)                                      Contingent
         685 Third Ave                                                Unliquidated
         New York, NY 10017                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.751    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Ukip Media and Events Ltd                                    Contingent
         Abinger House Church Street                                  Unliquidated
         Dorking RH4 1DF                                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.752    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         ULine                                                        Contingent
         PO Box 88741                                                 Unliquidated
         Chicago, IL 60680-1741                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.753    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Umicore Korea Co Ltd                                         Contingent
         71 3 Gongdan 2-RO                                            Unliquidated
         Seobuk-GU Cheonan-si GA 31093                                Disputed
         REPUBLIC OF KOREA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.754    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Unifyhr                                                      Contingent
         105 Decker Ct #540                                           Unliquidated
         Irving, TX 75062                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.755    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         United Healthcare Premium Billing                            Contingent
         PO Box 94017                                                 Unliquidated
         Palatine, IL 60094-4017                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.756    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         United Parcel Service                                        Contingent
         28013 Network Pl                                             Unliquidated
         Chicago, IL 60673-1280                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.757    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         United Rentals (North America) Inc                           Contingent
         PO Box 100711                                                Unliquidated
         Atlanta, GA 30384-0711                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.758    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         United States Treasury                                       Contingent
         Internal Revenue Service                                     Unliquidated
         Ogden, UT 84201-0039                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.759    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Universal Air Filter Co                                      Contingent
         29121 Network Pl                                             Unliquidated
         Chicago, IL 60673-1291                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.760    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         UNIVERSITY OF ALASKA FAIRBANKS                               Contingent
         1855 MARIKA RD.                                              Unliquidated
         Fairbanks, AK 99709                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.761    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         UNIVERSITY OF DAYTON RESEARCH                                Contingent
         INSTITUTE                                                    Unliquidated
         300 COLLEGE PARK                                             Disputed
         Dayton, OH 45469-0107
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.762    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         University of Warwich IMC                                    Contingent
         Gibbet Hill Road                                             Unliquidated
         West Middlands CV4 7AL                                       Disputed
         UNITED KINGDOM
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.763    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         University of Waterloo                                       Contingent
         200 University Avenue West                                   Unliquidated
         Waterloo ON N2L 3W8                                          Disputed
         CANADA
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.764    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         US Army Corps of Engineers                                   Contingent
         249TH ENGINEER BATTALION                                     Unliquidated
         BUILDING 1416 JACKSON LOOP                                   Disputed
         Fort Belvoir, VA 22060
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.765    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         US Customs & Border Protection                               Contingent
         5600 Pearl St                                                Unliquidated
         Rosemont, IL 60018                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.766    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         US Department of Energy                                      Contingent
         PO Box 880                                                   Unliquidated
         Morgantown, WV 26507                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.767    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         US HYBRID                                                    Contingent
         445 MAPLE AVE.                                               Unliquidated
         Torrance, CA 90503                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.768    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         US Industrial Technologies                                   Contingent
         12000 Globe St                                               Unliquidated
         Livonia, MI 48150                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.769    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         USA Fleet Supply LLC                                         Contingent
         8050 Mechanicsville Tpk #212                                 Unliquidated
         Mechanicsville, VA 23111                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.770    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         USABC                                                        Contingent
         1000 TOWN CENTER DRIVE                                       Unliquidated
         SUITE 300                                                    Disputed
         Southfield, MI 48075
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.771    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         UTC POWER CORP                                               Contingent
         195 GOVERNORS HIGHWAY                                        Unliquidated
         South Windsor, CT 06074                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.772    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Utica Equipment Finance LLC                                  Contingent
         20 Glover Ave #100                                           Unliquidated
         Norwalk, CT 06850                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.773    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         VACO LLC                                                     Contingent
         PO Box 667                                                   Unliquidated
         Brentwood, TN 37024                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.774    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Van Hool NV                                                  Contingent
         Bernard Van Hoolstraat 58                                    Unliquidated
         Lier 2500                                                    Disputed
         BELGIUM
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.775    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Vector North America Inc                                     Contingent
         39500 Orchard Hill Pl #500                                   Unliquidated
         Novi, MI 48375                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.776    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Velocity Global                                              Contingent
         3858 Walnut St #107                                          Unliquidated
         Denver, CO 80205                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.777    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         VERMEER CORPORATION
         ENVIRONMENTAL GROUP - PLANT 4                                Contingent
         LTL: C/O GEETINGS,                                           Unliquidated
         335 TRUMAN RD                                                Disputed
         Pella, IA 50219
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.778    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Videopivot LLC                                               Contingent
         16635 Spring Cypress Rd #2672                                Unliquidated
         Cypress, TX 77429-9998                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.779    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Volvo Car Corporation                                        Contingent
         AVD 98540 PVOE 104 Pilot Plant                               Unliquidated
         Goeteborg Swedeb SE-405 31                                   Disputed
         SWEDEN
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.780    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         VonMercier, Inc.                                             Contingent
         121 Saint John St.                                           Unliquidated
         Havre De Grace, MD 21078                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.781    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Voss Automotive                                              Contingent
         4640 Hillegas Rd                                             Unliquidated
         Fort Wayne, IN 46818                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.782    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Wall Street Journal                                          Contingent
         1211 Avenue of the Americas                                  Unliquidated
         New York, NY 10036                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.783    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Wamtechnik Sp Zo.o                                           Contingent
         Aleja Wilanowska 7 lok.3                                     Unliquidated
         Warszawa 02-765                                              Disputed
         POLAND
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.784    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         WANXIANG CLEAN ENERGY USA CORP                               Contingent
         88 AIRPORT ROAD                                              Unliquidated
         Elgin, IL 60123                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.785    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         WASHINGTON METROPOLITAN AREA
         TRANSIT AUT                                                  Contingent
         WMATA SHEPHERD PARKWAY                                       Unliquidated
         2 DC VILLAGE LANE                                            Disputed
         Washington, DC 20032
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.786    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Washington State Dept of Revenue                             Contingent
         Attn: Bankruptcy Unit                                        Unliquidated
         2101 4th Ave #1400                                           Disputed
         Seattle, WA 98121
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.787    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Washington State Dept of Revenue                             Contingent
         PO Box 47473                                                 Unliquidated
         Olympia, WA 98504                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.788    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Waterjet Cutting of Indiana Inc                              Contingent
         10760 E US Hwy 136                                           Unliquidated
         Indianapolis, IN 46234                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.789    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Waverley Electrics                                           Contingent
         13111 Marilyn Rd                                             Unliquidated
         Unit A11                                                     Disputed
         Fishers, IN 46038
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.790    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Webasto Charging Systems Inc                                 Contingent
         PO Box 8241                                                  Unliquidated
         Pasadena, CA 91109-8241                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.791    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         WESCO DISTRIBUTION INC                                       Contingent
         909 N. COUNTRY FAIR DRIVE                                    Unliquidated
         Champaign, IL 61821                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.792    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Wesco Integrated Supply                                      Contingent
         36 Harbor Park Dr                                            Unliquidated
         Port Washington, NY 11050                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.793    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         West Electric Inc                                            Contingent
         1320 E 60th St                                               Unliquidated
         Anderson, IN 46013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.794    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         WESTERN INTEGRATED TECH                                      Contingent
         7651 S. 190th Street                                         Unliquidated
         Kent, WA 98032                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.795    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Weston Wedeward                                              Contingent
         Marine Travelift                                             Unliquidated
         49 E Yew St                                                  Disputed
         Sturgeon Bay, WI 54235
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.796    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Whirley & Associates                                         Contingent
         2520 Northwinds Pkwy #575                                    Unliquidated
         Alpharetta, GA 30009                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.797    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Whitham Group LLC                                            Contingent
         8130 Luisa Way                                               Unliquidated
         Windsor, CA 95492                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.798    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Winar Connection                                             Contingent
         PO Box 270                                                   Unliquidated
         Richfield, OH 44286                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.799    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Wind River Systems Inc                                       Contingent
         500 Wind River Way                                           Unliquidated
         Alameda, CA 94501                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.800    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Winnebago Industries, Inc.                                   Contingent
         W330N6233 Hasslinger Drive                                   Unliquidated
         Nashotah, WI 53058                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.801    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Winslow Technology Group LLC                                 Contingent
         303 Wyman St #210                                            Unliquidated
         Waltham, MA 02451                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.802    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Wonderful PCB (HK) Ltd                                       Contingent
         Room 906 9/F Boss Commercial Centre                          Unliquidated
         28 Ferry Street Kowloon Hong Kong                            Disputed
         PEOPLES REPUBLIC OF CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.803    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         WORKHORSE                                                    Contingent
         946 South State Route 32                                     Unliquidated
         Union City, IN 47390                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.804    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Workplace Safety & Health Co Inc                             Contingent
         11715 Fox Rd Ste 400-225                                     Unliquidated
         Indianapolis, IN 46236                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.805    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         World Joint Corp                                             Contingent
         dba Iace Travel                                              Unliquidated
         111 N Wabash Ave #2108                                       Disputed
         Chicago, IL 60602
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.806    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Worldwide Express                                            Contingent
         29228 Network Pl                                             Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.807    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Wynn Las Vegas                                               Contingent
         3131 Las Vegas Blvd S                                        Unliquidated
         Las Vegas, NV 89109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Ener1, Inc.                                                                     Case number (if known)
            Name

3.808    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         XMS Capital Partners LLC                                     Contingent
         321 Clark St #2440                                           Unliquidated
         Chicago, IL 60654                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.809    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         XTREME POWER                                                 Contingent
         1120 GOFORTH ROAD                                            Unliquidated
         Kyle, TX 78640                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.810    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         YATES ELECTROSPACE CORPORATION                               Contingent
         26895 ALISO CREEK ROAD                                       Unliquidated
         STE B37                                                      Disputed
         Aliso Viejo, CA 92656
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.811    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         YourCo                                                       Contingent
         1111 E 54th St #119                                          Unliquidated
         Indianapolis, IN 46220                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.812    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Yousolar                                                     Contingent
         2722 Del Monte Ave                                           Unliquidated
         El Cerrito, CA 94530                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.813    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Yousolar                                                     Contingent
         2722 Del Monte Ave                                           Unliquidated
         El Cerrito, CA 94530                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Possible warranty claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.814    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Zodiac Aerospace (ECE)                                       Contingent
         129, BD Davout SC 82012                                      Unliquidated
         Cedex 20 Paris 75990                                         Disputed
         FRANCE
                                                                   Basis for the claim:    Possible warranty claim
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor       Ener1, Inc.                                                                            Case number (if known)
             Name

3.815     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Zoro Tools Inc                                                       Contingent
          909 Ashbuy Dr                                                        Unliquidated
          Buffalo Grove, IL 60089                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       53,373.62
5b. Total claims from Part 2                                                                           5b.   +    $                   77,115,543.29

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                      77,168,916.91




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Fill in this information to identify the case:

Debtor name       Ener1, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




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Fill in this information to identify the case:

Debtor name      Ener1, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    EnerDel, Inc                3619 W 73rd St Ste 2                                      Bzinfin, S.A.                      D   2.2
                                      Anderson, IN 46011                                                                           E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Ener1, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                          Gross revenue
      which may be a calendar year                                                     Check all that apply                        (before deductions and
                                                                                                                                   exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue           Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   Paul Herbert                                          7/26/2022                        $50,000.00         Directors fees due for 2014,
             1662 Padington Park Ln                                                                                    2015, 2018
             Germantown, TN 38138
             President

5. Repossessions, foreclosures, and returns
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Debtor      Ener1, Inc.                                                                           Case number (if known)



    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and                Status of case
             Case number                                                            address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                            Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.



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Debtor        Ener1, Inc.                                                                        Case number (if known)



          None.

                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     8740 Hague Rd #7                                                                                    3/2007 - 3/2022
                Indianapolis, IN 46256

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?
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Debtor      Ener1, Inc.                                                                          Case number (if known)




                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Ener1, Inc. (Plan)                                                                  EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Public Storage                                         No one                                Financial and Legal Data for                   No
      8890 Fitness Ln 2                                                                            2020 and prior                                 Yes
      Fishers, IN 46037



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
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Debtor      Ener1, Inc.                                                                        Case number (if known)



     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed
   25.1.    EnderDel, Inc.                          Lithium Battery Manufacturer                      EIN:         XX-XXXXXXX
            3619 W 73rd St Ste 2
            Anderson, IN 46011                                                                        From-To      2004 - current

   25.2.    EnerFuel                                Defunct                                           EIN:         unknown
                                                                                                      From-To      2004 - unknown


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Christine Bardlsey                                                                                                4/19/2019 to present
                    23970 Logans Ct
                    Cicero, IN 46034

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

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Debtor      Ener1, Inc.                                                                         Case number (if known)



             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Netsuite



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Marsh McLennan
                    111 Monument Cir #4300
                    Indianapolis, IN 46204

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Paul Herbert                            1662 Padington Park Ln                              President
                                              Germantown, TN 38138

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Albert Petichenskiy                     7154 Fisher Island Dr                               Director
                                              Georgetown, FL 32139



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value


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Debtor      Ener1, Inc.                                                                         Case number (if known)



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 13, 2023

/s/ Paul Herbert                                                Paul Herbert
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 In re:                                                 Chapter 7

 ENER1, INC.                                            Case No. ________

                                       Debtor.




               ICE MILLER LLP’S DISCLOSURE OF COMPENSATION UNDER
                     11 U.S.C. §329 AND BANKRUPTCY RULE 2016(B)

          I certify that I am one of the attorneys for the above-captioned debtor (“Debtor”), and a

 partner in the firm of Ice Miller LLP (“Ice Miller”), and that compensation paid, or agreed to be

 paid, to Ice Miller for services rendered, or to be rendered, on behalf of Debtor in or in connection

 with this case, such payment or agreement having been made after one year before the date of

 filing the petition, is as follows:

          1.     Enerdel, Inc., a wholly-owned subsidiary of debtor, Ener1, Inc., provided Ice Miller

 with a retainer in June, 2023, in the amount of $25,000.00, against which fees incurred and

 expenses advanced for, inter alia, pre-filing consultations and preparations of the petitions and

 related filings for Ener1, Inc. and its subsidiary, Enerdel, Inc. (together with Ener1, Inc., the

 "Debtors"), were charged.

          2.     The balance of the retainer after application of the above-described charges,

 approximately $9,360.00 (but before payment of filing fees), was divided between the two Debtors

 in advance of this filing prior to filing this case.

          3.     Pursuant to the Ice Miller's engagement, the retainer paid to Ice Miller in June,

 2023, constituted a flat fee for services rendered and expenses incurred by Ice Miller in
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 contemplation of, or in connection with, the preparation of the Debtors' cases. Services already

 provided to the Debtors and still to be provided to the Debtors includes, without limitation, pre-

 filing preparation and planning, case filing, filing fees, and post-filing preparation of schedules

 and statement of financial affairs, and representation of the Debtors at the meeting of creditors.

        4.      The source of compensation paid and agreed to be paid to Ice Miller is the retainer

 described above.

        5.      Ice Miller has not agreed to share this compensation with any other person.


                                               Respectfully Submitted,


                                               ICE MILLER LLP

                                                /s/ Jeffrey A. Hokanson
                                               Jeffrey A. Hokanson, Atty No. 14579-49
                                               Alexandria Lundberg, Atty. No. 37881-49
                                               ICE MILLER LLP
                                               One American Square, Suite 2900
                                               Indianapolis, IN 46282-0200
                                               P: (317) 236-2100
                                               F: (317) 592-4222
                                               jeff.hokanson@icemiller.com
                                               alexandria.lundberg@icemiller.com

                                               Counsel for Debtor

                                            Certification

          I hereby certify that the foregoing is a complete statement of any agreement or
 arrangement for payment to me or Ice Miller LLP for representation of the above-named debtor
 in this bankruptcy proceeding.

                                                /s/ Jeffrey A. Hokanson
                                               Jeffrey A. Hokanson, Atty No. 14579-49
                                               ICE MILLER LLP
                                               jeff.hokanson@icemiller.com

                                               Counsel for Debtor
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                                  CERTIFICATE OF SERVICE

                I, Jeffrey A. Hokanson, hereby certify that a copy of the foregoing was filed

 electronically on July 13, 2023. Notice of the filing will be sent to all parties registered to receive

 such notice by operation of the Court’s electronic filing system.



                                                 /s/
                                                Jeffrey A. Hokanson

 ICE MILLER LLP
 One American Square, Suite 2900
 Indianapolis, IN 46282-0200
 (317) 236-2100
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                                                                                               Verification of Creditor List (rev 12/01/18)
                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA

In re:                                                           )        Case No.
Ener1, Inc.                                                      )
                                                                 )            Check if this form is submitted with an amended creditor
                                                                 )        list.
                                                      Debtor(s). )

                                               VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the
creditor list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

Dated: July 13, 2023                                                 /s/ Paul Herbert
                                                                     Paul Herbert
                                                                     Signature of Debtor


                                                                     Signature of Joint Debtor

(Note: Certificate of Service not required.)
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                          1ST CLASS PAINTING LLC
                          6468 ROYAL OAKLAND DR
                          INDIANAPOLIS, IN 46236




                          24M TECHNOLOGIES INC
                          130 BROOKLINE ST
                          CAMBRIDGE, MA 02139




                          3D MARITIME INC
                          36285 NICO WYND DR
                          SURREY BC V4P 1J3
                          CANADA




                          A&M DOOR INC
                          5508 ELMWOOD AVE #303
                          INDIANAPOLIS, IN 46203




                          A&R ERECTORS INC
                          1605 COUNTRY CLUB RD
                          INDIANAPOLIS, IN 46234




                          AAA EXTERMINATING INC
                          PO BOX 2170
                          NOBLESVILLE, IN 46061




                          AAVID THERMALLOY INDIA PRIVATE LTD
                          NEXUS INDUSTRIAL PARK PHASE 2
                          KOTAMBI HALOL-VADODARA RD
                          VADODARA GUJARAT 391510
                          INDIA
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                      ABC TRANSMISSION LTD
                      9300 192ND ST
                      SURREY BC V4N3R8
                      CANADA




                      ABC TRANSMISSIONS LTD
                      9357 193RD ST
                      SURREY BC V4N4E7
                      CANADA




                      AC TRANSIT
                      1100 SEMINARY AVE
                      OAKLAND, CA 94621




                      ACCOUNTING PRINCIPLES
                      DEPT CH 140341
                      PALATINE, IL 60055-4031




                      ACME PLUMBING SERVICE
                      3702 N SHADELAND AVE
                      INDIANAPOLIS, IN 46226




                      ACTACELL ENERGY SYSTEMS INC
                      2105 DONLEY DR #200
                      AUSTIN, TX 78758-4510




                      ADP INC
                      PO BOX 78415
                      PHOENIX, AZ 85062-8415
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                      ADVISA USA
                      PO BOX 3039
                      CARMEL, IN 46082




                      AES INDIANA #2699
                      PO BOX 110
                      INDIANAPOLIS, IN 46206-0110




                      AES LLC
                      7-812-500-85-36
                      POLIGRAFMASHEVSKII PR D3 C A KV.1
                      ST PETERSBURG RUSSIA
                      RUSSIAN FEDERATION



                      AFC INDUSTRIES INC
                      3795 PORT UNION RD
                      FAIRFIELD, OH 45014




                      AFCO CREDIT CORPORATION
                      PO BOX 360572
                      PITTSBURGH, PA 15250-6572




                      AFCO FINANCE
                      4501 COLLEGE BLVD #320
                      LEAWOOD, KS 66211




                      AIG NORTH AMERICA INC
                      PO BOX 11590
                      NEWARK, NJ 07193
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                      AION TECHNOLOGY
                      LIGHTNING MOTOR COMPANY
                      933 AMERICAN ST
                      SAN CARLOS, CA 94070




                      AIRGAS USA LLC
                      PO BOX 734672
                      DALLAS, TX 75373-4672




                      ALAN KNUCKLES
                      1101 W 4TH ST
                      ALEXANDRIA, IN 46601




                      ALBERT PETICHENSKIY
                      7154 FISHER ISLAND DR
                      MIAMI BEACH, FL 32139




                      ALDERING CASTOR LLP
                      47 S PENNSYLVANIA ST #700
                      INDIANAPOLIS, IN 46204




                      ALEXEY PIKALOV
                      152 E NEW YORK ST
                      INDIANAPOLIS, IN 46204




                      ALEXIS KALUGYER
                      1230 S STATE AVE
                      INDIANAPOLIS, IN 46203
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 149 of 261




                      ALF CONSULTING SA
                      RUE DU MARCHE 13
                      1204 GENEVA
                      SWITZERLAND




                      ALLIED AUTOMATION INC
                      5220 E 64TH ST
                      INDIANAPOLIS, IN 46220




                      ALLIED WIRE & CABLE
                      PO BOX 26157
                      COLLEGEVILLE, PA 19426




                      ALLISON TRANSMISSION
                      INDIANAPOLIS PLANT OPERATIONS
                      PO BOX 7120
                      INDIANAPOLIS, IN 46206




                      ALLISON TRANSMISSION INC
                      ATTN ACCOUNTS RECEIVABLE MS L-28
                      PO BOX 7120
                      INDIANAPOLIS, IN 46206-7120




                      AMAZON.COM
                      PO BOX 035184
                      SEATTLE, WA 98124-5184




                      AMERICAN ASSOCIATION OF NOTARIES
                      7438 PARK PLACE BLVD
                      HOUSTON, TX 77087
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 150 of 261




                      AMERICAN HEALTH AND WELLNESS GROUP
                      11555 N MERIDAN ST #530
                      CARMEL, IN 46032




                      AMERICAN HEART SAVER
                      PO BOX 173272
                      TAMPA, FL 33672




                      AMERICAN PLASTIC MOLDING CORP
                      965 S ELM ST
                      SCOTTSBURG, IN 47170




                      AMERICAN PUBLIC TRANS ASSOC
                      313 S PATRICK ST
                      ALEXANDRIA, VA 22314




                      AMP HPC
                      12 RONAN CRES
                      WOODBRIDGE ON L4H2J7
                      CANADA




                      AMPHENOL INDUSTRIAL OPERATIONS
                      40-60 DELAWARE AVE
                      SIDNEY, NY 13838




                      AMPHENOL SINCERE FLEX CO LTD
                      NO A WANAN INDUSTRIAL PARK
                      LANHE TOWN PANYU DISTRICT
                      GUANGZHOU 511480
                      PEOPLES REPUBLIC OF CHINA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 151 of 261




                      AMPHENOL TECH PRODUCTS INT'L CO
                      2110 NOTRE DAME AVE
                      WINNIPEG R3H 0K1
                      CANADA




                      AMPM INC
                      PO BOX 1887
                      MIDLAND, MI 48641-1887




                      ANGELA M NUTTLE
                      DBA CORPORATE TALENT INSTITUTE
                      704 S STATE RD 135 STE D395
                      GREENWOOD, IN 46143




                      ANTENNA DIGITAL
                      LOCKBOX #2
                      PO BOX 95000
                      PHILADELPHIA, PA 19195-0001




                      ANTHEM BLUE CROSS BLUE SHIELD
                      PO BOX 645438
                      CINCINNATI, OH 45264-5438




                      AOS THERMAL COMPOUND
                      22 MERIDIAN RD #6
                      EATONTOWN, NJ 07724




                      ARAMARK REFRESHMENT SERVICES
                      PO BOX 21971
                      NEW YORK, NY 10087-1971
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 152 of 261




                      ARASE FINANCIAL PTC INC
                      AKARA BLD 24 DE CASTRO STREET
                      WICKHAMS CAY 1 ROAD TOWN
                      TORTOLA BRITISH ISLANDS




                      ARBIN INSTRUMENTS
                      762 PEACH TREE CUT OFF RD
                      COLLEGE STATION, TX 77845




                      ART CRAFT DISPLAY
                      47220 CARTIER DR STE B
                      WIXOM, MI 48393




                      ASAHI KASEI CORPORATION
                      HIBIYA MITSUI TOWER
                      1-1-2 YURAKUCHO CHIYODA-KU
                      TOKYO 100-006
                      JAPAN



                      ASAP AQUATICS
                      3310 N SHADELAND AVE
                      INDIANAPOLIS, IN 46226




                      ASQ
                      ACCOUNTS RECEIVABLE
                      PO BOX 555
                      MILWAUKEE, WI 53203




                      ASTON CARTER INC
                      7301 PARKWAY DR
                      HANOVER, MD 21076
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 153 of 261




                      ASTRO CHEMICALS INC
                      126 MEMORIAL DR
                      PO BOX 2248
                      SPRINGFIELD, MA 01102-2248




                      AT&T
                      PO BOX 5014
                      CAROL STREAM, IL 60197-5014




                      AT&T
                      PO BOX 5080
                      CAROL STREAM, IL 60197-5080




                      AT&T MOBILITY
                      PO BOX 6463
                      CAROL STREAM, IL 60197-6463




                      ATC DRIVETRAIN
                      10001 NW 2ND
                      OKLAHOMA CITY, OK 73127




                      ATLASSIAN (US) LLC
                      350 BUSH ST 13TH FL
                      SAN FRANCISCO, CA 94104




                      AURORA TECHNOLOGIES INC
                      19 INDUSTRIAL DR
                      PACIFIC, MO 63069
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 154 of 261




                      AUTO TECHNOLOGY COMPANY
                      20026 PROGRESS DR
                      STRONGSVILLE, OH 44149




                      AUTOMATION & MODULAR COMPONENTS
                      10301 ENTERPRISE DR
                      DAVISBURG, MI 48350




                      B3CG
                      CNTA DOOR 18 1249 MONTEE MASON
                      LAVAL QUEBEC H7E4P2
                      CANADA




                      BAE SYSTEMS
                      8 HAYES AVE
                      ENDICOTT, NY 13760




                      BAE SYSTEMS CONTROLS
                      11215 RUSHMORE DR
                      CHARLOTTE, NC 28277




                      BALBOA TECHNOLOGIES INC
                      3857 BIRCH ST UNIT 166
                      NEWPORT BEACH, CA 92660




                      BARCODES INC
                      200 W MONROE ST
                      CHICAGO, IL 60606
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 155 of 261




                      BARRACUDA NETWORKS INC
                      DEPT LA 22762
                      PASADENA, CA 91185-2762




                      BASF CORPORATION
                      BASF BATTERY MATERIALS SECTION
                      8001 E PLEASANT VALLEY RD
                      CLEVELAND, OH 44131




                      BATTERY INNOVATION CENTER
                      7970 S ENERGY DR
                      NEWBERRY, IN 47449




                      BATTERY INNOVATION CENTER INSTITUTE INC
                      7970 S ENERGY DR
                      NEWBERRY, IN 47449




                      BATTERY SYSTEMS INC
                      11899 EXIT 5 PKWY #200
                      FISHERS, IN 46037-8017




                      BAUER CONTROLS
                      44190 PLYMOUTH OAKS BLVD
                      PLYMOUTH, MI 48170




                      BD3 PLATFORM
                      1249 MONTEE MASSON
                      LAVAL QUEBEC H7E 4P2
                      CANADA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 156 of 261




                      BELFLEX STAFFING NETWORK
                      PO BOX 950175
                      LOUISVILLE, KY 40295-0175




                      BERND GROUP
                      UNITED TECH RESEARCH CENTER
                      411 SILVER LN
                      EAST HARTFORD, CT 06108




                      BGBC PARTNERS LLP
                      135 N PENNSYLVANIA ST
                      INDIANAPOLIS, IN 46204




                      BITRODE CORPORATION
                      9787 GREEN PARK INDUSTRIAL DR
                      SAINT LOUIS, MO 63123




                      BL DOWNEY COMPANY LLC
                      2125 GARDNER RD
                      BROADVIEW, IL 60155




                      BLACK & VEATCH
                      11401 LAMAR AVE
                      OVERLAND, KS 66211




                      BLUEFIN ROBOTICS
                      553 SOUTH ST
                      QUINCY, MA 02169
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 157 of 261




                      BLUEHOST
                      1500 N PRIST DR
                      SUITE 200 2ND FL
                      TEMPE, AZ 85281




                      BOB'S MASTER SAFE AND LOCK
                      11650 OLIO RD #1000-279
                      FISHERS, IN 46037




                      BOLAND TECHNOLOGY SOLUTIONS INC
                      1355 S 10TH ST
                      NOBLESVILLE, IN 46060




                      BORG WARNER
                      3800 AUTOMATION AVE
                      AUBURN HILLS, MI 48326




                      BOSE MCKINNEY & EVANS LLP
                      111 MONUMENT CIR #2700
                      INDIANAPOLIS, IN 46204




                      BOWLING GREEN STATE UNIVERSITY
                      CENTRAL SRVS BLDG ROOM 108B
                      ADMINISTRATION BLDG ROOM 319
                      BOWLING GREEN, OH 43403-0112




                      BOYD THERMAL SYSTEMS HONG KONG LTD
                      5/F MANULIFE PL
                      348 KWUN TONG RD
                      KL HONG KONG
                      PEOPLES REPUBLIC OF CHINA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 158 of 261




                      BRADEN BUSINESS SYSTEMS
                      8700 NORTH ST #400
                      FISHERS, IN 46038




                      BRADLEY TECHNOLOGIES OF ILLINOIS
                      3635 SWENSON AVE
                      SAINT CHARLES, IL 60174




                      BRANSON ULTRASONICS CORP
                      PO BOX 13739
                      NEWARK, NJ 07188-0739




                      BRENT WATTS
                      1313 GREENHILLS RD
                      GREENFIELD, IN 46140




                      BRINKMANN INSTRUMENTS SRVS INC
                      PO BOX 405562
                      ATLANTA, GA 30384-5562




                      BROOKVILLE EQUIPMENT CORP
                      ATTN: HALEY BLAZOSKY
                      175 EVANS ST
                      BROOKVILLE, PA 15825




                      BRUCE J SILK
                      90 ELM TREE LN
                      BOCA RATON, FL 33486
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 159 of 261




                      BUCA DIBEPPO INDIANAPOLIS
                      35 N ILLINOIS ST
                      INDIANAPOLIS, IN 46204




                      BURGESS MECHANICAL CORP
                      12220 SOUTHEASTERN AVE
                      INDIANAPOLIS, IN 46259




                      BZINFIN, S.A.
                      C/O NICHOLAS BRUNERO, HOLLAND & KNIGHT
                      HOLLAND & KNIGHT
                      31 W 52ND ST
                      NEW YORK, NY 10019



                      CALENDLY
                      88 N AVONDALE RD #603
                      AVONDALE ESTATES, GA 30002




                      CALGON CARBON CORPORATION
                      3000 GSK DR
                      MOON TOWNSHIP, PA 15108




                      CALIFORNIA CENTER FOR SUSTAINABLE ENERGY
                      8690 BALBOA AVE #100
                      SAN DIEGO, CA 92123-1502




                      CALIFORNIA EMPLOYMENT DEVELOPMENT DEPT
                      PO BOX 826276
                      SACRAMENTO, CA 94230-6276
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 160 of 261




                      CAPITAL MACHINERY SYSTEMS INC
                      PO BOX 330
                      PENDLETON, IN 46064




                      CAPLUGS
                      3012 MOMENTUM PL
                      CHICAGO, IL 60689-5330




                      CAPTURE ME PHOTOGRAPHY
                      2741 GRAND FIR DR
                      GREENWOOD, IN 46143




                      CARDINAL INTEGRATED SYSTEMS LLC
                      1005 GRADE LN
                      LOUISVILLE, KY 40213




                      CAREER BUILDER LLC
                      13047 COLLECTION CENTER DR
                      CHICAGO, IL 60693-0130




                      CARL ATZINGER
                      14626 BACH DR APT 618
                      CARMEL, IN 46032




                      CARLOS FOIANINI
                      10904 TROXEL DR APT 204
                      NOBLESVILLE, IN 46060
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 161 of 261




                      CARLTON FIELDS PA
                      700 NW 1ST AVE #1200
                      MIAMI, FL 33136-9101




                      CAROLINA INITIATIVES
                      1896 GAP CREEK RD
                      LYMAN, SC 29365




                      CAROLYN COSGRIFF
                      DBA CONFIDENTIAL RECRUITING
                      825 GRANT ST
                      JACKSON, MI 49203




                      CARRIER TRANICOLD
                      ATTN: TEVOR PADGETT
                      700 OLYMPIC DR
                      ATHENS, GA 30601




                      CASTLETON LAWN CARE SERVICES INC
                      DAN CIESNIEWSKI
                      11650 OLIO RD #1000-246
                      FISHERS, IN 46037




                      CEGEP DE SAIN JEROME
                      CDCQ/ITAQ 475 RUE FOURNIER
                      SAINT JEROME QUEBEC J7Z 4V2
                      CANADA




                      CENTRAL POWER SYSTEMS & SERVICES
                      9200 LIBERTY DR
                      LIBERTY, MO 64068
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 162 of 261




                      CENTURY FASTENERS CORP
                      50-20 IRELAND ST
                      ELMHURST, NY 11373




                      CH ROBINSON INTERNATIONAL
                      2498 PERRY CROSSING WAY #220
                      PLAINFIELD, IN 46168




                      CHAMPLAIN CABLE CORP
                      175 HERCULES DR
                      COLCHESTER, VT 05446




                      CHICAGO TRANSIT AUTHORITY
                      7801 S VICNENNES AVE
                      CHICAGO, IL 60620




                      CHRIS BAUER
                      3045 OAKMONT DR
                      LAPEL, IN 46051




                      CHRISTINE BARDSLEY
                      23970 LOGANS CT.
                      CICERO, IN 46034




                      CHRISTY PADDOCK ADVISORS LLC
                      525 S MERIDIAN ST
                      INDIANAPOLIS, IN 46225
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 163 of 261




                      CIL ELECTRONICS
                      DBA CSI ELECTRONICS
                      1942 S ELIZABETH ST
                      KOKOMO, IN 46902




                      CINCINNATI INSURANCE COMPANIES
                      6200 S GILMORE RD
                      FAIRFIELD, OH 45014




                      CINTAS CORPORATION #108
                      PO BOX 630803
                      CINCINNATI, OH 45263-0803




                      CIRCLE CITY INDUSTRIAL LLC
                      PO BOX 1129
                      CARMEL, IN 46082




                      CIS NAVIGATION
                      478 MCGILL ST
                      MONTREAL QC H2Y 2H2
                      CANADA




                      CISION US INC
                      PO BOX 417215
                      BOSTON, MA 02241-7215




                      CITIZENS ENERGY GROUP #2960000
                      PO BOX 7056
                      INDIANAPOLIS, IN 46207-7056
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 164 of 261




                      CITIZENS ENERGY GROUP - SADLIER CIRCLE
                      2020 N MERIDIAN ST
                      INDIANAPOLIS, IN 46202-1306




                      CITY AND COUNTY OF HONOLULU
                      OAHU TRANSIT SERVICES
                      811 MIDDLE ST
                      HONOLULU, HI 96819




                      CITY OF DURHAM
                      1907 FAY ST
                      DURHAM, NC 27704




                      CITY OF NORTH AUGUSTA
                      PO BOX 6400
                      NORTH AUGUSTA, SC 29841




                      CLARKE POWER SERVICES
                      8510 FARRINGTON RD
                      COLFAX, NC 27235




                      CLARKE POWER SERVICES INC
                      PO BOX 710157
                      CINCINNATI, OH 45271




                      CLIFTON LARSON ALLEN LLP
                      PO BOX 775447
                      CHICAGO, IL 60677-5447
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 165 of 261




                      CNTA
                      1249 MONTEE MASSON
                      LAVAL QUEBEC H7E4P2
                      CANADA




                      COAST MOUNTAIN BUS COMPANY
                      3750 KITCHENER ST
                      BURNABY BC V5C 3L6
                      CANADA




                      COMCAST #4682
                      PO BOX 7500
                      SOUTHEASTERN, PA 19398-7500




                      COMCAST #6837
                      PO BOX 70219
                      PHILADELPHIA, PA 19176-0219




                      COMCAST BUSINESS #1996
                      PO BOX 8587
                      PHILADELPHIA, PA 19107-8587




                      COMCAST BUSINESS #8638
                      PO BOX 37601
                      PHILADELPHIA, PA 19101-0601




                      COMEMSO ELECTRONICS GMBH
                      KARLSBADER STR 13
                      OSTFILDERN 73760
                      GERMANY
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 166 of 261




                      COMMERCEPOINT INC
                      1406 LOWER CAMPUS RD #41
                      HONOLULU, HI 96822




                      COMMERCIAL
                      1249, MONTEE MASSON
                      LAVAL QUEBEC H7E 4P2
                      CANADA




                      COMMERCIAL FINISHING CORP
                      7199 ENGLISH AVE
                      INDIANAPOLIS, IN 46219




                      COMMUNITY OCCUP HEALTH SERVICES
                      7169 SOLUTION CENTER
                      CHICAGO, IL 60677-7001




                      COMPAL USA (INDIANA) INC
                      521 5TH AVE 11TH FL
                      NEW YORK, NY 10175




                      COMPUTER AIDED TECHNOLOGY INC
                      165 ARLINGTON HEIGHTS RD #101
                      BUFFALO GROVE, IL 60089




                      CONCORD BATTERY CORP
                      2009 SAN BERNADINO RD W
                      WEST COVINA, CA 91790
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 167 of 261




                      CONCOTE CORPORATION DBA INSUL-FAB
                      PO BOX 679038
                      DALLAS, TX 75267




                      CONSERV INC
                      814 N DELAWARE ST
                      INDIANAPOLIS, IN 46204




                      CONTINENTAL TEVES AG & CO
                      TEMIC BERLIN AUTOMOTICE ELECT MOTORSGMBH
                      NEUS UFER 29
                      BERLIN, NY 10553




                      CORE BUSINESS SOLUTIONS INC
                      PO BOX 631
                      LEWISBURG, PA 17837




                      CORNERSTONE ENVIRONMENT H&S INC
                      880 LENNOX CT
                      ZIONSVILLE, IN 46077




                      CORT EVENTS
                      4904 CENTURY PLAZA RD
                      INDIANAPOLIS, IN 46254




                      CRACKER BARREL OLD COUNTRY STORE
                      3840 EAGLE VIEW DR
                      INDIANAPOLIS, IN 46254
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 168 of 261




                      CRANE 1 SERVICES INC
                      PO BOX 88989
                      MILWAUKEE, WI 53288-8989




                      CRATES & PALLETS
                      PO BOX 49
                      386 E BROOKVILLE RD
                      FOUNTAINTOWN, IN 46130




                      CRESCENT ELECTRIC SUPPLY CO
                      PO BOX 550
                      7750 DUNLEITH DR
                      EAST DUBUQUE, IL 61025-4420




                      CROSSROADS OF AMERICA COUNCIL
                      7125 FALL CREEK RD N
                      INDIANAPOLIS, IN 46256




                      CROWN EQUIPMENT CORPORATION
                      44 S WASHINGTON ST
                      NEW BREMEN, OH 45869




                      CROWN LIFT TRUCKS
                      PO BOX 641173
                      CINCINNATI, OH 45264-1173




                      CSC/CORPORATION SERVICE COMPANY
                      PO BOX 13397
                      PHILADELPHIA, PA 19101-3397
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 169 of 261




                      CSI ELECTRONICS
                      1942 S ELIZABETH ST
                      KOKOMO, IN 46902




                      CUBICLES.COM
                      34 S RIDGE RD
                      POMONA, NY 10970




                      CULLEN DIESEL
                      193RD ST
                      SURREY BC V4N 4E7
                      CANADA




                      CUMMINS INC
                      500 JACKSON ST
                      COLUMBUS, IN 47403




                      DAEHYUN ST CO LTD
                      178-4 DEOGEUN-RI
                      PALTAN-MYEON
                      HWASUNG-SI KYUNGGI-DO
                      REPUBLIC OF KOREA



                      DALHOUSIE UNIVERSITY
                      1360 BARRINGTON ST PO BOX 15000
                      HALIFAX NS B3H 4R2
                      CANADA




                      DANA CANADA CORPORATION
                      PO BOX 77501
                      DETROIT, MI 48277
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 170 of 261




                      DANGER LABS LLC
                      7251 STEINMEIER DR
                      INDIANAPOLIS, IN 46250




                      DANNAR
                      3 RESEARCH WAY
                      GREENVILLE, SC 29607




                      DAVTYAN DAVID MIKHAILOVICH
                      35/2 AKADEMIKA MILLIONSHIKOVA STREET 105
                      MOSCOW RUSSIA 115446
                      RUSSIAN FEDERATION




                      DAYTRONIC CORPORATION
                      2566 KOHNIE DR
                      MIAMISBURG, OH 45342




                      DCS LINE NEW YORK
                      2075 91ST ST UNIT C
                      NORTH BERGEN, NJ 07047




                      DEEM LLC
                      11201 USA PARKWAY #200
                      FISHERS, IN 46037




                      DELL BUSINESS CREDIT #793
                      PO BOX 5275
                      CAROL STREAM, IL 60197-5275
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 171 of 261




                      DELL COMPUTER CORPORATION
                      DELL MARKETING LP
                      3555 TIMMONS LN
                      HOUSTON, TX 77027




                      DELL FINANCIAL SERVICES #516
                      PAYMENT PROCESSING CENTER
                      PO BOX 6410
                      CAROL STREAM, IL 60197-6410




                      DELL FINANCIAL SERVICES 517.518
                      PAYMENT PROCESSING CENTER
                      PO BOX 6547
                      CAROL STREAM, IL 60197-6549




                      DELL MARKETING LP
                      C/O DELL USA LP
                      PO BOX 802816
                      CHICAGO, IL 60680-2816




                      DELTA MOTORSPORT LTD
                      UNIT 2250 SILVERSTONE TECHNOLOGY PARK
                      SILVERSTONE NORTHHAMPTONSHIRE NN12 8GX
                      ENGLAND




                      DENZEL E DRIVE GMBH
                      ERDBERGSTRASSE 189-193
                      WIEN 1030
                      AUSTRIA




                      DEPARTMENT OF ENERGY
                      CITY & COUNTY OF HONOLULU
                      811 MIDDLE ST
                      HONOLULU, HI 96819
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 172 of 261




                      DEPARTMENT OF HOMELAND SECURITY
                      302 W WASHINGTON ST RM 246
                      INDIANAPOLIS, IN 46204-2739




                      DEREK CHANDLER
                      102 S MORRSON RD
                      MUNCIE, IN 47304




                      DGS DIESEL - UND GETRIEBESERVICE GMBH
                      WERNHER-VON-STABE 11
                      MAINZ HECHSTSHEIM D-55129
                      GERMANY




                      DHAIRYASHEEL PAWAR
                      8470 WHIPPORWILL DR APT C
                      INDIANAPOLIS, IN 46256




                      DIGI KEY CORP
                      701 BROOKS AVE S
                      THIEF RIVER FALLS, MN 56701




                      DIVSYS INTERNATIONAL-ICAPE LLC
                      8102 ZIONSVILLE RD
                      INDIANAPOLIS, IN 46268




                      DOCUSIGN
                      14800 FRYE RD 2ND FL
                      FORT WORTH, TX 76155
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 173 of 261




                      DOE NATIONAL ENERGY TECHNOLOGY LAB
                      MORGANTOWN CAMPUS
                      3610 COLLINS FERRY RD
                      MORGANTOWN, WV 26507




                      DS TECH
                      1275 RUE NEWTON LOCAL 15
                      BOUCHERVILLE QC J4B 5H2
                      CANADA




                      DUNHAM RUBBER & BELTING CORP
                      PO BOX 47249
                      INDIANAPOLIS, IN 46247-0249




                      DYNAPOWER CO
                      85 MEADOWLAND DR
                      SOUTH BURLINGTON, VT 05403




                      E CAR SERVICE
                      UID ATU65905069
                      EIGENHEIM 7 6850 DORNBIRN
                      AUSTRIA




                      E ON TECHNOLOGIES GMBH
                      ALEXANDER VON HUBOLDT STR 1
                      45896 GELSENKIRCHEN
                      GERMANY



                      E-AAM DRIVELINE SYSTEMS AB
                      NOHABGATAN 18E
                      SE-461 53 TROLLHATTEN
                      SWEDEN
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 174 of 261




                      EAGLE ROCK SPECIALTIES
                      IDAHO NATIONAL LABS
                      2299 W OMNI DR
                      IDAHO FALLS, ID 83402




                      EASTERN ENGINEERING SUPPLY INC
                      2810 N WHEELING AVE
                      MUNCIE, IN 47303




                      EATON CORPORATION
                      7250 FLINT DR
                      MENOMONEE FALLS, WI 53051




                      EBM-PAPST AUTOMOTIVE & DRIVE
                      PO BOX 416381
                      BOSTON, MA 02241-6381




                      ECLIPSE ENERGY
                      1752 FIELDS BLVD
                      GREENFIELD, IN 46140




                      EDA INC
                      ENGINEERING DESIGN & AUTOMATION
                      5600 N US HIGHWAY 41
                      PO BOX 5173
                      TERRE HAUTE, IN 47805



                      EDLO SALES & ENGINEERING INC
                      407 YORKTOWN RD
                      LOGANSPORT, IN 46947
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 175 of 261




                      EFFICIENT DRIVETRAINS INC
                      1000 BUSINESS PARK DR STE B
                      DIXON, CA 95620




                      EFILE4BIZ
                      3300 GATEWAY DR
                      POMPANO BEACH, FL 33069




                      EGENOLF INDUSTRIAL GROUP INC
                      PO BOX 1991
                      INDIANAPOLIS, IN 46206-1991




                      ELBILMEK AS
                      SNAROYVEIEN 73
                      FORNEBU 1367 MOB 968 017 16
                      NORWAY




                      ELECTRANS TECHNOLOGIES LTD
                      CANADIAN BRON LTD 2021 SPEARS RD
                      OAKVILLE ON L6L 2X8
                      CANADA




                      ELECTRIC VEHICLE CLUB OF PURDUE
                      451 N GRANT ST APT 7
                      WEST LAFAYETTE, IN 47906




                      ELECTRO ENTERPRISES INC
                      3601 NORTH I-35 SERVICE RD
                      OKLAHOMA CITY, OK 73111
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 176 of 261




                      ELECTRONIC MOBILITY AUTOMOTIVE AG
                      PRATERNISEL 3-4
                      MUNICH D-80538
                      BAVARIA




                      ELEMENT MATERIALS TECHNOLOGY CHICAGO
                      194 INTERNATIONAL BLVD
                      GLENDALE HEIGHTS, IL 60139




                      ELEVATED LOGISTICS GROUP LLC
                      PO BOX 6065
                      FISHERS, IN 46038




                      ELGIN FASTENER GROUP
                      26063 NETWORK PL
                      CHICAGO, IL 60673-1247




                      ELROY AIR
                      1500 MICHIGAN ST
                      SAN FRANCISCO, CA 94124




                      ELWOD STAFFING SERVICES INC
                      PO BOX 1024
                      COLUMBUS, IN 47202




                      EMA DESIGN AUTOMATION
                      225 TECH PARK DR
                      ROCHESTER, NY 14692
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 177 of 261




                      EMERA TECHNOLOGIES
                      702 N FRANKLIN ST #100
                      TAMPA, FL 33602




                      EMERGING POWER INC
                      244 WOOD ST
                      PO BOX 9184
                      LEXINGTON, MA 02420-9108




                      EMP TECHNICAL GROUP
                      17450 TILLER CT
                      WESTFIELD, IN 46074




                      ENDROS GROUP LTD
                      AKARA BLDG 24 DE CASTRO STREET
                      WICKHAMS CAY 1
                      TORTOLA BRITISH ISLANDS




                      ENERBOOST DOO
                      BARJANSKA CESTA 70
                      LJUBLJANA SLOVENIA 1000
                      SLOVENIA




                      ENERDEL INC
                      2 AVTOMOTORNAYA ST MOSCOW
                      MOSCOW 125438
                      RUSSIAN FEDERATION




                      ENERDEL WARRANTY
                      3619 W 73RD ST #2
                      ANDERSON, IN 46011
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 178 of 261




                      ENERDEL, INC
                      3619 W 73RD ST STE 2
                      ANDERSON, IN 46011




                      ENERDEL-IEGO
                      3619 W 73RD ST #2
                      ANDERSON, IN 46011




                      ENERGETECH CO
                      DBA ELECTRIC CAR COMPANY
                      7427 S MAIN ST
                      MIDVALE, UT 84047




                      ENERGY SYSTEMS NETWORK
                      111 MONUMENT CIR #1800
                      INDIANAPOLIS, IN 46204




                      ENERTECH INTERNATIONAL INC
                      296 CHUNGJUHOSU RO
                      CHUNGJU-CITY
                      CHUNGBUK 27432
                      REPUBLIC OF KOREA



                      ENERZ
                      19 LYALIN LANE
                      BUILDING 1
                      MOSCOW 105062
                      RUSSIAN FEDERATION



                      ENERZ LTD
                      20A APTEKARSKALA EMB
                      SAINT PETERSBURG 197022
                      RUSSIAN FEDERATION
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 179 of 261




                      ENPOWER
                      2155 W PINNACLE PEAK RD #120
                      PHOENIX, AZ 85027




                      EPIGNOSIS LLC
                      315 MONTGOMERY ST 9TH FL
                      SAN FRANCISCO, CA 94104




                      ERGO-OFFICE FURNITURE LLC
                      2525 N SHADELAND AVE BLDG 60
                      INDIANAPOLIS, IN 46219




                      ESPEC NORTH AMERICA INC
                      4141 CENTRAL PKWY
                      HUDSONVILLE, MI 49429




                      ESSENTRA COMPONENTS
                      2 WESTBROOK CORPORATE CENTER
                      WESTCHESTER, IL 60154




                      ESTES DESIGN AND MANUFACTURING INC
                      470 S MITTHOEFFER RD
                      INDIANAPOLIS, IN 46229




                      EVC GROUP SRO
                      NADRAZNI 804
                      HULIN 768 24
                      CZECH REPUBLIC
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 180 of 261




                      EVC RACING
                      11339 VALLEY MEADOW DR
                      ZIONSVILLE, IN 46077




                      EVOA LLC
                      805 MARINA RD
                      TITUSVILLE, FL 32796




                      EVOLVE ELECTRICS
                      5735 ARAPAHOE AVE UNIT C
                      BOULDER, CO 80303




                      EXPERBUY FRANCE
                      LABINAL POWER SYSTEMS-REAU
                      ROND POINT RENE RAVAUD
                      FRANCE




                      FABRYKA SAMOCHODOW OSOBOWYCH SYRENA
                      JOZEFOW STREET 9
                      KUTNO 99-300
                      POLAND




                      FACTURATION PARC - SOCIETY DE TRANSPORT
                      800 DELA GAUCHETIERE OEST 8440
                      MONTREAL QC H5A 1J6
                      CANADA




                      FAEGRE DRINKER BIDDLE & REATCH LLP
                      PO BOX 856522
                      MINNEAPOLIS, MN 55485-6522
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 181 of 261




                      FAHRENHEIT IT
                      115 W WASHINGTON ST #1220
                      INDIANAPOLIS, IN 46204




                      FARASIS
                      WEST SIDE OF CAIDIE ROAD
                      NORTH SIDE OF JINLING WEST ROAD
                      GANZHOUR CITY, JIANGXI PROVINCE
                      PEOPLES REPUBLIC OF CHINA



                      FAST LANE RECUITMENT GROUP LLC
                      1175 PAPER CHASE CT
                      LAWRENCEVILLE, GA 30043




                      FASTENAL COMPANY
                      PO BOX 978
                      WINONA, MN 55987-0978




                      FEDEX
                      6648 S PERMITER RD
                      INDIANAPOLIS, IN 46241




                      FEDEX 2715-5
                      PO BOX 94515
                      PALATINE, IL 60094-4515




                      FEDEX 2793-2
                      DEPT CH PO BOX 10306
                      PALATINE, IL 60055-0306
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 182 of 261




                      FEDEX 7952-6
                      PO BOX 94515
                      PALATINE, IL 60094-4515




                      FEDEX 8145-4
                      PO BOX 94515
                      PALATINE, IL 60094-4515




                      FEDEX FREIGHT #9526
                      DEPT CH PO BOX 10306
                      PALATINE, IL 60055-0306




                      FEDEX FREIGHT 1179
                      DEPT CH PO BOX 10306
                      PALATINE, IL 60055-0306




                      FEDEX FREIGHT 1874-3
                      PO BOX 94515
                      PALATINE, IL 60055-0306




                      FEDEX TRADE NETWORKS
                      PO BOX 842206
                      BOSTON, MA 02284-2206




                      FEDEX WHOLESALE COLLECTIONS
                      3965 AIRWAYS BLVD MODULE G 3RD FL
                      MEMPHIS, TN 38116
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 183 of 261




                      FIRST ADVANTAGE BACKGROUND SERV
                      PO BOX 403532
                      ATLANTA, GA 30384-3532




                      FIRST CALL TEMPORARY SERVICES INC
                      PO BOX 7096
                      DEPT 252
                      INDIANAPOLIS, IN 46207




                      FIRST FINANCIAL BANK
                      300 MERIDIAN ST #300
                      INDIANAPOLIS, IN 46204




                      FIRST FINANCIAL BANK - VISA
                      PO BOX 42070
                      MIDDLETOWN, OH 45042-0070




                      FISKER AUTOMOTIVE INC
                      19 CORPORATE PARK
                      IRVINE, CA 92606




                      FLAGSHIP ENTERPRISE CENTER INC
                      2705 ENTERPRISE DR
                      ANDERSON, IN 46013




                      FLAME ENTERPRISES
                      21500 GLEDHILL ST
                      CHATSWORTH, CA 91311
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 184 of 261




                      FLEX-CABLE
                      5822 HENKEL RD
                      HOWARD CITY, MI 49329




                      FLEXWARE INNOVATION INC
                      9128 TECHNOLOGY LN
                      FISHERS, IN 46038




                      FLORIDA DEPARTMENT OF STATE
                      DIVISION OF CORPORATION
                      2415 N MONROE ST #810
                      TALLAHASSEE, FL 32303




                      FLORIDA DETROIT DIESEL
                      6750 PRESIDENTS DRIVE
                      ORLANDO, FL 32809




                      FLUID AIR ENGINEERING INC
                      5775 W 74TH ST
                      INDIANAPOLIS, IN 46278




                      FLYING COLORS GROUP LP
                      1506 WHEELBARROW CREEK RD
                      STEVENSVILLE, MT 59870




                      FNS INC
                      1545 FRANCISCO ST
                      TORRANCE, CA 90501
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 185 of 261




                      FORI AUTOMATION
                      13231 23 MILE RD
                      SHELBY TOWNSHIP, MI 48315




                      FOTRONIC CORPORATION
                      DBA TEST EQUIPMENT DEPOT
                      99 WASHINGTON ST
                      MELROSE, MA 02176-6024




                      FRED PRYOR LEARNING SOLUTIONS
                      PO BOX 219468
                      KANSAS CITY, MO 64121-9468




                      FRONT PANEL EXPRESS
                      1015 CENTRAL AVE N
                      KENT, WA 98032




                      FUJIPOLY AMERICAN CORP
                      PO BOX 119
                      CARTERET, NJ 07008-0119




                      FUNDACAO CPQD - RUE DOUTOR RECARDO
                      BENETTON MARTINS SN PARQUE II DO POLO DE
                      ALTA TECHNOLGIA CAMPINAS AP
                      BRAZIL




                      GAFFOGLIO FAMILY METALCRAFTERS, INC.
                      11161 SLATER AVENUE
                      FOUNTAIN VALLEY, CA 92708
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 186 of 261




                      GALBRAITH LABORATORIES INC
                      2323 SYCAMORE DR
                      KNOXVILLE, TN 37921




                      GENERAL DEVICES CO INC
                      1410 S POST RD
                      INDIANAPOLIS, IN 46239




                      GENERAL DYNAMICS LAND SYSTEMS
                      1161 BUCKEYE ROAD
                      LIMA, OH 45804-1815




                      GEORGE E MISSBACH & COMPANY
                      3715 NORHTSIDE PKWY NW STE 3-675
                      ATLANTA, GA 30327




                      GERWEISS MOTORS CORPORATION
                      36 ARMSTRONG VILLAS ARMSTRONG AVE
                      MOONWALK PARANAQUE CITY METRO MANILLA
                      PHILLIPPINES



                      GFE MACARTHUR INVESTMENTS LLC
                      757 N BROADWAY #700
                      MILWAUKEE, WI 53202




                      GH PACKAGING
                      PRODUCT TESTING & CONSULTING INC
                      4090 THUNDERBIRD LN
                      FAIRFIELD, OH 45014
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 187 of 261




                      GIBSON TELDATA INC
                      PO BOX 3000
                      TERRE HAUTE, IN 47803-0115




                      GIMS INC
                      RM506, 5F, MIWON BLDG
                      70, GUKJEGEUMYUNG-RO
                      YEONDGEUNGPO-GU SEOUL 07333
                      REPUBLIC OF KOREA



                      GLOBAL INDUSTRIAL EQUIPMENT
                      29833 NETWORK PL
                      CHICAGO, IL 60673-1298




                      GLOBAL PLASTICS INC
                      6739 GUION RD
                      INDIANAPOLIS, IN 46268




                      GOLDEN LAKES INVESTMENT LTD
                      RM 1201 BUILDING A11 NO 2 DISTRICT
                      SAN LI HE XL CHENG DISTRICT
                      BEIJING CHINA
                      PEOPLES REPUBLIC OF CHINA



                      GOODWOLFE ENERGY LIMITED - UNITS 27/28
                      LAURANCE INDUSTRIAL ESTATE EASTWOODBURY
                      SOUTHEND-ON-SEA ESSEX SS2 6RH
                      ENGLAND




                      GORDON FOOD SERVICE STORE
                      9540 MASTERS RD
                      INDIANAPOLIS, IN 46250
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 188 of 261




                      GORDON FOURNARIS & MAMMARELLA PA
                      1925 LOVERING AVE
                      WILMINGTON, DE 19806




                      GRAINGER
                      1657 SHERMER RD
                      NORTHBROOK, IL 60062-5362




                      GRANT THORNTON
                      33562 TREASURY CENTER
                      CHICAGO, IL 60694-3500




                      GREAT LAKES TAPE CORP
                      DBA GLT INTERNATIONAL
                      2961 BOND ST
                      ROCHESTER HILLS, MI 48309




                      GREATER CLEVELAND RTA
                      1240 WEST 6TH STREET
                      CLEVELAND, OH 44113-1331




                      GREATER LYNCHBURG TRANSIT COMPANY
                      ACCOUNTS PAYABLE
                      P.O. BOX 11286
                      LYNCHBURG, VA 24506




                      GREATLINK USA
                      44168 S GRIMMER BLVD
                      FREMONT, CA 94538
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 189 of 261




                      GREENFIELD GLOBAL USA INC
                      PO BOX 67000
                      DETROIT, MI 48267-2675




                      GREENTREE ELECTRONICS LTD
                      53 METUDELA ST
                      TEL AVIV
                      ISRAEL




                      GREENWAY OPERATOR AS
                      BAJKALSKA 5/B
                      831 04 BRATISLAVA
                      SLOVAKIA




                      GUARDIAN
                      PO BOX 95101
                      CHICAGO, IL 60694-5101




                      GUARDIAN LIFE INSURANCE COMPANY
                      PO BOX 677458
                      DALLAS, TX 75267-7458




                      H & FRIENDS FREIGHT INC
                      145-43 226TH ST
                      SPRINGFIELD GARDENS, NY 11413




                      H2S SOLUTIONS
                      20409 YORBA LINDA BLVD #228
                      YORBA LINDA, CA 92886
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 190 of 261




                      HAGERMAN SECURITY/INVESTIGATIONS
                      8552 S 400 E
                      MARKLEVILLE, IN 46056




                      HAMILTON COUNTY TREASURER
                      33 N 9TH ST #112
                      NOBLESVILLE, IN 46060




                      HANCOCK COUNTY TREASURER
                      111 AMERICAN LEGION PL #205
                      GREENFIELD, IN 46140




                      HANKUK FIBER CO LTD
                      181 1 YONGJI-RI BUBUK-MYUN
                      MIRYANG-SI KYUNGNAM
                      SOUTH KOREA




                      HARBOR FREIGHT
                      5703 E 86TH ST
                      INDIANAPOLIS, IN 46250




                      HARDT ELECTRIC
                      4909 N ELSTON
                      CHICAGO, IL 60630




                      HARENDORFER MACHINE INC
                      550 O'BYRNE AVE
                      LOUISVILLE, KY 40233
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 191 of 261




                      HARVEST CROO, LLC. (4FX)
                      251 SOUTH 78TH STREET
                      TAMPA, FL 33619




                      HAYES YOUNG LAW LLC
                      133 W MARKET ST #332
                      INDIANAPOLIS, IN 46204




                      HAZMAT SAFETY CONSULTING LLC
                      1765 DUKE ST
                      ALEXANDRIA, VA 22314




                      HEATHER JAEGER
                      701 W 72ND ST
                      INDIANAPOLIS, IN 46260




                      HERITAGE INTERACTIVE SERVICES LLC
                      PO BOX 681490
                      INDIANAPOLIS, IN 46268




                      HG ENGINEERS
                      142 EGLIN PKWY SE
                      FORT WALTON BEACH, FL 32548




                      HIGH IMPACT SOLUTIONS
                      20793 FARMINGTON RD #13
                      FARMINGTON, MI 48336
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 192 of 261




                      HILARY GOODNIGHT
                      3303 WILD IVY CIR
                      INDIANAPOLIS, IN 46227




                      HIOKI USA CORPORATION
                      6600 CHASE OAKS BLVD #150
                      PLANO, TX 75023




                      HOLLAND & KNIGHT
                      PO BOX 864084
                      ORLANDO, FL 32886-4084




                      HONDA R&D EUROPE GERMANY GMBH
                      CARL-LEGIEN-STRASSE 30
                      63073 OFFENBACH
                      GERMANY




                      HOOSIER GASKET CORP
                      2400 ENTERPRISE PARK PL
                      INDIANAPOLIS, IN 46218




                      HORIZON HOUSE INC
                      1033 E WASHINGTON ST
                      INDIANAPOLIS, IN 46202




                      HORNER INDUSTRIAL SERVICES INC
                      1521 E WASHINGTON ST
                      INDIANAPOLIS, IN 46201
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 193 of 261




                      HR PRO/BANCORPSV
                      1423 E 11 MILE RD
                      ROYAL OAK, MI 48067




                      HUNTER LIFT TLD
                      11233 SOUTH AVE
                      NORTH LIMA, OH 44452-9731




                      HVR ADVANCED POWER COMPONENTS INC
                      2090 OLD UNION RD
                      CHEEKTOWAGA, NY 14227




                      HYATT HOUSE
                      11455 IKEA WAY
                      FISHERS, IN 46037




                      HYUNDAI HEAVY INDUSTRIES CO LTD
                      1 CHEON HA DONG
                      DONG-GU ULSAN
                      SOUTH KOREA




                      I-GEAR INC
                      8016 VINECREST AVE
                      LOUISVILLE, KY 40222




                      ICC BUSINESS PRODUCTS
                      PO BOX 26058
                      INDIANAPOLIS, IN 46226
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 194 of 261




                      ICS CHILLERS
                      3335 MINNESOTA LN N
                      MINNEAPOLIS, MN 55447




                      ID TECHEX.COM
                      ONE BOSTON PL #2600
                      BOSTON, MA 02108




                      IDEAL POWER CONVERTERS
                      4210 FREIDRICH LANE
                      SUITE 100
                      AUSTIN, TX 78744




                      IDESCO CORP
                      37 W 26TH ST 10TH FL
                      NEW YORK, NY 10010




                      IEWC HOLDINGS CORP
                      5001 S TOWNE DR
                      NEW BERLIN, WI 53151




                      IHS GLOBAL INC
                      DBA GLOBAL ENGINEERING DOCUMENTS
                      PO BOX 911501
                      DENVER, CO 80291-1501




                      IKONIX USA
                      28105 N KEITH DR
                      LAKE FOREST, IL 60045
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 195 of 261




                      INCODEMA INC
                      407 CLIFF ST
                      ITHACA, NY 14850




                      INDIANA CHAMBER OF COMMERCE
                      115 W WASHINGTON ST STE 850 S
                      INDIANAPOLIS, IN 46204-3497




                      INDIANA DEPARTMENT OF REVENUE
                      100 N SENATE AVE
                      IGCN RM N105
                      INDIANAPOLIS, IN 46204




                      INDIANA DEPT OF ENVIRONMENTAL MGMT
                      PO BOX 3295
                      INDIANAPOLIS, IN 46206-3295




                      INDIANA DEPT OF HOMELAND SECURITY
                      FISCAL DEPT RM E221
                      302 W WASHINGTON ST
                      INDIANAPOLIS, IN 46204




                      INDIANA DEPT OF REVENUE
                      PO BOX 6032
                      INDIANAPOLIS, IN 46206-6032




                      INDIANA FILTER SUPPLY INC
                      5850 KOPETSKY DR STE F
                      INDIANAPOLIS, IN 46217
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 196 of 261




                      INDIANA OFFICE OF ENERGY DEVELOPMENT
                      1 NORTH CAPITOL SUITE 600
                      INDIANAPOLIS, IN 46204




                      INDIANA PROFESSIONAL LICENSING AGENCY
                      402 W WASHINGTON ST RM W072
                      INDIANAPOLIS, IN 46204




                      INDIANA SECRETARY OF STATE
                      200 W WASHINGTON ST RM 201
                      INDIANAPOLIS, IN 46204




                      INDIANA STAMP COMPANIES
                      1319 PRODUCTION RD
                      FORT WAYNE, IN 46808




                      INDIANA STATE POLICE
                      PO BOX 6188
                      INDIANAPOLIS, IN 46206




                      INDIANAPOLIS POWER & LIGHT - SADLER CIR
                      PO BOX 110
                      INDIANAPOLIS, IN 46206-0110




                      INDPLS COMM DEV BLOCK GRANT
                      BEUMER CONSULTING
                      PO BOX 219
                      FARMLAND, IN 47340
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 197 of 261




                      INDY CHAMBER
                      111 MONUMENT CIR #1950
                      INDIANAPOLIS, IN 46204




                      INDY POWER SYSTEMS
                      7702 MOLLER ROAD
                      INDIANAPOLIS, IN 46268




                      INFINITY PRINTING AND PROMOTIONS
                      14563 SOWERS DR
                      FISHERS, IN 46038




                      INFORMA MARKETS MANUFACTURING LLC
                      25589 NETWORK PL
                      CHICAGO, IL 60673




                      INFOTRAC
                      200 N PALMETTO ST
                      LEESBURG, FL 34748




                      INSCCU ASFE
                      PO BOX 6271
                      INDIANAPOLIS, IN 46206-6271




                      INSIGHT DIRECT USA INC
                      PO BOX 731069
                      DALLAS, TX 75373
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 198 of 261




                      INTERSTATE POWER SYSTEMS
                      NW 7244
                      PO BOX 1450
                      MINNEAPOLIS, MN 55485-7244




                      INTERSTATE POWER SYSTEMS
                      21568 HIGHVIEW AVE
                      LAKEVILLE, MN 55044




                      INTERTEK TESTING SERVICES NA INC
                      PO BOX 405176
                      ATLANTA, GA 30384-5176




                      INTERTEK TESTING SERVICES NA INC
                      45000 HELM ST, SUITE 150
                      PLYMOUTH, MI 48170




                      IRISH MECHANICAL SERVICES INC
                      7008 E 43RD ST
                      INDIANAPOLIS, IN 46226




                      IRON MOUNTAIN
                      PO BOX 27128
                      NEW YORK, NY 10087-7128




                      ISOLUTIONS SERVICES
                      2700 STILL CREEK DR
                      ZIONSVILLE, IN 46077
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 199 of 261




                      ITOCHU CORPORATION
                      ITOCHU CORPORATION5-1 KITA-AOYAMA
                      2-CHOMETOKYO 5-1-KITA-AOYAMA 2-CHOME
                      TOKYO 107-8077
                      JAPAN



                      ITOCHU CORPORATION
                      TOKVU SECTION
                      5-1 KITA-AOYAMA 2-CHOME
                      MINATO-KU TOKYO 107-8077
                      JAPAN



                      ITOCHU EUROPE
                      THE BROADGATE TOWER - 20 PRIMROSE STREET
                      LONDON EC2A 2EW
                      ENGLAND




                      JA'LEN EDWARDS
                      6565 BERGESON WAY
                      INDIANAPOLIS, IN 46278




                      JAMA SOFTWARE INC
                      135 SW TAYLOR ST #200
                      PORTLAND, OR 97204




                      JAMAC INC
                      422 BUCHANAN ST
                      SANDUSKY, OH 44870




                      JAMES BABCOCK INC
                      2925 N MITTHOEFFER PL
                      INDIANAPOLIS, IN 46229
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 200 of 261




                      JAMES BOWMAN
                      8221 SARGENT RD
                      INDIANAPOLIS, IN 46256




                      JANI-KING OF INDIANAPOLIS
                      6960 CORPORATE DR
                      INDIANAPOLIS, IN 46278




                      JAY-CREW LANDSCAPING INC
                      2901 S GHARKEY ST
                      MUNCIE, IN 47302




                      JBS SERVICES
                      346 CREEKSTONE DR
                      INDIANAPOLIS, IN 46239




                      JEFF DICK
                      325 N 14TH ST
                      MIDDLETOWN, IN 47356




                      JEM ELECTRONICS
                      23 NATIONAL DR
                      FRANKLIN, MA 02038




                      JOFEMAR SA HIDROWNEW XXII SL
                      CTRA MARCILLA KM 2
                      31350 PERALTA NAVARRA
                      SPAIN
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 201 of 261




                      JOHNSON & TOWERS INC
                      PO BOX 7788
                      PORTSMOUTH, VA 23707




                      JOHNSON & TOWERS INC
                      ATTN: BRENT CORMAN
                      500 WILSON POINT RD
                      MIDDLE RIVER, MD 21220




                      JOSHUA DAVIS
                      2811 N 125 W
                      GREENFIELD, IN 46140-8619




                      JULES AND ASSOCIATES INC
                      515 S FIGUEROA ST #1900
                      LOS ANGELES, CA 90071




                      JX NIPPON MINING & METALS
                      6-3 OTEMACHI 2-CHOME
                      CHIYODA-KU
                      TOKYO 100-8164
                      JAPAN



                      K&K MANUFACTURING INC
                      951 9 MILE ROAD N W
                      SPARTA, MI 49345




                      KAMAN FLUID POWER
                      3802 N 600 W
                      GREENFIELD, IN 46140
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 202 of 261




                      KARDEX HANDLING SOLUTIONS
                      10340 PLEASANT ST #600
                      NOBLESVILLE, IN 46060




                      KATZ SAPPER & MILLER
                      DEPT 235
                      PO BOX 7096
                      INDIANAPOLIS, IN 46206-7096




                      KBS ENGINEERING SERVICES LLC
                      30746 BRUSH ST
                      MADISON HEIGHTS, MI 48071




                      KEARSTON WEST
                      7001 S CR 475 E
                      SELMA, IN 47383




                      KELE INC
                      3300 BROTHER BLVD
                      MEMPHIS, TN 38133




                      KEME INC
                      550 MORELAND WAY 4610
                      SANTA CLARA, CA 95054




                      KENT MACHINE
                      8677 S STATE RD 9
                      PENDLETON, IN 46064
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 203 of 261




                      KENWORTH TRUCK CO
                      ATTN BOB GURNEY
                      485 HOUSER WAY N
                      RENTON, WA 98057




                      KEV ADJEMIAN
                      1072 SANTA ANA ST.
                      LAGUNA BEACH, CA 92651




                      KEVIN ROTHADA TECHNOLOGIES
                      11149 BRADFORD RD
                      LITTLETON, CO 80127




                      KEVIN SCOTESE
                      739 GRANDIN RD
                      CHARLOTTE, NC 28208




                      KEYENCE CORP OF AMERICA
                      DEPT CH 17128
                      PALATINE, IL 60055-7128




                      KEYTRONIC EMS
                      1801 S FULTON DR
                      CORINTH, MS 38834




                      KIMBERLY SPRINGER
                      7222 SANDALWOOD DR
                      INDIANAPOLIS, IN 46217
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 204 of 261




                      KING COUNTY DOT TRANSIT VEHICLE MAINT
                      2160 N 163RD ST
                      NBM-TR-0100
                      SHORELINE, WA 98133




                      KIRBY RISK CORPORATION
                      27561 NETWORK PL
                      CHICAGO, IL 60673-1275




                      KOMATSU MINING CORP
                      120 LIBERTY ST
                      FRANKLIN, PA 16323




                      KORE POWER INC
                      1875 N LAKEWOOD DR #200
                      COEUR D ALENE, ID 83814




                      KRONUS ENGINEERING
                      5735 ARAPAHOE
                      BOULDER, CO 80303




                      KRUKEMEIER MACHINE & TOOL CO INC
                      4949 SUBWAY ST
                      BEECH GROVE, IN 46107




                      LANDSTAR RANGER INC
                      PO BOX 8500 54293
                      PHILADELPHIA, PA 19178-4283
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 205 of 261




                      LANE TRANSIT DISTRICT
                      3500 E 17TH AVE
                      EUGENE, OR 97403




                      LEAPFILE INC
                      DEPT LA 22799
                      PASADENA, CA 91185-2799




                      LEM USA INC
                      BIN 88054
                      MILWAUKEE, WI 53288-0054




                      LEVEL 3 COMMUNICATIONS LLC
                      PO BOX 910182
                      DENVER, CO 80291-0182




                      LHD BENEFIT ADVISORS
                      250 W 96TH ST #350
                      INDIANAPOLIS, IN 46260-1317




                      LI GUOGUN-RISESUN MGL NEW ENERGY SCIENCE
                      18# BAIFUQUAN RD CHANGPING SECTOR OF
                      ZHONGGUANCUN SCIENCE PARK   BEIJING
                      PEOPLES REPUBLIC OF CHINA




                      LIGHTNING MOTORS CORP
                      931 AMERICAN STREET
                      40 S 35TH ST
                      BOULDER, CO 80305
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 206 of 261




                      LINCOLN BUSINESS PARK HOLDINGS LLC
                      241 N PENNSYLVANIA ST #300
                      INDIANAPOLIS, IN 46204




                      LINDE GAS & EQUIPMENT INC
                      PRAXAIR DISTRIBUTION INC
                      DEPT CH 10660
                      PALATINE, IL 60055-0660




                      LINKEDIN CORP
                      1000 W MAUDE AVE
                      SUNNYVALE, CA 94085




                      LION BUSES
                      921 CHERMIN DE LA RIVEIRE DU NORD
                      ST. JEROME P. QC J7Y 5G2
                      CANADA




                      LITHIUM STORAGE LTD
                      NO 9 EAST MOZHOU ROAD
                      JIANGNING DISTRICT 211111
                      PEOPLES REPUBLIC OF CHINA




                      LMC SERVICE SOLUTIONS
                      1023 W 38TH ST
                      ANDERSON, IN 46013




                      LOLITA MCCORMICK
                      1948 N TIBBS AVE
                      INDIANAPOLIS, IN 46222
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 207 of 261




                      LOWES HOME IMPROVEMENT
                      PO BOX 530954
                      ATLANTA, GA 30353




                      LTS MARINE INC
                      1602 JEAN LACHAINE
                      SAINT-CATHERINE QUEBEC J5C1C2
                      CANADA




                      MAB COLLISION CUSTOMS
                      7601 E 88TH PL BLDG 3
                      INDIANAPOLIS, IN 46256




                      MACALLISTER MACHINERY COMPANY INC
                      6300 SOUTHEASTERN AVE
                      INDIANAPOLIS, IN 46203




                      MACRIUM SOFTWARE - CLEVERBRIDGE
                      350 N CLARK #700
                      CHICAGO, IL 60654




                      MADISON COUNTY TREASURER
                      16 E 9TH ST RM 109
                      ANDERSON, IN 46016




                      MAGNA CLOSURES
                      A DIV OF MAGNA CLOSURES INC
                      NEWMARKET ON L3Y 4X7
                      CANADA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 208 of 261




                      MAGNA STEYR FAHRZEUGTECHNIK AG & CO
                      LIEBENAUER HAUPTSTR 317
                      GRAZ AUSTRIA 8041
                      AUSTRIA




                      MAGNATAG
                      2031 O'NEIL RD
                      MACEDON, NY 14502




                      MAJOR JEFFREY
                      6348 CLOVERDALE ROAD
                      CYGNET, OH 43413




                      MALONE'S CATERING
                      5005 W RAYMOND ST
                      INDIANAPOLIS, IN 46241




                      MANAR INC DBA ECA ENTERPRISES INC
                      KEY MANUFACTURING LLC
                      PO BOX 248
                      EDINBURGH, IN 46124




                      MARIAN INC
                      1011 E SAINT CLAIR ST
                      INDIANAPOLIS, IN 46202




                      MARION COUNTY TREASURER
                      PO BOX 6145
                      INDIANAPOLIS, IN 46206
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 209 of 261




                      MARK CHILDS
                      4800 N 300 E
                      ANDERSON, IN 46012




                      MARLIN BUSINESS BANK
                      PO BOX 13604
                      PHILADELPHIA, PA 19101-3604




                      MARRIOTT INDIANAPOLIS NORTH
                      3645 RIVER CROSSING
                      INDIANAPOLIS, IN 46240




                      MARSH USA INC
                      PO BOX 846015
                      DALLAS, TX 75284-6015




                      MASON & MEFFORD HOLDINGS LLC
                      3705 N SHUN PIKE RD
                      MADISON, IN 47250




                      MASSACHUSETTS INSTITUTE OF TECHNOLOGY
                      244 WOOD STREET
                      P.O. BOX 9184
                      LEXINGTON, MA 02420-9108




                      MASSON INC
                      DBA HOSSIER BADGE
                      567 N HIGHLAND AVE
                      INDIANAPOLIS, IN 46202
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 210 of 261




                      MASTER INTERNATIONAL
                      DBA MASTER ELECTRONICS
                      1301 OLYMPIC BLVD
                      SANTA MONICA, CA 90401




                      MATRIC LTD
                      2099 HILL CITY RD
                      SENECA, PA 16346




                      MATTERHACKERS INC
                      27156 BURBANK
                      FOOTHILL RANCH, CA 92610




                      MATTHEW HARTLE
                      7220 W STATE RD 38
                      NEW CASTLE, IN 47362




                      MAX DORFLINGER
                      LEX TM3 LLC
                      7416 DELEMERE BLVD
                      ROYAL OAK, MI 48073




                      MAXCESS AMERICAS INC
                      222 W MEMORIAL RD
                      OKLAHOMA CITY, OK 73114




                      MBI / BPC
                      PO BOX 56019
                      BOSTON, MA 02205
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 211 of 261




                      MBR CONSULTING LLC
                      2596 RIPPLING CREEK CT
                      WESTFIELD, IN 46074




                      MCCURDY MECHANICAL CONTRACTORS
                      9096 TECHNOLOGY LN
                      FISHERS, IN 46038




                      MCMASTER CARR SUPPLY CO
                      PO BOX 7690
                      CHICAGO, IL 60680-7690




                      MCNAMARA FLORIST
                      1853 LUDLOW AVE
                      INDIANAPOLIS, IN 46201




                      MEDIABRAINS
                      9015 STRADA STELL CT #203
                      NAPLES, FL 34109




                      METROPOLITAN COUNCIL
                      390 ROBERT ST N
                      SAINT PAUL, MN 55101




                      MGA RESEARCH CORP
                      12790 MAIN RD
                      AKRON, NY 14001
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 212 of 261




                      MH EQUIPMENT COMPANY
                      5859 W RAYMOND ST
                      INDIANAPOLIS, IN 46241




                      MICHAEL A CANADA
                      6565 BERGESON WAY
                      INDIANAPOLIS, IN 46278




                      MICHAEL GREENE
                      5867 SAN MIGUEL CT APT C
                      INDIANAPOLIS, IN 46250




                      MICROMERITICS INSTRUMENT CORP
                      4356 COMMUNICATIONS DR
                      NORCROSS, GA 30093




                      MICROSOFT CORP
                      PO BOX 842103
                      DALLAS, TX 75284-2103




                      MID-AMERICA ELEVATOR CO INC
                      1116 E MARKET ST
                      INDIANAPOLIS, IN 46202




                      MILLER INSTRUMENT LABORATORY
                      1763 E 400 NORTH
                      PORTLAND, IN 47371
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 213 of 261




                      MINCO PRODUCTS INC
                      7300 COMMERCE LN NE
                      MINNEAPOLIS, MN 55432




                      MINITAB LLC
                      1829 PINE HALL RD
                      STATE COLLEGE, PA 16801




                      MINNEAPOLIS METRO TRANSIT
                      515 CLEVELAND AVE N
                      SAINT PAUL, MN 55114




                      MITCHELL INSTRUMENT CO
                      1570 CHEROKEE ST
                      SAN MARCOS, CA 92078




                      MOBILE TRACK SOLUTIONS
                      203 JOHNSON ST.
                      ELKADER, IA 52043




                      MODUTRAM MEXICO SAPI DE CV
                      AV DEL BOSQUE 1145 COLE EL BAJIO
                      ZAPOPAN JAL 45019
                      MEXICO




                      MORALES GROUP / CALIDAD SOLUTIONS
                      C/O MORALES GROUP
                      5628 W 74TH ST
                      INDIANAPOLIS, IN 46278
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 214 of 261




                      MOSER CONSULTING INC
                      6220 CASTLE WAY W DR
                      INDIANAPOLIS, IN 46250




                      MOTIV POWER SYSTEMS INC.
                      1165 CHESS DRIVE
                      SUITE E
                      FOSTER CITY, CA 94404




                      MOTIVO ENGINEERING
                      17700 SOUTH FIGUEROA STREET
                      GARDENA, CA 90248




                      MOUNTZ INC
                      1080 N 11TH ST
                      SAN JOSE, CA 95112




                      MOUSER ELECTRONICS INC
                      PO BOX 99319
                      FORT WORTH, TX 76199-0319




                      MUNTERS CORPORATION
                      DEPT CH 19943
                      PALATINE, IL 60055-9943




                      MUTUAL OF OMAHA #522K
                      PAYMENT PROCESSING CENTER
                      PO BOX 2147
                      OMAHA, NE 68103-2147
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 215 of 261




                      MUTUAL OF OMAHA COMPANIES
                      PO BOX 2533
                      OMAHA, NE 68103-2533




                      NAAT BATT INTERNATIONAL
                      PO BOX 772929
                      DETROIT, MI 48277-2929




                      NAMI UMP HV BATTERY
                      NAMI RU ST SCIENTIFIC RESEARCH
                      MOSCO RU
                      RUSSIAN FEDERATION




                      NATALIA ASTAKHOVA ENERTECH INTERNATIONAL
                      10/1 A BAROCHNAIA ST OFFICE 412
                      ST PETERSBURG RUSSIA
                      RUSSIAN FEDERATION




                      NCS ENGINEERING
                      24 5TH ST
                      VORSTERKROON NIGEL 1490
                      SOUTH AFRICA




                      NEFF GROUP DISTRIBUTORS INC
                      PO BOX 8604
                      711 INNOVATION DR
                      FORT WAYNE, IN 46898




                      NETFIDELIS INC
                      11807 ALLISONVILLE RD #516
                      FISHERS, IN 46038
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 216 of 261




                      NETWORK SOLUTIONS LLC
                      5335 GATE PKWY
                      JACKSONVILLE, FL 32256




                      NETZSCH INSTRUMENTS NORTH AMERICA
                      129 MIDDLESEX TURNPIKE
                      BURLINGTON, MA 01803




                      NEW FLYER INDUSTRIES CANADA ULC
                      630 KERNAGHAN AVE DOOR 76
                      WINNIPEG MB R2C 5G1
                      CANADA




                      NEX GEN/REMARKABLE FOODS
                      715 N MAIN ST
                      LAWTON, MI 49065




                      NEXT GENERATION RECRUITMENT
                      675 PONCE DE LEON AVE NE #8500
                      ATLANTA, GA 30308




                      NEXT STEPS CONSULTING
                      1805 S HOYT AVE
                      MUNCIE, IN 47302




                      NFP
                      11 TRACY DR
                      AVON, MA 02322
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 217 of 261




                      NICHOLAS MILLER
                      7167 JESSMAN RD E DR APT H
                      INDIANAPOLIS, IN 46256




                      NICHOLS PAPER & SUPPLY CO
                      2647 MOMENTUM PL
                      CHICAGO, IL 60689-5326




                      NIDEC MINSTER CORPORATION
                      PO BOX 28516
                      CHICAGO, IL 60673-8516




                      NIKKEI BUSINESS PUBLICATIONS INC
                      1 17 3 SHIROKANE MINATO KU
                      TOKYO 108-8646
                      JAPAN




                      NIOSH PITTSBURGH MINING RESEARCH DIVISIO
                      626 COCHRAN MILL ROAD
                      BLDG 143
                      PITTSBURGH, PA 15236




                      NISSAN
                      2 TAKARA-CHO
                      KANAGAWA-KU KANAGAWA 220-8623
                      JAPAN




                      NISSIN CUSTOMS SERVICES INC
                      ATTN A/R DEPT
                      PO BOX 512391
                      LOS ANGELES, CA 90051-0391
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 218 of 261




                      NISSIN INTERNATIONAL TRANSPORT USA INC
                      ATTN A/R DEPT
                      PO BOX 512391
                      LOS ANGELES, CA 90051




                      NIVALIS ENERGY SYSTEMS
                      230 SCHILLING CIRCLE
                      SUITE 120
                      HUNT VALLEY, MD 21031




                      NORAUTO FRANCE
                      RUE DU FORT CENTER DE GROS LESQUIN
                      SAINGHIN EN MELANTOIS NORTH DEPT
                      FRANCE




                      NORDSON EFD LLC
                      PO BOX 777959
                      CHICAGO, IL 60677-7009




                      NORTH MILL CAPITAL LLC
                      821 ALEXANDER RD #130
                      PRINCETON, NJ 08540




                      NOVABUS
                      1000 BOUL INDUSRIEL
                      ST EUSTACHE QC J7R 5A5
                      CANADA




                      NUCLEUS SCIENTIFIC
                      148 SIDNEY STREET
                      CAMBRIDGE, MA 02139
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 219 of 261




                      NUVATION ENERGY
                      332 MARSLAND DR #200
                      WATERLOO ONTARIO N2J 3Z1
                      CANADA




                      NUVATION ENGINEERING
                      151 GIBRALTAR CT
                      SUNNYVALE, CA 94089




                      NY-BEST
                      230 WASHINGTON AVE EXTENSION
                      ALBANY, NY 12203




                      OCCUPATIONAL HEALTH CENTERS
                      PO BOX 488
                      LOMBARD, IL 60148-0488




                      OCSIAL LLC
                      500 S FRONT ST #860
                      COLUMBUS, OH 43215




                      ODYNE SYSTEMS LLC
                      W237 N2878 WOODGATE RD
                      PEWAUKEE, WI 53072




                      OEC FRIGHT (KOREA) CO LTD
                      RM 1509, BYUCKSAN DIGITAL VALLEY
                      219, GASAS-DIGITAL 1RO
                      KEUMCHEON-GU SEOUL 08501
                      REPUBLIC OF KOREA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 220 of 261




                      OFFICE DEPOT
                      3721 W 86TH ST
                      INDIANAPOLIS, IN 46268




                      OFFICE H2O LLC
                      7402 E 90TH ST
                      INDIANAPOLIS, IN 46256




                      OFFICE OF NAVAL RESEARCH
                      CODE 331
                      875 N RANDOLPH STREET
                      ARLINGTON, VA 22203-1995




                      OMEGA ENGINEERING
                      800 CONNECTICUT AVE #5N01
                      NORWALK, CT 06854




                      OMNISOURCE ELECTRONICS RECYCLING LLC
                      219 MURRAY ST
                      FORT WAYNE, IN 46803




                      ONLINECOMPONENTS.COM
                      2425 S 21ST ST
                      PHOENIX, AZ 85034




                      ORACLE AMERICA INC
                      500 ORACLE PKWY
                      REDWOOD CITY, CA 94065
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 221 of 261




                      ORANGE COAST PNEUMATICS INC
                      3810 PROSPECT AVE UNIT A
                      YORBA LINDA, CA 92886




                      OVATION ULTIMATE AUDIO LLC
                      6609 E 82ND ST
                      INDIANAPOLIS, IN 46250




                      PACCAR
                      485 HOUSER WAY N,
                      RENTON, WA 98057




                      PACERS SPORTS AND ENTERTAINMENT
                      DBA PACERS BASKETBALL LLC
                      125 S PENNSYLVANIA ST
                      INDIANAPOLIS, IN 46204




                      PANERA BREAD
                      8510 E 96TH ST
                      FISHERS, IN 46038




                      PAUL GLOYE
                      GO ELECTRIC INC
                      1920 PURDUE PKWY
                      ANDERSON, IN 46016




                      PAUL HERBERT
                      1662 PADINGTON PARK LN
                      GERMANTOWN, TN 38138
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 222 of 261




                      PAYLOCITY - FEES
                      1400 AMERICAN LN
                      SCHAUMBURG, IL 60173




                      PCB DESIGN PRO LLC
                      2005 RIO VISTA DR
                      FORT PIERCE, FL 34949




                      PEC GATE 3    DEPT 038
                      JOHN DEERE
                      3800 W RIDGEWAY AVE DEPT 038
                      WATERLOO, IA 50701




                      PEI-GENISIS INC
                      2180 HORNIG RD
                      PHILADELPHIA, PA 19116-4289




                      PERFECTO TOOL & ENGINEERING
                      1124 W 53RD ST
                      PO BOX 2039
                      ANDERSON, IN 46018-2039




                      PERFORCE SOFTWARE INC
                      PO BOX 724463
                      LOS ANGELES, CA 90074-2263




                      PERFORMANCE MECHANICAL CONTRACTING INC
                      3409 SUTHERLAND AVE
                      INDIANAPOLIS, IN 46218
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 223 of 261




                      PETER STUBENVOLL
                      3105 EQUESTRIAN DR
                      BOCA RATON, FL 33434




                      PGC PRECISION GASKETT COMPANY
                      5732 LINCOLN DR
                      EDINA, MN 55436




                      PGL PREMIER GLOBAL LOGISTICS LLG
                      5300 FARROW RD
                      COLUMBIA, SC 29203




                      PHYTOOLS LLC
                      900 WINSLOW WAY E #120
                      BAINBRIDGE ISLAND, WA 98110




                      PIONEER PLASTICS
                      3660 DODD RD
                      EAGAN, MN 55123




                      PIP INDIANA
                      11711 N PENNSYLVANIA ST #107
                      CARMEL, IN 46032




                      PIPER JAFFRAY & CO
                      800 NICOLLET AVE #100
                      MINNEAPOLIS, MN 55402
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 224 of 261




                      PIPER MADDOX
                      123 WILLIAM ST 14TH FL
                      NEW YORK, NY 10038




                      PITNEY BOWES #3620
                      PO BOX 981039
                      BOSTON, MA 02298-1039




                      PITNEY BOWES BANK INC
                      DBA PITNEY BOWES PURCHASE POWER
                      PO BOX 981026
                      BOSTON, MA 02298-1026




                      PITT OHIO LTL
                      PO BOX 643271
                      PITTSBURGH, PA 15264-3271




                      PLANES MOVING & STORAGE OF INDIANAPOLIS
                      PO BOX 636589
                      CINCINNATI, OH 45263-6589




                      PLAYMAKER MEDIA
                      DBA ELEVATOR MARKETING
                      PO BOX 5224
                      LAGUNA BEACH, CA 92652




                      POLAR POWER INC.
                      249. EAST GARDENA BLVD,
                      GARDENA, CA 92804
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 225 of 261




                      POLARIS ALPHA ADVANCED SYSTEMS
                      PO BOX 1240
                      SPOTSYLVANIA, VA 22408




                      POLYMERSHAPES
                      1350 BROOKVILLE WAY STE D
                      INDIANAPOLIS, IN 46239




                      POROUS POWER TECHNOLOGIES LLC
                      2765 DAGNY WAY
                      SUITE 200
                      LAFAYETTE, CO 80026




                      PORTLAND GENERAL ELECTRIC
                      1615 22ND STREET SE
                      ATTN: BART WILES/KEVIN WHITENER
                      SALEM, OR 97302




                      POWER ELECTRONICS DEVELOPMENT CENTER
                      101 ELK STREET
                      DOOR E
                      FRANKLIN, PA 16323




                      POWERSTUDIES INC
                      22443 SE 240TH ST #207
                      MAPLE VALLEY, WA 98038




                      PRECISION TOOL SERVICES
                      MQ AUTOMATION (MOSIER DIVISION)
                      9851 E PARK DAVIS DR
                      INDIANAPOLIS, IN 46235
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 226 of 261




                      PRESTIGE CAPITAL
                      400 KELBY ST 10TH FL
                      FORT LEE, NJ 07024




                      PRINCIPAL LIFE INSURANCE COMPANY
                      PO BOX 77202
                      MINNEAPOLIS, MN 55480-7200




                      PRO-FORM PLASTICS INC
                      15200 S JONESVILLE RD
                      COLUMBUS, IN 47201




                      PRO-TECH MACHINE INC
                      3085 JOYCE ST
                      BURTON, MI 48529




                      PROFESSIONAL GARAGE DOOR SYSTEMS INC
                      6030 GATEWAY DR
                      PLAINFIELD, IN 46168




                      PROFESSIONAL SERVICES IND
                      PO BOX 74008418
                      CHICAGO, IL 60674-8418




                      PROTELO INC
                      PO BOX 713
                      BIG HORN, WY 82833
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 227 of 261




                      PROTO LABS INC
                      PO BOX 856933
                      MINNEAPOLIS, MN 55485-6933




                      PROVIDENCE CONSULTING GROUP LTD
                      PO BOX 933289
                      CLEVELAND, OH 44193




                      PSA PEUGEOT CITROEN DRIA/ICEM/EET/PSDE
                      BAT 62 CASE COURRIER NVV 187
                      ROUTE DE GISY VELIZY VILLCOUBLAY 78943
                      FRANCE




                      PUBLIC STORAGE
                      8890 FITNESS LN
                      FISHERS, IN 46037




                      PUNDA MERCANTILE INC
                      8506 EAST 30TH STREET
                      SUITE C
                      INDIANAPOLIS, IN 46219




                      PURDUE SCHOOL OF ENGINEERING & TECH
                      1920 PURDUE PARKWAY
                      ANDERSON, IN 46016




                      PURE WATER PARTNERS LLC
                      PO BOX 847237
                      BOSTON, MA 02284-7237
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 228 of 261




                      QUALITY ROOFING SERVICES INC
                      1445 BROOKVILLE WAY STE L
                      INDIANAPOLIS, IN 46239




                      QUALITY VISION SERVICES
                      1175 NORTH ST
                      ROCHESTER, NY 14621-4942




                      QUALTRICS LLC
                      333 W RIVER PARK DR
                      PROVO, UT 84604




                      QUANTUM
                      17872 CARTWRIGHT ROAD
                      IRVINE, CA 92614




                      QUANTUM FUEL SYSTEMS
                      25242 ARTIC OCEAN DRIVE
                      LAKE FOREST, CA 92630




                      RADIANT INDUSTRIES
                      113 SIERRA ST
                      EL SEGUNDO, CA 90245




                      RANDALL BRANTLEY
                      10183 WINWARD PASS
                      FISHERS, IN 46037
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 229 of 261




                      RAPID GLOBAL BUSINESS SOLUTIONS INC
                      1200 STEPHENSON HWY
                      TROY, MI 48083




                      RASHIDA CLARKE
                      7115 CHAMBERWOOD DR
                      INDIANAPOLIS, IN 46268




                      RAY'S TRASH SERVICE #1364
                      PO BOX 1
                      CLAYTON, IN 46118




                      RAY'S TRASH SERVICE INC #1518
                      DRAWER I
                      CLAYTON, IN 46118




                      RAY'S TRASH SERVICES INC #0188
                      DRAWER I
                      CLAYTON, IN 46118




                      RAYTHEON
                      528 BOSTON POST ROAD
                      ANDOVER, MA 78288




                      REAL MECHANICAL INC
                      475 GRADLE DR
                      CARMEL, IN 46032
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 230 of 261




                      REBLING PLASTICS
                      150 FRANKLIN DR
                      WARRINGTON, PA 18976




                      RELIANT ENGINEERING INC
                      1329 SADLER CIR W DR
                      INDIANAPOLIS, IN 46239




                      RENAULT RESEARCH DEPARTMENT TCR LAB 1 14
                      1 AVENUE DU GOLF
                      GUYANCOURT FRANCE 78288
                      FRANCE




                      REPRO PARTS
                      881 INDUSTRIAL DR
                      ELMHURST, IL 60126




                      RESIDENCE INN BY MARRIOTT INDPLS/FISHERS
                      9765 CROSSPOINT BLVD
                      INDIANAPOLIS, IN 46256




                      RESTORING HOPE
                      4016 RIVER OAKS DR STE 6 #108
                      MYRTLE BEACH, SC 29579




                      RETRIEV TECHNOLOGIES INC
                      125 E COMMERCIAL ST STE A
                      ANAHEIM, CA 92801-1214
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 231 of 261




                      RF SMART
                      PO BOX 638345
                      CINCINNATI, OH 45263-8345




                      RICHARD A STEINER
                      8118 LAWRENCE WOODS BLVD
                      INDIANAPOLIS, IN 46236




                      RINCON POWER LLC
                      6381-A ROSE LN
                      CARPINTERIA, CA 93013




                      RINEHART MOTION SYSTEMS LLC
                      7929 SW BURNS WAY SUITE B
                      WILSONVILLE, OR 97070




                      RINGCENTRAL INC
                      20 DAVIS DR
                      BELMONT, CA 94002




                      ROADTEX TRANSPORTATION
                      3023 N. DISTRIBUTION WAY
                      SUITE 120
                      GREENFIELD, IN 46140




                      ROBERTS CLEANING SERVICE
                      9659 GREENTHREAD DR
                      ZIONSVILLE, IN 46077
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 232 of 261




                      ROCKY RESEARCH
                      PO BOX 61800
                      BOULDER CITY, NV 89006




                      ROHNESELMER SANDVIKA AS
                      JONGSASVEIEN 4
                      SANDVIDA 1338
                      NORWAY




                      ROSEDALE PRODUCTS INC
                      3730 W LIBERTY RD
                      ANN ARBOR, MI 48103




                      ROXTEC INC
                      10127 E ADMIRAL PL
                      TULSA, OK 74116




                      ROY FILDES
                      15402 BLOOMFIELD CT
                      WESTFIELD, IN 46074




                      ROYAL FLUSH INC
                      5839 DR MARTIN KING BLVD
                      ANDERSON, IN 46013




                      RS AMERICAS INC
                      DALLAS LOCKBOX
                      PO BOX 841811
                      DALLAS, TX 75284-1811
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 233 of 261




                      RS HUGHES COMPANY INC
                      5058 W 79TH ST
                      INDIANAPOLIS, IN 46268




                      RTM CONSULTANTS INC
                      6640 PARKDALE PL STE J
                      INDIANAPOLIS, IN 46254




                      RUSSELL'S TUBE FORMING INC
                      220 GASOLINE ALLEY
                      INDIANAPOLIS, IN 46222




                      SAE INTERNATIONAL
                      PO BOX 79572
                      BALTIMORE, MD 21279-0572




                      SAFEGUARD
                      1010 W MOCKINGBIRD LN #100
                      DALLAS, TX 75247




                      SAFEGUARD BUSINESS SYSTEMS
                      LOCKBOX 229
                      PO BOX 7247
                      PHILADELPHIA, PA 19170-0001




                      SAFETY CONSULTING INC
                      8250 CALVINE RD STE C 345
                      SACRAMENTO, CA 95828
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 234 of 261




                      SAFETY TECH INC
                      PO BOX 665
                      LAPEL, IN 46051




                      SAFETYSIGN.COM
                      64 OUTWATER LN
                      GARFIELD, NJ 07026




                      SAHIL BHAT
                      14200 THE LAKES BLVD #5210
                      PFLUGERVILLE, TX 78660




                      SAKS FIFTH AVENUE
                      8701 KEYSTONE CROSSING
                      INDIANAPOLIS, IN 46240




                      SAM-A ALUMINUM CO LTD
                      7 & 8TH FLOOR WONKYUNG BLDG 205
                      DOGOK-RO, GANGNAM-GU
                      SEOUL 135-515
                      RUPUBLIC OF KOREA



                      SANGRITA SALOON
                      834 E 64TH ST
                      INDIANAPOLIS, IN 46220




                      SANTA BARBARA MTD
                      550 E. COTA ST.
                      SANTA BARBARA, CA 93103
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 235 of 261




                      SANTA CLARA VALLEY TRANSPORTATION AUT
                      3331 NORTH FIRST ST
                      BUILDING A
                      SAN JOSE, CA 95134-1906




                      SCHENKER INC
                      PO BOX 2307
                      CAROL STREAM, IL 60132-2307




                      SCIENCE APPLICATIONS INTERNATIONAL CORP.
                      SAIC SSC-AP,LOC 447, MS 2113-03
                      301 LABORATORY ROAD
                      OAK RIDGE, TN 37830




                      SCOTT P SMITH
                      15435 KILBURN CT
                      WESTFIELD, IN 46074




                      SCOTT TOOL COMPANY LLC
                      820 E WILLARD ST
                      MUNCIE, IN 47302




                      SEALING DEVICES INC
                      4400 WALDON AVE
                      LANCASTER, NY 14086




                      SEAN WHITING
                      392 COUNTY RD 550 E
                      CHILLICOTHE, IL 61523
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 236 of 261




                      SELECT LAWN SERVICES LLC
                      603 MARINE DR
                      ANDERSON, IN 46016




                      SENSATA TECHNOLOGIES INC
                      PO BOX 100139
                      ATLANTA, GA 30384-0139




                      SEPTA
                      4675 NORTH 3RD STREET
                      PHILADELPHIA, PA 19140




                      SHELDAHL FLEXIBLE TECHNOLOGIES INC
                      1150 SHELDAHL RD
                      NORTHFIELD, MN 55057




                      SHENZHEN ACE BATTERY CO LTD
                      26TH FLOOR BAK BLDG KEYAN RD 9 NANSHAN
                      SHENZHEN GUANGDONG PROVINCE 518000
                      PEOPLES REPUBLIC OF CHINA




                      SHENZHEN ANYUN INTERNATIONAL LOGISTICS
                      ROOM 508-510 5FL STRIVE BUSINESS PL
                      ZHANQIAN3 RD PINGSHAN NEW DISTRICT
                      SHENZHEN GUANGDONG PROVINCE
                      PEOPLES REPUBLIC OF CHINA



                      SHENZHEN MILVENT TECHNOLOGY
                      R2011 HUIGANMINGYAN FUTIAN
                      SHEN ZH GUANGDONG
                      GUANGDONG PROVINCE 518013
                      PEOPLES REPUBLIC OF CHINA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 237 of 261




                      SHERMAN ZENG
                      GENERAL MOTORS LLC
                      30003 VAN DYKE AVE
                      WARREN, MI 48092




                      SHIELD GEO SERVICES LTD
                      2003 20F TOWER 5
                      CHINA HONG KONG CITY
                      33 CANTON ROAD TSIM SHA TSUI LOWLOON
                      PEOPLES REPUBLIC OF CHINA



                      SHINHWHA IT CO LTD
                      20-1 SONGJEOL-RO, HEUNDGEOK-GU
                      CHEONGJU-SI 28437
                      REPUBLIC OF KOREA




                      SIEMENS INDUSTRY INC
                      C/O CITIBANK (BLDG TECH)
                      PO BOX 2134
                      CAROL STREAM, IL 60132-2134




                      SIGMA-ALDRICH CORP
                      3050 SPRUCE ST
                      SAINT LOUIS, MO 63103




                      SIGNWORKS INC
                      5349 W 86TH ST
                      INDIANAPOLIS, IN 46268




                      SIMCO ELECTRONICS
                      PO BOX 49132
                      SAN JOSE, CA 95161-9132
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 238 of 261




                      SIMPLY UNIQUE CREATIONS LLC
                      7355 BLAIR DR
                      ORLANDO, FL 32818




                      SIMUTECH GROUP INC
                      500 PARKER HILL DR
                      ROCHESTER, NY 14625




                      SKYLINE CLUB
                      ONE AMERICAN SQUARE 36TH FL
                      INDIANAPOLIS, IN 46204




                      SMARTSHEET INC
                      DEPT 3421
                      PO BOX 123421
                      DALLAS, TX 75312-3421




                      SMD INC
                      1 OLDFIELD
                      IRVINE, CA 92618




                      SMITHERS QUALITY ASSESSMENTS
                      425 W MARKET ST
                      AKRON, OH 44303




                      SOLARIS BUS & COACH S A
                      OBORNICKA 46
                      BELECHOWO OSIEDLE OWINSKA 62005
                      POLAND
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 239 of 261




                      SOLORWINDS
                      PO BOX 730720
                      DALLAS, TX 75373




                      SOMERSET CPAS AND ADVISORS
                      PO BOX 40368
                      INDIANAPOLIS, IN 46240




                      SONDHI SOLUTIONS LLC
                      47 S PENNSYLVANIA ST #400
                      INDIANAPOLIS, IN 46204




                      SONICWALL INC
                      1225 W WASHINGTON ST
                      TEMPE, AZ 85281




                      SORBOTHANE INC
                      2144 ST RT 59
                      KENT, OH 44240




                      SOTERIA BATTERY INNOVATION GROUP INC
                      18-B BROZZINI CT
                      GREENVILLE, SC 29615




                      SOUBRAIN MI
                      47050 FIVE MILE RD
                      NORTHVILLE, MI 48168
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 240 of 261




                      SOUNDON NEW ENERGY TECHNOLOGY CO LTD
                      NO 78 BENCHI WEST ROAD
                      XIANGTAN CITY, HUNAN PROVINCE
                      PEOPLES REPUBLIC OF CHINA




                      SOURCE CREATIVE OFFICE INTERIORS
                      18600 MACARTHUR BLVD #400
                      IRVINE, CA 92612




                      SOUTH COAST BRITISH COLUMBIA TRANSPORTAT
                      400-287 NELSON'S COURT
                      NEW WESTMINSTER BC V3L 0E7
                      CANADA




                      SOUTHERN PROPERTY CONSULTANTS
                      DBA INDUSTRIAL AUTOMATION
                      1600 OLIVE CHAPEL RD #716
                      APEX, NC 27502




                      SPACEAGE TOOL AND MANUFACTURING INC
                      611 N PARK ST
                      SAINT ANSGAR, IA 50472




                      SPECPLUS! AUTOMATION
                      PO BOX 78155
                      INDIANAPOLIS, IN 46278




                      SPECTRUM NICHOLS JANITORIAL SUPPLY
                      2647 MOMENTUM PL
                      CHICAGO, IL 60689-5326
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 241 of 261




                      SPIROL
                      3103 ST ETIOENNE BLVD
                      WINDSOR ONTARIO
                      CANADA




                      SPITZNOGLE PROPERTIES PATTERSON ST
                      6739 GUION RD
                      INDIANAPOLIS, IN 46268




                      SRIVARDHAN CHANDRAPATI
                      25 TARLETON LN
                      LADERA RANCH, CA 92694-1303




                      SS VENDING
                      10403 FAIRHAVEN CT
                      INDIANAPOLIS, IN 46229




                      STACI CORP
                      DBA VEXOS
                      7942 SOLUTION CENTER
                      CHICAGO, IL 60677-7009




                      STAFL SYSTEMS LLC
                      428 N CANAL ST UNIT A
                      SOUTH SAN FRANCISCO, CA 94080




                      STAPLES
                      500 STAPLES DR
                      FRAMINGHAM, MA 01702
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 242 of 261




                      STATE OF DELAWARE
                      FRANCHISE TAX SECTION
                      401 FEDERAL ST #4
                      DOVER, DE 19901




                      STATE OF MICHIGAN
                      DEPARTMENT OF TREASURY
                      PO BOX 30149
                      LANSING, MI 48909




                      STELLAR
                      ADDRESS UNKNOWN




                      STERICYCLE INC
                      28883 NETWORK PL
                      CHICAGO, IL 60673-1288




                      STEVE HEIR
                      1368 FRITZTOWN RD.
                      REINHOLDS, PA 17572




                      STEVE KANG
                      1124 TERRA CT
                      ROCHESTER, MI 48306




                      STEWART & STEVENSON
                      MV89967
                      PO BOX 301063
                      DALLAS, TX 75303-1063
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 243 of 261




                      STEWART & STEVENSON FDDA LLC
                      8411 E ADAMO DR
                      TAMPA, FL 33619




                      STORM POWER COMPONENTS
                      PO BOX 740896
                      ATLANTA, GA 30374-0896




                      STRATASYS DIRECT INC
                      28309 AVENUE CROCKER
                      VALENCIA, CA 91355




                      STRATEGIC EQUITY SOLUTIONS INC
                      15 AMERICAN AVE #301
                      LAKEWOOD, NJ 08701




                      SUMMIT RACING EQUIPMENT
                      1200 SOUTHEAST AVE
                      TALLMADGE, OH 44278




                      SUNBELT RENTALS
                      2341 DEERFIELD DR
                      FORT MILL, SC 29715




                      SUPERBREAKERS
                      280 MADISON AVE #912
                      NEW YORK, NY 10016
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 244 of 261




                      SYMBLU COR
                      5192 BOLSA AVE, UNIT 5
                      HUNTINGTON BEACH, CA 92649




                      T&B MASTER LOGISTICS INC
                      1490 BEACHEY PL
                      CARSON, CA 90746




                      TACK ELECTRONICS INC
                      5030 KRAFT AVE SE STE A
                      GRAND RAPIDS, MI 49515




                      TASC FLEX CLAIM
                      PO BOX 88278
                      MILWAUKEE, WI 53288-0001




                      TEAM CRUISER SUPPLY
                      PO BOX 78634
                      INDIANAPOLIS, IN 46278




                      TEC-HACKETT INC
                      3418 CAVALIER DR
                      FORT WAYNE, IN 46808




                      TEMSA GLOBAL SANAYI VE TICARET
                      YOLGEQEN MAH TURHAN CEMAL BERIKER BULV
                      #561, 563 SEYHAN 01355
                      TURKEY
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 245 of 261




                      TETRA TECH INC
                      PO BOX 91967
                      DENVER, CO 80291-1967




                      TEXMAC INC
                      3001 STAFFORD DR
                      CHARLOTTE, NC 28208




                      TEXMAC UBC
                      TOKYO R&D ASTUGI FACILITY
                      1516 AIKO ASTUGI KANAGAWA 243-0035
                      JAPAN




                      TFORCE FREIGHT
                      28013 NETWORK PL
                      CHICAGO, IL 60673-1280




                      TFORCE WORLDWIDE INC
                      PO BOX 7410328
                      CHICAGO, IL 60674-0328




                      THE CASE-CENTER
                      4320 GARDENSVILLE RD
                      CRITTENDEN, KY 41030




                      THE COMET SC REG TA
                      3613 LUCIUS RD
                      COLUMBIA, SC 29201
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 246 of 261




                      THE GALLERY COLLECTION
                      PO BOX 360
                      RIDGEFIELD PARK, NJ 07660




                      THE GRILL
                      6621 BROADWAY #100
                      MC CORDSVILLE, IN 46055




                      THE HABEGGER CORPORATION
                      4995 WINTON RD
                      CINCINNATI, OH 45232




                      THE HOME DEPOT
                      9320 CORPORATION DR
                      INDIANAPOLIS, IN 46256




                      THE RETROFIT SOURCE
                      2281 DEFOOR HILLS RD NW
                      ATLANTA, GA 30318




                      THE TARPENNING -LAFOLLETTE CO
                      404 W GIMBER ST
                      INDIANAPOLIS, IN 46225




                      THE TORO COMPANY
                      1914 EAST CLIFTON STREET
                      TOMAH, WI 54660
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 247 of 261




                      THERMAL CERAMICS INC
                      DBA MORGAN ADVANCED MATERIALS
                      PO BOX 71200
                      CHARLOTTE, NC 28272




                      THERMAL HAZARD TECHNOLOGY INC
                      49 BOONE VILLAGE #30
                      ZIONSVILLE, IN 46077




                      THERMOTRON INDUSTRIES
                      A VENTUREDYNE LTD COMPANY
                      PO BOX 689590
                      CHICAGO, IL 60695-9590




                      THINK GLOBAL AS VOLVO CAR CORP
                      SAFETY CENTER PV 12
                      GOTHENBURG
                      SWEDEN




                      THINK N A INC
                      33762 SCHOOLCRAFT RD #2
                      LIVONIA, MI 48150-1625




                      THOMAS L VOREIS
                      169 WELLINGTON PKWY
                      NOBLESVILLE, IN 46060




                      TIANJIN RISESUN MGL
                      NEW ENERGY SCIENCE & TECH CO
                      NO 18 BAIFUQUAN ROAD CHANPING DISTRICT
                      BEIJING 100022
                      PEOPLES REPUBLIC OF CHINA
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 248 of 261




                      TIARA HICKS
                      7001 S. COUNTY ROAD 475 E.
                      SELMA, IN 47383




                      TKT SALES
                      724 FIRETOWER RD
                      YANCEYVILLE, NC 27379




                      TOKYO R&D CO LTD
                      1 25 12 AIKOHIGASHI
                      ATSUGI KANAGAWA 243-0027
                      JAPAN




                      TOM WOOD MANAGEMENT
                      3033 E 98TH STREET SUITE 201
                      INDIANAPOLIS, IN 46280




                      TOM WOOD NISSAN
                      4150 E 96TH ST
                      INDIANAPOLIS, IN 46240




                      TOMPKINS CONSOLIDATED AREA TRANSIT
                      737 WILLOW AVE
                      ITHACA, NY 14850




                      TOSHIBA INTERNATIONAL CORP
                      13131 W LITTLE YORK RD
                      HOUSTON, TX 77041
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 249 of 261




                      TOTAL REWARD SOLUTIONS LLC
                      7962 OAKLANDON RD #112
                      INDIANAPOLIS, IN 46236




                      TOUCHSTONE MEASUREMENT SERVICE LLC
                      2529 COMMERCE DR STE F
                      KOKOMO, IN 46902




                      TRADEKON LLC
                      YU BONDAROVSKAYA ST BUILD 18 LIT A
                      ST PETERSBURG 198510
                      RUSSIAN FEDERATION




                      TRANSIT SALES INTERNATIONAL
                      1863 SERVICE CT
                      RIVERSIDE, CA 92507




                      TRAVEL COMPANY "BOLERO TOUR"
                      7 495 2317333
                      125252 MOSCOW CHAPAEVSKY ALLEY
                      12/1-179 MOSCOW
                      RUSSIAN FEDERATION



                      TRAVEL COMPANY BOLERO TOUR
                      7 495 2317333
                      CHAPAEVSKY ALLEY, 12/1-179
                      MOSCOW RUSSIA 125252
                      RUSSIAN FEDERATION



                      TRAVIS BAILEY
                      3091 CHAPEL RD
                      ANDERSON, IN 46012
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 250 of 261




                      TRENDER ENTERPRISES LLC
                      PO BOX 36081
                      INDIANAPOLIS, IN 46239-9203




                      TRICOR TRUST (LABUAN) LTD
                      LEVEL 15(A2)
                      MAIN OFFICE TOWER
                      JALAN MERDEKA 87000
                      INDONESIA



                      TRUE CAPITAL PARTNERS LLC
                      56 N HADDON AVE 1ST FL
                      HADDONFIELD, NJ 08033




                      TTI INC
                      2441 NORTHEAST PKWY
                      FORT WORTH, TX 76106




                      TUVRHEINLAND
                      295 FOSTER ST #100
                      LITTLETON, MA 01460




                      TVG SAEHAN
                      LEVEL 15(A1) MAIN OFFICE TOWER FINANCIAL
                      PARK LABUAN, JALAN MERDEKA 87000
                      MALAYSIA




                      UBIQUITI (STORE.UI.COM)
                      685 THIRD AVE
                      NEW YORK, NY 10017
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 251 of 261




                      UKIP MEDIA AND EVENTS LTD
                      ABINGER HOUSE CHURCH STREET
                      DORKING RH4 1DF
                      UNITED KINGDOM




                      ULINE
                      PO BOX 88741
                      CHICAGO, IL 60680-1741




                      UMICORE KOREA CO LTD
                      71 3 GONGDAN 2-RO
                      SEOBUK-GU CHEONAN-SI GA 31093
                      REPUBLIC OF KOREA



                      UNIFYHR
                      105 DECKER CT #540
                      IRVING, TX 75062




                      UNITED HEALTHCARE PREMIUM BILLING
                      PO BOX 94017
                      PALATINE, IL 60094-4017




                      UNITED PARCEL SERVICE
                      28013 NETWORK PL
                      CHICAGO, IL 60673-1280




                      UNITED RENTALS (NORTH AMERICA) INC
                      PO BOX 100711
                      ATLANTA, GA 30384-0711
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 252 of 261




                      UNITED STATES TREASURY
                      INTERNAL REVENUE SERVICE
                      OGDEN, UT 84201-0039




                      UNIVERSAL AIR FILTER CO
                      29121 NETWORK PL
                      CHICAGO, IL 60673-1291




                      UNIVERSITY OF ALASKA FAIRBANKS
                      1855 MARIKA RD.
                      FAIRBANKS, AK 99709




                      UNIVERSITY OF DAYTON RESEARCH INSTITUTE
                      300 COLLEGE PARK
                      DAYTON, OH 45469-0107




                      UNIVERSITY OF WARWICH IMC
                      GIBBET HILL ROAD
                      WEST MIDDLANDS CV4 7AL
                      UNITED KINGDOM




                      UNIVERSITY OF WATERLOO
                      200 UNIVERSITY AVENUE WEST
                      WATERLOO ON N2L 3W8
                      CANADA




                      US ARMY CORPS OF ENGINEERS
                      249TH ENGINEER BATTALION
                      BUILDING 1416 JACKSON LOOP
                      FORT BELVOIR, VA 22060
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 253 of 261




                      US CUSTOMS & BORDER PROTECTION
                      5600 PEARL ST
                      ROSEMONT, IL 60018




                      US DEPARTMENT OF ENERGY
                      PO BOX 880
                      MORGANTOWN, WV 26507




                      US HYBRID
                      445 MAPLE AVE.
                      TORRANCE, CA 90503




                      US INDUSTRIAL TECHNOLOGIES
                      12000 GLOBE ST
                      LIVONIA, MI 48150




                      USA FLEET SUPPLY LLC
                      8050 MECHANICSVILLE TPK #212
                      MECHANICSVILLE, VA 23111




                      USABC
                      1000 TOWN CENTER DRIVE
                      SUITE 300
                      SOUTHFIELD, MI 48075




                      UTC POWER CORP
                      195 GOVERNORS HIGHWAY
                      SOUTH WINDSOR, CT 06074
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 254 of 261




                      UTICA EQUIPMENT FINANCE LLC
                      20 GLOVER AVE #100
                      NORWALK, CT 06850




                      UTICA LEASECO, LLC
                      905 SOUTH BOULEVARD EAST
                      ROCHESTER, MI 48307




                      VACO LLC
                      PO BOX 667
                      BRENTWOOD, TN 37024




                      VAN HOOL NV
                      BERNARD VAN HOOLSTRAAT 58
                      LIER 2500
                      BELGIUM




                      VECTOR NORTH AMERICA INC
                      39500 ORCHARD HILL PL #500
                      NOVI, MI 48375




                      VELOCITY GLOBAL
                      3858 WALNUT ST #107
                      DENVER, CO 80205




                      VERMEER CORPORATION
                      ENVIRONMENTAL GROUP - PLANT 4
                      LTL: C/O GEETINGS,
                      335 TRUMAN RD
                      PELLA, IA 50219
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 255 of 261




                      VIDEOPIVOT LLC
                      16635 SPRING CYPRESS RD #2672
                      CYPRESS, TX 77429-9998




                      VOLVO CAR CORPORATION
                      AVD 98540 PVOE 104 PILOT PLANT
                      GOETEBORG SWEDEB SE-405 31
                      SWEDEN




                      VONMERCIER, INC.
                      121 SAINT JOHN ST.
                      HAVRE DE GRACE, MD 21078




                      VOSS AUTOMOTIVE
                      4640 HILLEGAS RD
                      FORT WAYNE, IN 46818




                      WALL STREET JOURNAL
                      1211 AVENUE OF THE AMERICAS
                      NEW YORK, NY 10036




                      WAMTECHNIK SP ZO.O
                      ALEJA WILANOWSKA 7 LOK.3
                      WARSZAWA 02-765
                      POLAND




                      WANXIANG CLEAN ENERGY USA CORP
                      88 AIRPORT ROAD
                      ELGIN, IL 60123
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 256 of 261




                      WASHINGTON METROPOLITAN AREA TRANSIT AUT
                      WMATA SHEPHERD PARKWAY
                      2 DC VILLAGE LANE
                      WASHINGTON, DC 20032




                      WASHINGTON STATE DEPT OF REVENUE
                      ATTN: BANKRUPTCY UNIT
                      2101 4TH AVE #1400
                      SEATTLE, WA 98121




                      WASHINGTON STATE DEPT OF REVENUE
                      PO BOX 47473
                      OLYMPIA, WA 98504




                      WATERJET CUTTING OF INDIANA INC
                      10760 E US HWY 136
                      INDIANAPOLIS, IN 46234




                      WAVERLEY ELECTRICS
                      13111 MARILYN RD
                      UNIT A11
                      FISHERS, IN 46038




                      WEBASTO CHARGING SYSTEMS INC
                      PO BOX 8241
                      PASADENA, CA 91109-8241




                      WESCO DISTRIBUTION INC
                      909 N. COUNTRY FAIR DRIVE
                      CHAMPAIGN, IL 61821
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 257 of 261




                      WESCO INTEGRATED SUPPLY
                      36 HARBOR PARK DR
                      PORT WASHINGTON, NY 11050




                      WEST ELECTRIC INC
                      1320 E 60TH ST
                      ANDERSON, IN 46013




                      WESTERN INTEGRATED TECH
                      7651 S. 190TH STREET
                      KENT, WA 98032




                      WESTON WEDEWARD
                      MARINE TRAVELIFT
                      49 E YEW ST
                      STURGEON BAY, WI 54235




                      WHIRLEY & ASSOCIATES
                      2520 NORTHWINDS PKWY #575
                      ALPHARETTA, GA 30009




                      WHITHAM GROUP LLC
                      8130 LUISA WAY
                      WINDSOR, CA 95492




                      WINAR CONNECTION
                      PO BOX 270
                      RICHFIELD, OH 44286
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 258 of 261




                      WIND RIVER SYSTEMS INC
                      500 WIND RIVER WAY
                      ALAMEDA, CA 94501




                      WINNEBAGO INDUSTRIES, INC.
                      W330N6233 HASSLINGER DRIVE
                      NASHOTAH, WI 53058




                      WINSLOW TECHNOLOGY GROUP LLC
                      303 WYMAN ST #210
                      WALTHAM, MA 02451




                      WONDERFUL PCB (HK) LTD
                      ROOM 906 9/F BOSS COMMERCIAL CENTRE
                      28 FERRY STREET KOWLOON HONG KONG
                      PEOPLES REPUBLIC OF CHINA




                      WORKHORSE
                      946 SOUTH STATE ROUTE 32
                      UNION CITY, IN 47390




                      WORKPLACE SAFETY & HEALTH CO INC
                      11715 FOX RD STE 400-225
                      INDIANAPOLIS, IN 46236




                      WORLD JOINT CORP
                      DBA IACE TRAVEL
                      111 N WABASH AVE #2108
                      CHICAGO, IL 60602
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 259 of 261




                      WORLDWIDE EXPRESS
                      29228 NETWORK PL
                      CHICAGO, IL 60673




                      WYNN LAS VEGAS
                      3131 LAS VEGAS BLVD S
                      LAS VEGAS, NV 89109




                      XMS CAPITAL PARTNERS LLC
                      321 CLARK ST #2440
                      CHICAGO, IL 60654




                      XTREME POWER
                      1120 GOFORTH ROAD
                      KYLE, TX 78640




                      YATES ELECTROSPACE CORPORATION
                      26895 ALISO CREEK ROAD
                      STE B37
                      ALISO VIEJO, CA 92656




                      YOURCO
                      1111 E 54TH ST #119
                      INDIANAPOLIS, IN 46220




                      YOUSOLAR
                      2722 DEL MONTE AVE
                      EL CERRITO, CA 94530
Case 23-02997-JMC-7   Doc 1   Filed 07/13/23   EOD 07/13/23 16:15:18   Pg 260 of 261




                      ZODIAC AEROSPACE (ECE)
                      129, BD DAVOUT SC 82012
                      CEDEX 20 PARIS 75990
                      FRANCE




                      ZORO TOOLS INC
                      909 ASHBUY DR
                      BUFFALO GROVE, IL 60089
         Case 23-02997-JMC-7         Doc 1     Filed 07/13/23        EOD 07/13/23 16:15:18           Pg 261 of 261




                                         United States Bankruptcy Court
                                               Southern District of Indiana
 In re    Ener1, Inc.                                                                 Case No.
                                                             Debtor(s)                Chapter    7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ener1, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
PLH Energy LLC
Attn Paul Herbert
1662 Padington Park Ln
Germantown, TN 38138




  None [Check if applicable]




July 13, 2023                                   /s/ Jeffrey A. Hokanson
Date                                            Jeffrey A. Hokanson 14579-49
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